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                                     109TH CONGRESS                                                                    REPORT
                                                    " HOUSE OF REPRESENTATIVES                                   !
                                        1st Session                                                                    109–72




                                     MAKING EMERGENCY SUPPLEMENTAL APPROPRIATIONS
                                      FOR THE FISCAL YEAR ENDING SEPTEMBER 30, 2005,
                                      AND FOR OTHER PURPOSES



                                                                   MAY 3, 2005.—Ordered to be printed




                                             Mr. LEWIS of California, from the committee of conference,
                                                             submitted the following


                                                                   CONFERENCE REPORT
                                                                         [To accompany H.R. 1268]

                                          The committee of conference on the disagreeing votes of the
                                     two Houses on the amendments of the Senate to the bill (H.R.
                                     1268), ‘‘making emergency supplemental appropriations for the fis-
                                     cal year ending September 30, 2005, to establish and rapidly imple-
                                     ment regulations for State driver’s license and identification docu-
                                     ment security standards, to prevent terrorists from abusing the
                                     asylum laws of the United States, to unify terrorism-related
                                     grounds for inadmissibility and removal, to ensure expeditious con-
                                     struction of the San Diego border fence, and for other purposes’’,
                                     having met, after full and free conference, have agreed to rec-
                                     ommend and do recommend to their respective Houses as follows:
                                          That the House recede from its disagreement to the amend-
                                     ment of the Senate and agree to the same with amendment as fol-
                                     lows:
                                          In lieu of the matter proposed to be inserted by the Senate
                                     amendment, insert the following:
                                     SECTION 1. SHORT TITLE.
                                         This Act may be cited as the ‘‘Emergency Supplemental Appro-
                                     priations Act for Defense, the Global War on Terror, and Tsunami
                                     Relief Act, 2005’’.
                                     SEC. 2. TABLE OF CONTENTS.
                                            The table of contents for this Act is as follows:
                                     Sec. 1. Short title.
                                     Sec. 2. Table of contents.
                                     Sec. 3. References.

                                           20–930




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                                          DIVISION A—EMERGENCY SUPPLEMENTAL APPROPRIATIONS FOR
                                        DEFENSE, THE GLOBAL WAR ON TERROR, AND TSUNAMI RELIEF, 2005
                                     Title I—Defense Related Appropriations
                                     Title II—International Programs and Assistance for Reconstruction and the War on
                                                  Terror
                                     Title III—Domestic Appropriations for the War on Terror
                                     Title IV—Indian Ocean Tsunami Relief
                                     Title V—Other Emergency Appropriations
                                     Title VI—General Provisions and Technical Corrections

                                                                   DIVISION B—REAL ID ACT OF 2005
                                     SEC. 3. REFERENCES.
                                          Except as expressly provided otherwise, any reference to ‘‘this
                                     Act’’ contained in any division of this Act shall be treated as refer-
                                     ring only to the provisions of that division.

                                     DIVISION   A—EMERGENCY     SUPPLE-
                                      MENTAL APPROPRIATIONS ACT FOR
                                      DEFENSE, THE GLOBAL WAR ON TER-
                                      ROR, AND TSUNAMI RELIEF, 2005
                                     That the following sums are appropriated, out of any money in the
                                     Treasury not otherwise appropriated, for the fiscal year ending Sep-
                                     tember 30, 2005, and for other purposes, namely:
                                                 TITLE I—DEFENSE-RELATED APPROPRIATIONS
                                                        DEPARTMENT OF DEFENSE—MILITARY
                                                                     MILITARY PERSONNEL
                                                                    MILITARY PERSONNEL, ARMY
                                         For an additional amount for ‘‘Military Personnel, Army’’,
                                     $13,609,208,000, of which not to exceed $508,374,000 shall remain
                                     available until September 30, 2006: Provided, That the amount pro-
                                     vided under this heading is designated as an emergency require-
                                     ment pursuant to section 402 of the conference report to accompany
                                     S. Con. Res. 95 (108th Congress).
                                                                    MILITARY PERSONNEL, NAVY
                                         For an additional amount for ‘‘Military Personnel, Navy’’,
                                     $535,108,000, of which not to exceed $19,928,000 shall remain
                                     available until September 30, 2006: Provided, That the amount pro-
                                     vided under this heading is designated as an emergency require-
                                     ment pursuant to section 402 of the conference report to accompany
                                     S. Con. Res. 95 (108th Congress).
                                                            MILITARY PERSONNEL, MARINE CORPS
                                         For an additional amount for ‘‘Military Personnel, Marine
                                     Corps’’, $1,358,053,000, of which not to exceed $220,227,000 shall
                                     remain available until September 30, 2006: Provided, That the
                                     amount provided under this heading is designated as an emergency
                                     requirement pursuant to section 402 of the conference report to ac-
                                     company S. Con. Res. 95 (108th Congress).




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                                              DIVISION B—REAL ID ACT OF 2005
                                     SECTION 1. SHORT TITLE.
                                            This division may be cited as the ‘‘REAL ID Act of 2005’’.

                                     TITLE I—AMENDMENTS TO FEDERAL
                                       LAWS TO PROTECT AGAINST TER-
                                       RORIST ENTRY
                                     SEC. 101. PREVENTING TERRORISTS FROM OBTAINING RELIEF FROM
                                                 REMOVAL.
                                         (a) CONDITIONS FOR GRANTING ASYLUM.—Section 208(b)(1) of
                                     the Immigration and Nationality Act (8 U.S.C. 1158(b)(1)) is
                                     amended—
                                             (1) by striking ‘‘The Attorney General’’ the first place such
                                         term appears and inserting the following:
                                                  ‘‘(A) ELIGIBILITY.—The Secretary of Homeland Security
                                             or the Attorney General’’;
                                             (2) by striking ‘‘the Attorney General’’ the second and third
                                         places such term appears and inserting ‘‘the Secretary of Home-
                                         land Security or the Attorney General’’; and
                                             (3) by adding at the end the following:
                                                  ‘‘(B) BURDEN OF PROOF.—
                                                        ‘‘(i) IN GENERAL.—The burden of proof is on the
                                                  applicant to establish that the applicant is a refugee,
                                                  within the meaning of section 101(a)(42)(A). To estab-
                                                  lish that the applicant is a refugee within the meaning
                                                  of such section, the applicant must establish that race,
                                                  religion, nationality, membership in a particular social
                                                  group, or political opinion was or will be at least one
                                                  central reason for persecuting the applicant.
                                                        ‘‘(ii) SUSTAINING BURDEN.—The testimony of the
                                                  applicant may be sufficient to sustain the applicant’s
                                                  burden without corroboration, but only if the applicant
                                                  satisfies the trier of fact that the applicant’s testimony
                                                  is credible, is persuasive, and refers to specific facts
                                                  sufficient to demonstrate that the applicant is a ref-
                                                  ugee. In determining whether the applicant has met the
                                                  applicant’s burden, the trier of fact may weigh the
                                                  credible testimony along with other evidence of record.
                                                  Where the trier of fact determines that the applicant
                                                  should provide evidence that corroborates otherwise
                                                  credible testimony, such evidence must be provided un-
                                                  less the applicant does not have the evidence and can-
                                                  not reasonably obtain the evidence.
                                                        ‘‘(iii) CREDIBILITY DETERMINATION.—Considering
                                                  the totality of the circumstances, and all relevant fac-
                                                  tors, a trier of fact may base a credibility determina-
                                                  tion on the demeanor, candor, or responsiveness of the
                                                  applicant or witness, the inherent plausibility of the
                                                  applicant’s or witness’s account, the consistency be-
                                                  tween the applicant’s or witness’s written and oral
                                                  statements (whenever made and whether or not under




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                                                    oath, and considering the circumstances under which
                                                    the statements were made), the internal consistency of
                                                    each such statement, the consistency of such statements
                                                    with other evidence of record (including the reports of
                                                    the Department of State on country conditions), and
                                                    any inaccuracies or falsehoods in such statements,
                                                    without regard to whether an inconsistency, inaccu-
                                                    racy, or falsehood goes to the heart of the applicant’s
                                                    claim, or any other relevant factor. There is no pre-
                                                    sumption of credibility, however, if no adverse credi-
                                                    bility determination is explicitly made, the applicant or
                                                    witness shall have a rebuttable presumption of credi-
                                                    bility on appeal.’’.
                                         (b) EXCEPTIONS TO ELIGIBILITY FOR ASYLUM.—Section
                                     208(b)(2)(A)(v) of the Immigration and Nationality Act (8 U.S.C.
                                     1158(b)(2)(A)(v)) is amended—
                                              (1) by striking ‘‘inadmissible under’’ each place such term
                                         appears and inserting ‘‘described in’’; and
                                              (2) by striking ‘‘removable under’’.
                                         (c) WITHHOLDING OF REMOVAL.—Section 241(b)(3) of the Immi-
                                     gration and Nationality Act (8 U.S.C. 1231(b)(3)) is amended by
                                     adding at the end the following:
                                                    ‘‘(C) SUSTAINING BURDEN OF PROOF; CREDIBILITY DE-
                                              TERMINATIONS.—In determining whether an alien has dem-
                                              onstrated that the alien’s life or freedom would be threat-
                                              ened for a reason described in subparagraph (A), the trier
                                              of fact shall determine whether the alien has sustained the
                                              alien’s burden of proof, and shall make credibility deter-
                                              minations, in the manner described in clauses (ii) and (iii)
                                              of section 208(b)(1)(B).’’.
                                         (d) OTHER REQUESTS FOR RELIEF FROM REMOVAL.—Section
                                     240(c) of the Immigration and Nationality Act (8 U.S.C. 1230(c)) is
                                     amended—
                                              (1) by redesignating paragraphs (4), (5), and (6) as para-
                                         graphs (5), (6), and (7), respectively; and
                                              (2) by inserting after paragraph (3) the following:
                                              ‘‘(4) APPLICATIONS FOR RELIEF FROM REMOVAL.—
                                                    ‘‘(A) IN GENERAL.—An alien applying for relief or pro-
                                              tection from removal has the burden of proof to establish
                                              that the alien—
                                                          ‘‘(i) satisfies the applicable eligibility requirements;
                                                    and
                                                          ‘‘(ii) with respect to any form of relief that is grant-
                                                    ed in the exercise of discretion, that the alien merits a
                                                    favorable exercise of discretion.
                                                    ‘‘(B) SUSTAINING BURDEN.—The applicant must comply
                                              with the applicable requirements to submit information or
                                              documentation in support of the applicant’s application for
                                              relief or protection as provided by law or by regulation or
                                              in the instructions for the application form. In evaluating
                                              the testimony of the applicant or other witness in support
                                              of the application, the immigration judge will determine
                                              whether or not the testimony is credible, is persuasive, and
                                              refers to specific facts sufficient to demonstrate that the ap-
                                              plicant has satisfied the applicant’s burden of proof. In de-




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                                               termining whether the applicant has met such burden, the
                                               immigration judge shall weigh the credible testimony along
                                               with other evidence of record. Where the immigration judge
                                               determines that the applicant should provide evidence
                                               which corroborates otherwise credible testimony, such evi-
                                               dence must be provided unless the applicant demonstrates
                                               that the applicant does not have the evidence and cannot
                                               reasonably obtain the evidence.
                                                    ‘‘(C) CREDIBILITY DETERMINATION.—Considering the to-
                                               tality of the circumstances, and all relevant factors, the im-
                                               migration judge may base a credibility determination on
                                               the demeanor, candor, or responsiveness of the applicant or
                                               witness, the inherent plausibility of the applicant’s or
                                               witness’s account, the consistency between the applicant’s or
                                               witness’s written and oral statements (whenever made and
                                               whether or not under oath, and considering the cir-
                                               cumstances under which the statements were made), the in-
                                               ternal consistency of each such statement, the consistency of
                                               such statements with other evidence of record (including
                                               the reports of the Department of State on country condi-
                                               tions), and any inaccuracies or falsehoods in such state-
                                               ments, without regard to whether an inconsistency, inaccu-
                                               racy, or falsehood goes to the heart of the applicant’s claim,
                                               or any other relevant factor. There is no presumption of
                                               credibility, however, if no adverse credibility determination
                                               is explicitly made, the applicant or witness shall have a re-
                                               buttable presumption of credibility on appeal.’’.
                                          (e) STANDARD OF REVIEW FOR ORDERS OF REMOVAL.—Section
                                     242(b)(4) of the Immigration and Nationality Act (8 U.S.C.
                                     1252(b)(4)) is amended by adding at the end, after subparagraph
                                     (D), the following: ‘‘No court shall reverse a determination made by
                                     a trier of fact with respect to the availability of corroborating evi-
                                     dence, as described in section 208(b)(1)(B), 240(c)(4)(B), or
                                     241(b)(3)(C), unless the court finds, pursuant to section 242(b)(4)(B),
                                     that a reasonable trier of fact is compelled to conclude that such
                                     corroborating evidence is unavailable.’’.
                                          (f) CLARIFICATION OF DISCRETION.—Section 242(a)(2)(B) of the
                                     Immigration and Nationality Act (8 U.S.C. 1252(a)(2)(B)) is amend-
                                     ed—
                                               (1) by inserting ‘‘or the Secretary of Homeland Security’’
                                          after ‘‘Attorney General’’ each place such term appears; and
                                               (2) in the matter preceding clause (i), by inserting ‘‘and re-
                                          gardless of whether the judgment, decision, or action is made
                                          in removal proceedings,’’ after ‘‘other provision of law,’’.
                                          (g) REMOVAL OF CAPS.—
                                               (1) ASYLEES.—Section 209 of the Immigration and Nation-
                                          ality Act (8 U.S.C. 1159) is amended—
                                                    (A) in subsection (a)(1)—
                                                          (i) by striking ‘‘Service’’ and inserting ‘‘Department
                                                    of Homeland Security’’; and
                                                          (ii) by striking ‘‘Attorney General’’ each place such
                                                    term appears and inserting ‘‘Secretary of Homeland Se-
                                                    curity or the Attorney General’’;
                                                    (B) in subsection (b)—




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                                                         (i) by striking ‘‘Not more’’ and all that follows
                                                    through ‘‘asylum who—’’ and inserting ‘‘The Secretary
                                                    of Homeland Security or the Attorney General, in the
                                                    Secretary’s or the Attorney General’s discretion and
                                                    under such regulations as the Secretary or the Attorney
                                                    General may prescribe, may adjust to the status of an
                                                    alien lawfully admitted for permanent residence the
                                                    status of any alien granted asylum who—’’; and
                                                         (ii) in the matter following paragraph (5), by strik-
                                                    ing ‘‘Attorney General’’ and inserting ‘‘Secretary of
                                                    Homeland Security or the Attorney General’’; and
                                                    (C) in subsection (c), by striking ‘‘Attorney General’’
                                               and inserting ‘‘Secretary of Homeland Security or the Attor-
                                               ney General’’.
                                               (2) PERSONS RESISTING COERCIVE POPULATION CONTROL
                                          METHODS.—Section 207(a) of the Immigration and Nationality
                                          Act (8 U.S.C. 1157(a)) is amended by striking paragraph (5).
                                          (h) EFFECTIVE DATES.—
                                               (1) The amendments made by paragraphs (1) and (2) of
                                          subsection (a) shall take effect as if enacted on March 1, 2003.
                                               (2) The amendments made by subsections (a)(3), (b), (c),
                                          and (d) shall take effect on the date of the enactment of this di-
                                          vision and shall apply to applications for asylum, withholding,
                                          or other relief from removal made on or after such date.
                                               (3) The amendment made by subsection (e) shall take effect
                                          on the date of the enactment of this division and shall apply to
                                          all cases in which the final administrative removal order is or
                                          was issued before, on, or after such date.
                                               (4) The amendments made by subsection (f) shall take effect
                                          on the date of the enactment of this division and shall apply to
                                          all cases pending before any court on or after such date.
                                               (5) The amendments made by subsection (g) shall take ef-
                                          fect on the date of the enactment of this division.
                                          (i) REPEAL.—Section 5403 of the Intelligence Reform and Ter-
                                     rorism Prevention Act of 2004 (Public Law 108–458) is repealed.
                                     SEC. 102. WAIVER OF LEGAL REQUIREMENTS NECESSARY FOR IM-
                                                PROVEMENT OF BARRIERS AT BORDERS; FEDERAL COURT
                                                REVIEW.
                                          Section 102(c) of the Illegal Immigration Reform and Immi-
                                     grant Responsibility Act of 1996 (8 U.S.C. 1103 note) is amended
                                     to read as follows:
                                          ‘‘(c) WAIVER.—
                                                ‘‘(1) IN GENERAL.—Notwithstanding any other provision of
                                          law, the Secretary of Homeland Security shall have the author-
                                          ity to waive all legal requirements such Secretary, in such Sec-
                                          retary’s sole discretion, determines necessary to ensure expedi-
                                          tious construction of the barriers and roads under this section.
                                          Any such decision by the Secretary shall be effective upon being
                                          published in the Federal Register.
                                                ‘‘(2) FEDERAL COURT REVIEW.—
                                                      ‘‘(A) IN GENERAL.—The district courts of the United
                                                States shall have exclusive jurisdiction to hear all causes or
                                                claims arising from any action undertaken, or any decision
                                                made, by the Secretary of Homeland Security pursuant to
                                                paragraph (1). A cause of action or claim may only be




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                                                   brought alleging a violation of the Constitution of the
                                                   United States. The court shall not have jurisdiction to hear
                                                   any claim not specified in this subparagraph.
                                                        ‘‘(B) TIME FOR FILING OF COMPLAINT.—Any cause or
                                                   claim brought pursuant to subparagraph (A) shall be filed
                                                   not later than 60 days after the date of the action or deci-
                                                   sion made by the Secretary of Homeland Security. A claim
                                                   shall be barred unless it is filed within the time specified.
                                                        ‘‘(C) ABILITY TO SEEK APPELLATE REVIEW.—An inter-
                                                   locutory or final judgment, decree, or order of the district
                                                   court may be reviewed only upon petition for a writ of cer-
                                                   tiorari to the Supreme Court of the United States.’’.
                                     SEC. 103. INADMISSIBILITY DUE TO TERRORIST AND TERRORIST-RE-
                                                 LATED ACTIVITIES.
                                         (a) IN GENERAL.—So much of section 212(a)(3)(B)(i) of the Im-
                                     migration and Nationality Act (8 U.S.C. 1182(a)(3)(B)(i)) as pre-
                                     cedes the final sentence is amended to read as follows:
                                                       ‘‘(i) IN GENERAL.—Any alien who—
                                                              ‘‘(I) has engaged in a terrorist activity;
                                                              ‘‘(II) a consular officer, the Attorney General,
                                                       or the Secretary of Homeland Security knows, or
                                                       has reasonable ground to believe, is engaged in or
                                                       is likely to engage after entry in any terrorist activ-
                                                       ity (as defined in clause (iv));
                                                              ‘‘(III) has, under circumstances indicating an
                                                       intention to cause death or serious bodily harm,
                                                       incited terrorist activity;
                                                              ‘‘(IV) is a representative (as defined in clause
                                                       (v)) of—
                                                                    ‘‘(aa) a terrorist organization (as defined
                                                              in clause (vi)); or
                                                                    ‘‘(bb) a political, social, or other group
                                                              that endorses or espouses terrorist activity;
                                                              ‘‘(V) is a member of a terrorist organization
                                                       described in subclause (I) or (II) of clause (vi);
                                                              ‘‘(VI) is a member of a terrorist organization
                                                       described in clause (vi)(III), unless the alien can
                                                       demonstrate by clear and convincing evidence that
                                                       the alien did not know, and should not reasonably
                                                       have known, that the organization was a terrorist
                                                       organization;
                                                              ‘‘(VII) endorses or espouses terrorist activity or
                                                       persuades others to endorse or espouse terrorist ac-
                                                       tivity or support a terrorist organization;
                                                              ‘‘(VIII) has received military-type training (as
                                                       defined in section 2339D(c)(1) of title 18, United
                                                       States Code) from or on behalf of any organization
                                                       that, at the time the training was received, was a
                                                       terrorist organization (as defined in clause (vi)); or
                                                              ‘‘(IX) is the spouse or child of an alien who is
                                                       inadmissible under this subparagraph, if the activ-
                                                       ity causing the alien to be found inadmissible oc-
                                                       curred within the last 5 years, is inadmissible.’’.




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                                        U.S.C. 1153(d))) whose immigrant worker petitions were ap-
                                        proved based on schedule A, as defined in section 656.5 of title
                                        20, Code of Federal Regulations, as promulgated by the Sec-
                                        retary of Labor’’;
                                             (2) in paragraph (2)(A), by striking ‘‘and 2000’’ and insert-
                                        ing ‘‘through 2004’’; and
                                             (3) in paragraph (2), by amending subparagraph (B) to
                                        read as follows:
                                                  ‘‘(B)(i) REDUCTION.—The number described in subpara-
                                             graph (A) shall be reduced, for each fiscal year after fiscal
                                             year 2001, by the cumulative number of immigrant visas
                                             actually used under paragraph (1) for previous fiscal years.
                                                  ‘‘(ii) MAXIMUM.—The total number of visas actually
                                             used under paragraph (1) may not exceed 50,000.’’.
                                        And the Senate agree to the same.
                                        That the House recede from its disagreement to the amend-
                                     ment of the Senate to the title of the bill and concur in the same.
                                                                        JERRY LEWIS,
                                                                        C. W. BILL YOUNG,
                                                                        RALPH REGULA,
                                                                        HAROLD ROGERS,
                                                                        FRANK R. WOLF,
                                                                        JIM KOLBE,
                                                                        JAMES T. WALSH,
                                                                        CHARLES H. TAYLOR,
                                                                        DAVID L. HOBSON,
                                                                        HENRY BONILLA,
                                                                        JOE KNOLLENBERG,
                                                                        JOHN P. MURTHA,
                                                                        NORMAN D. DICKS,
                                                                        ALAN B. MOLLOHAN,
                                                                        PETER J. VISCLOSKY,
                                                                        CHET EDWARDS,
                                                                    Managers on the Part of the House.
                                                                                          THAD COCHRAN,
                                                                                          TED STEVENS,
                                                                                          PETE V. DOMENICI,
                                                                                          CHRISTOPHER S. BOND,
                                                                                          MITCH MCCONNELL,
                                                                                          RICHARD C. SHELBY,
                                                                                          JUDD GREGG,
                                                                                          ROBERT F. BENNETT,
                                                                                          LARRY CRAIG,
                                                                                          KAY BAILEY HUTCHISON,
                                                                                          MIKE DEWINE,
                                                                                          SAM BROWNBACK,
                                                                                          WAYNE ALLARD,
                                                                                          ROBERT C. BYRD,
                                                                                          DANIEL K. INOUYE,
                                                                                          PATRICK LEAHY
                                                                                            (with exception for REAL
                                                                                              ID),
                                                                                          TOM HARKIN




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                                                                                       (with exception for REAL
                                                                                         ID),
                                                                                     BARBARA MIKULSKI
                                                                                       (with exception for REAL
                                                                                         ID),
                                                                                     HARRY REID
                                                                                       (with exception for REAL
                                                                                         ID),
                                                                                     BYRON L. DORGAN
                                                                                       (with res.—conference did
                                                                                         not reconvene),
                                                                                     DIANNE FEINSTEIN
                                                                                       (with exception for REAL
                                                                                         ID),
                                                                                     TIM JOHNSON,
                                                                                     MARY LANDRIEU,
                                                                                  Managers on the Part of the Senate.
                                      JOINT EXPLANATORY STATEMENT OF THE COMMITTEE OF
                                                        CONFERENCE
                                         The managers on the part of the House and the Senate at the
                                     conference on the disagreeing votes of the two Houses on the
                                     amendments of the Senate to the bill (H.R. 1268) making emer-
                                     gency supplemental appropriations for the fiscal year ending Sep-
                                     tember 30, 2005, and for other purposes, submit the following joint
                                     statement to the House and the Senate in explanation of the effects
                                     of the action agreed upon by the managers and recommended in
                                     the accompanying conference report.
                                         Report language included in the reports of the House (H. Rept.
                                     109–16) and of the Senate (S. Rept. 109–52) accompanying H.R.
                                     1268 should be complied with unless specifically addressed in this
                                     statement of the managers. The statement of the managers, while
                                     repeating some report language for emphasis, is not intended to ne-
                                     gate the language referred to above unless expressly provided here-
                                     in.
                                         This conference agreement is organized by subject matter. Due
                                     to certain jurisdictional differences between the subcommittees of
                                     the House and the Senate Committees on Appropriations, the ac-
                                     counts and programs of certain subcommittees are, in some cases,
                                     displayed within titles or chapters with the accounts and programs
                                     of other subcommittees. The organizational structure of this con-
                                     ference agreement does not predetermine the organization of con-
                                     ference agreements on the fiscal year 2006 appropriations bills.
                                                 TITLE I—DEFENSE-RELATED APPROPRIATIONS
                                         The conference agreement recommends $75,888,262,000 for the
                                     Department of Defense, instead of $76,923,910,000, as proposed by
                                     the House, and $74,800,257,000, as proposed by the Senate.
                                         The following table provides details of the supplemental appro-
                                     priations for the Department of Defense—Military.




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                                          Clarification of Discretionary Relief Provision: Subsection
                                     101(f) would amend subparagraph 242(a)(2)(B) of the INA by clari-
                                     fying that the provision barring judicial review of denials of discre-
                                     tionary relief applies regardless of whether the discretionary judg-
                                     ment, decision, or action is made in removal proceedings. It also
                                     amends subparagraph 242(a)(2)(B) of the INA by adding reference
                                     to the Secretary of Homeland Security, to clarify the text and make
                                     it consistent with the aims of the Reorganization Plan for the De-
                                     partment of Homeland Security.
                                          Subsection 101(g)(4) of Division B would provide that the
                                     amendments in subsection 101(f) shall take effect on the date of en-
                                     actment and apply to all cases pending before, on, or after such
                                     date.
                                          Removal of Caps. Section 209 of the INA currently provides
                                     that the Attorney General may adjust the status of aliens granted
                                     asylum to lawful permanent residence if they satisfy certain condi-
                                     tions, subject to a cap of 10,000 persons per fiscal year (aside from
                                     certain groups of asylees who are or have been exempt from the
                                     cap or subject to limits set in other legislation). Paragraph
                                     101(g)(1) of Division B would eliminate the cap for adjustment of
                                     status for asylees. It would also replace references to the ‘‘Immigra-
                                     tion and Naturalization Service’’ with references to the ‘‘Depart-
                                     ment of Homeland Security’’ and replace references to the ‘‘Attor-
                                     ney General’’ with references to the ‘‘Secretary of Homeland Secu-
                                     rity or the Attorney General.’’
                                          Similarly, under section 207(a)(5) of the INA, not more than
                                     1,000 aliens may be admitted as refugees or granted asylum under
                                     the provision of section 101(a)(42) therein relating to persecution
                                     for resistance to coercive population control methods. Paragraph
                                     101(g)(2) would strike the limitation on grants under this provi-
                                     sion.
                                          Subsection 101(f), lifting these caps, shall take effect on the
                                     date of enactment of Division B, pursuant to paragraph 101(g)(5).
                                          Repeal of the Study and Report on Terrorists and Asylum. Sec-
                                     tion 5403 of the Intelligence Reform and Terrorism Prevention Act
                                     of 2004 provides that ‘‘the Comptroller General of the United
                                     States shall conduct a study to evaluate the extent to which weak-
                                     nesses in the United States asylum system and withholding of re-
                                     moval system have been or could be exploited by aliens connected
                                     to, charged in connection with, or tied to terrorist activity,’’ includ-
                                     ing the extent to which precedential court decisions may have af-
                                     fected the ability of the Federal Government to prove that an alien
                                     is a terrorist who should be denied asylum and/or removed.
                                          Subsection 101(h) of Division B would repeal the requirement
                                     for the study and report, because the other provisions in section
                                     101 of Division B would resolve the vulnerability of the asylum and
                                     withholding of removal systems to terrorist exploitation.
                                          Section 102 of the conference agreement includes language
                                     modified from language proposed in section 102 of division B of the
                                     House bill. The Senate did not include similar language.
                                          Section 102 of the Illegal Immigration Reform and Immigrant
                                     Responsibility Act of 1996 provides for construction and strength-
                                     ening of barriers along U.S. land borders and specifically provides
                                     for 14 miles of barriers and roads along the border near San Diego,
                                     beginning at the Pacific Ocean and extending eastward. It provides




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                                     for a waiver of the Endangered Species Act of 1973 (ESA) and the
                                     National Environmental Policy Act of 1969 (NEPA) to the extent
                                     the Attorney General determines is necessary to ensure expeditious
                                     construction of barriers and roads. Despite the existing waiver pro-
                                     vision, construction of the San Diego area barriers has been de-
                                     layed due to a dispute involving other laws. The California Coastal
                                     Commission has prevented completion of the San Diego border se-
                                     curity infrastructure because it alleges that plans to complete it are
                                     inconsistent with the California Coastal Management Program, a
                                     state program approved pursuant to the federal Coastal Zone Man-
                                     agement Act (CZMA)—notwithstanding the fact that the San Diego
                                     border security infrastructure was designed to avoid and/or mini-
                                     mize adverse environmental impacts, and the Bureau of Customs
                                     and Border Protection (CBP) of the Department of Homeland Secu-
                                     rity testified before the California Coastal Commission that the
                                     plans for completion were consistent with the Coastal Management
                                     Program to the maximum extent practicable without sacrificing the
                                     effectiveness of the border security infrastructure. Continued
                                     delays caused by litigation have demonstrated the need for addi-
                                     tional waiver authority with respect to other laws that might im-
                                     pede the expeditious construction of security infrastructure along
                                     the border, such as the Coastal Zone Management Act.
                                          Current Law. Section 102(c) of IIRIRA provided for a waiver
                                     of the ESA and NEPA to the extent the Attorney General deter-
                                     mines is necessary to ensure expeditious construction of barriers
                                     and roads.
                                          Section 102 of the conference report would amend the current
                                     provision to require the Secretary of Homeland Security to waive
                                     all laws that he or she determines, in his or her sole discretion, are
                                     necessary to ensure the expeditious construction of the border bar-
                                     riers.
                                          Additionally, it would prohibit judicial review of a waiver deci-
                                     sion or action by the Secretary and bar judicially ordered compen-
                                     satory, declaratory, or injunctive, equitable, or any other relief or
                                     other remedy for damage alleged to result from any such decision
                                     or action. As discussed above, current statutes and the Reorganiza-
                                     tion Plan for the Department of Homeland Security have not
                                     amended and clarified references to executive authority throughout
                                     the INA. Accordingly, the provision would have replaced the ref-
                                     erence in current law to the Attorney General by a reference to the
                                     Secretary of Homeland Security.
                                          The Conferees have revised the House provision in the fol-
                                     lowing respects. First, the revised provision authorizes but does not
                                     require the Secretary of DHS to waive any legal requirements that
                                     he or she, in his or her sole discretion, determines are necessary
                                     to ensure expeditious construction of border security infrastructure.
                                     Second, the provision clarifies the intent of the conference report
                                     by substituting a reference to waiver of ‘‘all legal requirements’’ for
                                     the prior reference to waiver of ‘‘all laws’’, clarifying Congress’ in-
                                     tent that the Secretary’s discretionary waiver authority extends to
                                     any local, state or federal statute, regulation, or administrative
                                     order that could impede expeditious construction of border security
                                     infrastructure. Third, the conferees provided that any such waiver
                                     would become effective upon publication in the Federal Register,
                                     thereby ensuring appropriate public notice of such determinations.




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                                     Finally, the Conferees have provided federal judicial review for
                                     claims alleging that the actions or decisions of the Secretary violate
                                     the United States Constitution. The Conferees have further pro-
                                     vided that such claims must be filed within sixty days of the Sec-
                                     retary’s action or decision, and that interlocutory or final judg-
                                     ments, decrees, or orders of federal district courts on such claims
                                     may be reviewed only upon petition for a writ of certiorari to the
                                     Supreme Court of the United States. The Conferees’ intent is to en-
                                     sure that judicial review of actions or decisions of the Secretary not
                                     delay the expeditious construction of border security infrastructure,
                                     thereby defeating the purpose of the Secretary’s waiver.
                                          Section 106 of the conference agreement includes language
                                     modified from language proposed in section 105 of division B of the
                                     House bill. The Senate did not include similar language.
                                          Section 106 of Division B addresses a number of judicial review
                                     anomalies improperly favoring criminal aliens that were created by
                                     court decisions interpreting changes to the INA in 1996. Since
                                     1961, Congress has consistently provided that only the courts of ap-
                                     peals may review removal orders. From 1961 through 1996, the
                                     INA provided that review in the courts of appeals ‘‘shall be the sole
                                     and exclusive procedure’’ for judicial review of deportation orders.
                                     See INA subsection 106(a) (1995) (entitled ‘‘Exclusiveness of proce-
                                     dure’’). As the legislative history behind this provision reveals, Con-
                                     gress aimed to ‘‘create a single, separate, statutory form of judicial
                                     review of administrative orders for the deportation and exclusion of
                                     aliens from the United States.’’ H.R. Rep. No. 1086, 87th Cong., 1st
                                     Sess., reprinted in 1961 U.S.C.C.A.N. 2950, 2966 (1961). Congress’s
                                     ‘‘fundamental purpose’’ was ‘‘to abbreviate the process of judicial
                                     review of deportation orders’’ and to ‘‘eliminat[e] the previous ini-
                                     tial step in obtaining judicial review—a suit in a District Court.’’
                                     Foti v. INS, 375 U.S. 217, 224 (1963); accord Agosto v. INS, 436
                                     U.S. 748, 752–53 (1978); Giova v. Rosenberg, 379 U.S. 18 (1964)
                                     (per curiam). Thus, a final order of deportation could be challenged
                                     only in the appropriate court of appeals upon a timely filed petition
                                     for review.
                                          Such order could not have been challenged in district court by
                                     way of habeas corpus. Although the INA contained another provi-
                                     sion permitting habeas review, see INA § 106(a)(10) (1995), several
                                     circuits interpreted that provision as not providing habeas review
                                     over deportation orders, but only review over collateral issues, such
                                     as whether the alien should be released from custody or granted
                                     a stay of deportation pending a petition for review.
                                          Moreover, to the extent that habeas review of deportation or-
                                     ders had been available before 1996, Congress attempted to elimi-
                                     nate it in enacting the Antiterrorism and Effective Death Penalty
                                     Act of 1996 (AEDPA), Pub. L. 104–132, 110 Stat. 1214 (April 24,
                                     1996). One of the statute’s provisions, entitled ‘‘Elimination of Cus-
                                     tody Review by Habeas Corpus,’’ expressly repealed the former ha-
                                     beas provision. See subsection 401(e), 110 Stat. 1268, repealing
                                     INA paragraph 106(a)(10) (1995). This was part of Congress’s broad
                                     efforts to streamline immigration proceedings. Indeed, to expedite
                                     removal, section 440(a) of AEDPA precluded all judicial review of
                                     deportation orders for certain classes of criminal aliens. 110 Stat.
                                     1276–77 (providing that such orders ‘‘shall not be subject to review
                                     by any court’’).




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                                          The conferees agree to the Senate amendment relating to the
                                     title of the Act. The Senate amended the title to read ‘‘An Act Mak-
                                     ing Emergency Supplemental Appropriations for Defense, the Glob-
                                     al War on Terror, and Tsunami Relief, for the fiscal year ending
                                     September 30, 2005, and for other purposes.’’.
                                                                       JERRY LEWIS,
                                                                       C. W. BILL YOUNG,
                                                                       RALPH REGULA,
                                                                       HAROLD ROGERS,
                                                                       FRANK R. WOLF,
                                                                       JIM KOLBE,
                                                                       JAMES T. WALSH,
                                                                       CHARLES H. TAYLOR,
                                                                       DAVID L. HOBSON,
                                                                       HENRY BONILLA,
                                                                       JOE KNOLLENBERG,
                                                                       JOHN P. MURTHA,
                                                                       NORMAN D. DICKS,
                                                                       ALAN B. MOLLOHAN,
                                                                       PETER J. VISCLOSKY,
                                                                       CHET EDWARDS,
                                                                    Managers on the Part of the House.
                                                                                          THAD COCHRAN,
                                                                                          TED STEVENS,
                                                                                          PETE V. DOMENICI,
                                                                                          CHRISTOPHER S. BOND,
                                                                                          MITCH MCCONNELL,
                                                                                          RICHARD C. SHELBY,
                                                                                          JUDD GREGG,
                                                                                          ROBERT F. BENNETT,
                                                                                          LARRY CRAIG,
                                                                                          KAY BAILEY HUTCHISON,
                                                                                          MIKE DEWINE,
                                                                                          SAM BROWNBACK,
                                                                                          WAYNE ALLARD,
                                                                                          ROBERT C. BYRD,
                                                                                          DANIEL K. INOUYE,
                                                                                          PATRICK LEAHY
                                                                                            (with exception for REAL
                                                                                              ID),
                                                                                          TOM HARKIN
                                                                                            (with exception for REAL
                                                                                              ID),
                                                                                          BARBARA MIKULSKI
                                                                                            (with exception for REAL
                                                                                              ID),
                                                                                          HARRY REID
                                                                                            (with exception for REAL
                                                                                              ID),
                                                                                          BYRON L. DORGAN
                                                                                            (with res.—conference did
                                                                                              not reconvene),
                                                                                          DIANNE FEINSTEIN




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                                                                                       (with exception for REAL
                                                                                         ID),
                                                                                     TIM JOHNSON,
                                                                                     MARY LANDRIEU,
                                                                                  Managers on the Part of the Senate.

                                                                                      Æ




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      109TH CONGRESS
         1ST SESSION
                          H. R. 1268

                           AN ACT
      Making emergency supplemental appropriations for the fiscal
         year ending September 30, 2005, to establish and rapidly
         implement regulations for State driver’s license and iden-
         tification document security standards, to prevent terror-
         ists from abusing the asylum laws of the United States,
         to unify terrorism-related grounds for inadmissibility and
         removal, to ensure expeditious construction of the San
         Diego border fence, and for other purposes.

       1       Be it enacted by the Senate and House of Representa-
       2 tives of the United States of America in Congress assembled,
                                                                            3
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                                    2
       1 That the following sums are appropriated, out of any
       2 money in the Treasury not otherwise appropriated, for the
       3 fiscal year ending September 30, 2005, and for other pur-
       4 poses, namely:
       5   DIVISION A—EMERGENCY SUP-
       6     PLEMENTAL     APPROPRIA-
       7     TIONS ACT FOR DEFENSE,
       8     THE GLOBAL WAR ON TER-
       9     ROR, AND TSUNAMI RELIEF,
      10     2005
      11 TITLE I—DEFENSE-RELATED APPROPRIATIONS
      12                         CHAPTER 1
      13                  DEPARTMENT OF DEFENSE
      14       DEPARTMENT OF DEFENSE—MILITARY
      15                    MILITARY PERSONNEL
      16                   MILITARY PERSONNEL, ARMY
      17       For an additional amount for ‘‘Military Personnel,
      18 Army’’, $11,779,642,000: Provided, That the amounts
      19 provided under this heading are designated as an emer-
      20 gency requirement pursuant to section 402 of the con-
      21 ference report to accompany S. Con. Res. 95 (108th Con-
      22 gress).
      23                   MILITARY PERSONNEL, NAVY
      24       For an additional amount for ‘‘Military Personnel,
      25 Navy’’, $534,080,000: Provided, That the amounts pro-


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       1       Federal Regulations, and part 95 of title 22, Code
       2       of Federal Regulations.
       3       This division may be cited as the ‘‘Emergency Sup-
       4 plemental Appropriations Act for Defense, the Global War
       5 on Terror, and Tsunami Relief, 2005’’.
       6      DIVISION B—REAL ID ACT OF
       7                 2005
       8   SECTION 1. SHORT TITLE.

       9       This division may be cited as the ‘‘REAL ID Act of
      10 2005’’.
      11   TITLE I—AMENDMENTS TO FED-
      12      ERAL LAWS TO PROTECT
      13      AGAINST TERRORIST ENTRY
      14   SEC. 101. PREVENTING TERRORISTS FROM OBTAINING RE-

      15                  LIEF FROM REMOVAL.

      16       (a) CONDITIONS      FOR   GRANTING ASYLUM.—Section
      17 208(b)(1) of the Immigration and Nationality Act (8
      18 U.S.C. 1158(b)(1)) is amended—
      19            (1) by striking ‘‘The Attorney General’’ the
      20       first place such term appears and inserting the fol-
      21       lowing:
      22                   ‘‘(A)   ELIGIBILITY.—The   Secretary    of
      23            Homeland Security or the Attorney General’’;
      24            (2) by striking ‘‘the Attorney General’’ the sec-
      25       ond and third places such term appears and insert-


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       1       ing ‘‘the Secretary of Homeland Security or the At-
       2       torney General’’; and
       3            (3) by adding at the end the following:
       4                  ‘‘(B) BURDEN    OF PROOF.—

       5                       ‘‘(i) IN   GENERAL.—The     burden of
       6                  proof is on the applicant to establish that
       7                  the applicant is a refugee, within the
       8                  meaning of section 101(a)(42)(A). To es-
       9                  tablish that the applicant is a refugee with-
      10                  in the meaning of such section, the appli-
      11                  cant must establish that race, religion, na-
      12                  tionality, membership in a particular social
      13                  group, or political opinion was or will be a
      14                  central reason for persecuting the appli-
      15                  cant.
      16                       ‘‘(ii) SUSTAINING   BURDEN.—The     tes-
      17                  timony of the applicant may be sufficient
      18                  to sustain the applicant’s burden without
      19                  corroboration, but only if the applicant sat-
      20                  isfies the trier of fact that the applicant’s
      21                  testimony is credible, is persuasive, and re-
      22                  fers to specific facts sufficient to dem-
      23                  onstrate that the applicant is a refugee. In
      24                  determining whether the applicant has met
      25                  the applicant’s burden, the trier of fact


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       1                  may weigh the credible testimony along
       2                  with other evidence of record. Where the
       3                  trier of fact determines, in the trier of
       4                  fact’s discretion, that the applicant should
       5                  provide evidence which corroborates other-
       6                  wise credible testimony, such evidence
       7                  must be provided unless the applicant does
       8                  not have the evidence and cannot reason-
       9                  ably obtain the evidence without departing
      10                  the United States. The inability to obtain
      11                  corroborating evidence does not excuse the
      12                  applicant from meeting the applicant’s
      13                  burden of proof.
      14                      ‘‘(iii)        CREDIBILITY    DETERMINA-

      15                  TION.—The      trier of fact should consider all
      16                  relevant factors and may, in the trier of
      17                  fact’s discretion, base the trier of fact’s
      18                  credibility determination on any such fac-
      19                  tor, including the demeanor, candor, or re-
      20                  sponsiveness of the applicant or witness,
      21                  the inherent plausibility of the applicant’s
      22                  or witness’s account, the consistency be-
      23                  tween the applicant’s or witness’s written
      24                  and oral statements (whenever made and
      25                  whether or not made under oath), the in-


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       1                  ternal consistency of each such statement,
       2                  the consistency of such statements with
       3                  other evidence of record (including the re-
       4                  ports of the Department of State on coun-
       5                  try conditions), and any inaccuracies or
       6                  falsehoods in such statements, without re-
       7                  gard to whether an inconsistency, inaccu-
       8                  racy, or falsehood goes to the heart of the
       9                  applicant’s claim. There is no presumption
      10                  of credibility.’’.
      11       (b) WITHHOLDING       OF   REMOVAL.—Section 241(b)(3)
      12 of the Immigration and Nationality Act (8 U.S.C.
      13 1231(b)(3)) is amended by adding at the end the fol-
      14 lowing:
      15                  ‘‘(C) SUSTAINING      BURDEN   OF   PROOF;

      16            CREDIBILITY        DETERMINATIONS.—In       deter-
      17            mining whether an alien has demonstrated that
      18            the alien’s life or freedom would be threatened
      19            for a reason described in subparagraph (A), the
      20            trier of fact shall determine whether the alien
      21            has sustained the alien’s burden of proof, and
      22            shall make credibility determinations, in the
      23            manner described in clauses (ii) and (iii) of sec-
      24            tion 208(b)(1)(B).’’.




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       1       (c) OTHER REQUESTS           FOR       RELIEF FROM RE-
       2   MOVAL.—Section    240(c) of the Immigration and Nation-
       3 ality Act (8 U.S.C. 1230(c)) is amended—
       4            (1) by redesignating paragraphs (4), (5), and
       5       (6) as paragraphs (5), (6), and (7), respectively; and
       6            (2) by inserting after paragraph (3) the fol-
       7       lowing:
       8            ‘‘(4) APPLICATIONS          FOR   RELIEF   FROM   RE-

       9       MOVAL.—

      10                  ‘‘(A) IN   GENERAL.—An        alien applying for
      11            relief or protection from removal has the bur-
      12            den of proof to establish that the alien—
      13                       ‘‘(i) satisfies the applicable eligibility
      14                  requirements; and
      15                       ‘‘(ii) with respect to any form of relief
      16                  that is granted in the exercise of discre-
      17                  tion, that the alien merits a favorable exer-
      18                  cise of discretion.
      19                  ‘‘(B) SUSTAINING        BURDEN.—The       appli-
      20            cant must comply with the applicable require-
      21            ments to submit information or documentation
      22            in support of the applicant’s application for re-
      23            lief or protection as provided by law or by regu-
      24            lation or in the instructions for the application
      25            form. In evaluating the testimony of the appli-


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       1            cant or other witness in support of the applica-
       2            tion, the immigration judge will determine
       3            whether or not the testimony is credible, is per-
       4            suasive, and refers to specific facts sufficient to
       5            demonstrate that the applicant has satisfied the
       6            applicant’s burden of proof. In determining
       7            whether the applicant has met such burden, the
       8            immigration judge shall weigh the credible testi-
       9            mony along with other evidence of record.
      10            Where the immigration judge determines in the
      11            judge’s discretion that the applicant should pro-
      12            vide evidence which corroborates otherwise cred-
      13            ible testimony, such evidence must be provided
      14            unless the applicant demonstrates that the ap-
      15            plicant does not have the evidence and cannot
      16            reasonably obtain the evidence without depart-
      17            ing from the United States. The inability to ob-
      18            tain corroborating evidence does not excuse the
      19            applicant from meeting the burden of proof.
      20                  ‘‘(C) CREDIBILITY   DETERMINATION.—The

      21            immigration judge should consider all relevant
      22            factors and may, in the judge’s discretion, base
      23            the judge’s credibility determination on any
      24            such factor, including the demeanor, candor, or
      25            responsiveness of the applicant or witness, the


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       1            inherent plausibility of the applicant’s or
       2            witness’s account, the consistency between the
       3            applicant’s or witness’s written and oral state-
       4            ments (whenever made and whether or not
       5            made under oath), the internal consistency of
       6            each such statement, the consistency of such
       7            statements with other evidence of record (in-
       8            cluding the reports of the Department of State
       9            on country conditions), and any inaccuracies or
      10            falsehoods in such statements, without regard
      11            to whether an inconsistency, inaccuracy, or
      12            falsehood goes to the heart of the applicant’s
      13            claim. There is no presumption of credibility.’’.
      14       (d) STANDARD     OF   REVIEW   FOR   ORDERS   OF   RE-
      15   MOVAL.—Section    242(b)(4) of the Immigration and Na-
      16 tionality Act (8 U.S.C. 1252(b)(4)) is amended by adding
      17 at the end, after subparagraph (D), the following: ‘‘No
      18 court shall reverse a determination made by a trier of fact
      19 with respect to the availability of corroborating evidence,
      20 as described in section 208(b)(1)(B), 240(c)(4)(B), or
      21 241(b)(3)(C), unless the court finds that a reasonable
      22 trier of fact is compelled to conclude that such corrobo-
      23 rating evidence is unavailable.’’.




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       1       (e)    CLARIFICATION       OF    DISCRETION.—Section
       2 242(a)(2)(B) of the Immigration and Nationality Act (8
       3 U.S.C. 1252(a)(2)(B)) is amended—
       4             (1) by inserting ‘‘or the Secretary of Homeland
       5       Security’’ after ‘‘Attorney General’’ each place such
       6       term appears; and
       7             (2) in the matter preceding clause (i), by insert-
       8       ing ‘‘and regardless of whether the judgment, deci-
       9       sion, or action is made in removal proceedings,’’
      10       after ‘‘other provision of law,’’.
      11       (f) REMOVAL OF CAPS.—Section 209 of the Immigra-
      12 tion and Nationality Act (8 U.S.C. 1159) is amended—
      13             (1) in subsection (a)(1)—
      14                  (A) by striking ‘‘Service’’ and inserting
      15             ‘‘Department of Homeland Security’’; and
      16                  (B) by striking ‘‘Attorney General’’ each
      17             place such term appears and inserting ‘‘Sec-
      18             retary of Homeland Security or the Attorney
      19             General’’;
      20             (2) in subsection (b)—
      21                  (A) by striking ‘‘Not more’’ and all that
      22             follows through ‘‘asylum who—’’ and inserting
      23             ‘‘The Secretary of Homeland Security or the
      24             Attorney General, in the Secretary’s or the At-
      25             torney General’s discretion and under such reg-


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       1            ulations as the Secretary or the Attorney Gen-
       2            eral may prescribe, may adjust to the status of
       3            an alien lawfully admitted for permanent resi-
       4            dence the status of any alien granted asylum
       5            who—’’; and
       6                  (B) in the matter following paragraph (5),
       7            by striking ‘‘Attorney General’’ and inserting
       8            ‘‘Secretary of Homeland Security or the Attor-
       9            ney General’’; and
      10            (3) in subsection (c), by striking ‘‘Attorney
      11       General’’ and inserting ‘‘Secretary of Homeland Se-
      12       curity or the Attorney General’’.
      13       (g) EFFECTIVE DATES.—
      14            (1) The amendments made by paragraphs (1)
      15       and (2) of subsection (a) shall take effect as if en-
      16       acted on March 1, 2003.
      17            (2) The amendments made by subsections
      18       (a)(3), (b), and (c) shall take effect on the date of
      19       the enactment of this division and shall apply to ap-
      20       plications for asylum, withholding, or other removal
      21       made on or after such date.
      22            (3) The amendment made by subsection (d)
      23       shall take effect on the date of the enactment of this
      24       division and shall apply to all cases in which the




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                                        83
       1       final administrative removal order is or was issued
       2       before, on, or after such date.
       3               (4) The amendments made by subsection (e)
       4       shall take effect on the date of the enactment of this
       5       division and shall apply to all cases pending before
       6       any court on or after such date.
       7               (5) The amendments made by subsection (f)
       8       shall take effect on the date of the enactment of this
       9       division.
      10       (h) REPEAL.—Section 5403 of the Intelligence Re-
      11 form and Terrorism Prevention Act of 2004 (Public Law
      12 108–458) is repealed.
      13   SEC. 102. WAIVER OF LAWS NECESSARY FOR IMPROVE-

      14                   MENT OF BARRIERS AT BORDERS.

      15       Section 102(c) of the Illegal Immigration Reform and
      16 Immigrant Responsibility Act of 1996 (8 U.S.C. 1103
      17 note) is amended to read as follows:
      18       ‘‘(c) WAIVER.—
      19               ‘‘(1) IN   GENERAL.—Notwithstanding   any other
      20       provision of law, the Secretary of Homeland Security
      21       shall have the authority to waive, and shall waive, all
      22       laws such Secretary, in such Secretary’s sole discre-
      23       tion, determines necessary to ensure expeditious con-
      24       struction of the barriers and roads under this sec-
      25       tion.


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       1             ‘‘(2) NO       JUDICIAL REVIEW.—Notwithstanding

       2       any other provision of law (statutory or nonstatu-
       3       tory), no court, administrative agency, or other enti-
       4       ty shall have jurisdiction—
       5                    ‘‘(A) to hear any cause or claim arising
       6             from any action undertaken, or any decision
       7             made, by the Secretary of Homeland Security
       8             pursuant to paragraph (1); or
       9                    ‘‘(B) to order compensatory, declaratory,
      10             injunctive, equitable, or any other relief for
      11             damage alleged to arise from any such action or
      12             decision.’’.
      13   SEC. 103. INADMISSIBILITY DUE TO TERRORIST AND TER-

      14                  RORIST-RELATED ACTIVITIES.

      15       (a)     IN     GENERAL.—So          much     of    section
      16 212(a)(3)(B)(i) of the Immigration and Nationality Act
      17 (8 U.S.C. 1182(a)(3)(B)(i)) as precedes the final sentence
      18 is amended to read as follows:
      19                        ‘‘(i) IN   GENERAL.—Any    alien who—
      20                               ‘‘(I) has engaged in a terrorist
      21                        activity;
      22                               ‘‘(II) a consular officer, the At-
      23                        torney General, or the Secretary of
      24                        Homeland Security knows, or has rea-
      25                        sonable ground to believe, is engaged


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                                   130
       1       ernment in order to facilitate the integration of com-
       2       munications among the departments and agencies of
       3       the Federal Government and State, local government
       4       agencies, and Indian tribal agencies on matters re-
       5       lating to border security; and
       6            (2) to enhance information sharing among the
       7       departments and agencies of the Federal Govern-
       8       ment, State and local government agencies, and In-
       9       dian tribal agencies on such matters.
      10       (b) REPORT.—Not later than 1 year after imple-
      11 menting the plan under subsection (a), the Secretary shall
      12 submit a copy of the plan and a report on the plan, includ-
      13 ing any recommendations the Secretary finds appropriate,
      14 to the Senate Committee on Commerce, Science, and
      15 Transportation, the House of Representatives Committee
      16 on Science, the House of Representatives Committee on
      17 Homeland Security, and the House of Representatives
      18 Committee on the Judiciary.
               Passed the House of Representatives March 16,
           2005.
               Attest:




                                                            Clerk.




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                                                                            109TH CONGRESS
                                                                               1ST SESSION     H. R. 1268
                                                                                            AN ACT
                                                                            Making emergency supplemental appropriations for
                                                                             the fiscal year ending September 30, 2005, to es-
                                                                             tablish and rapidly implement regulations for
                                                                             State driver’s license and identification document
                                                                             security standards, to prevent terrorists from
                                                                             abusing the asylum laws of the United States, to
                                                                             unify terrorism-related grounds for inadmis-
                                                                             sibility and removal, to ensure expeditious con-
                                                                             struction of the San Diego border fence, and for
                                                                             other purposes.
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                                                   February 9, 2005               CONGRESSIONAL RECORD — HOUSE                           H453
                                                   favor of rational proposals that bolster U.S.           and prevents the 9th Circuit from further un-         from the President of the United
                                                   security and global competitiveness.                    dermining our national security.                      States; which was read and, together
                                                      Ms. HART. Mr. Speaker, the REAL ID Act                                DEFENDING BORDERS                    with the accompanying papers, without
                                                   completes the mission of the 9/11 Commission                In 1996 Congress approved building the 14         objection, referred to the Committee
                                                   recommendations by implementing common                  mile long San Diego Border Fence on the               on International Relations:
                                                   sense reforms to strengthen our borders secu-           Mexico-U.S. border, right next to a major U.S.        To the Congress of the United States:
                                                   rity and better protect our homeland.                   Navy base.                                              Consistent with section 1205 of the
                                                      IMPLEMENTING MUCH NEEDED DRIVER’S LICENSE                The San Diego Sector covers an area of            National Defense Authorization Act for
                                                                      REFORMS
                                                                                                           more than 7,000 square miles and contains 66          Fiscal Year 2003 (Public Law 107–314), I
                                                      Driver’s licenses have become the primary            linear miles of international border with Mex-        am providing a report prepared by my
                                                   identification document in the United States,           ico. Directly to the south of the San Diego           Administration on implementation
                                                   enabling individuals to get other identity docu-        Sector area of responsibility lie the Mexican         during 2003 of the plan for securing nu-
                                                   ments, transfer funds to a U.S. bank account,           cities of Tijuana and Tecate, which have a            clear weapons, material, and expertise
                                                   obtain access to federal buildings and other            combined population of more than two million.         of the states of the former Soviet
                                                   vulnerable facilities, purchase a firearm, rent a           For decades, this area had been the pre-          Union.
                                                   car and board a plane.                                  ferred corridor for entry into the United States                            GEORGE W. BUSH.
                                                      Lax standards and loopholes in the current           by unknown or undocumented persons due to                  THE WHITE HOUSE, February 8, 2005.
                                                   issuance processes allow terrorists to obtain           the highly populated cities north and south of                      f
                                                   driver’s licenses—often multiple licenses from          the border, as well as relatively quick access
                                                   different states—and abuse the license for                                                                              GENERAL LEAVE
                                                                                                           to national transportation hubs such as LAX.
                                                   identification purposes.                                    Construction of the fence was halted when           Mr. SENSENBRENNER. Mr. Speak-
                                                      The Sept 11th hijackers had, within their            radical environmentalists claimed that the area       er, I ask unanimous consent that all
                                                   possession, at least 15 valid drivers licenses          was a habitat of a rare bird. As a result, eight      Members may have 5 legislative days
                                                   and numerous State issued identity cards with           years later, the fence remains incomplete and         within which to revise and extend their
                                                   a large variety of addresses.                           is an opportunity for aliens to cross the border      remarks and include extraneous mate-
                                                      Identification documents are the last oppor-         illegally.                                            rial on H.R. 418, soon to be considered.
                                                   tunity to ensure that people are who they say               This incomplete fence allows border security        The SPEAKER pro tempore. Is there
                                                   they are and to check whether they are terror-          gaps to remain open. We must close these              objection to the request of the gen-
                                                   ists.                                                   gaps because they remain a threat to our na-          tleman from Wisconsin?
                                                      The REAL ID Act would require applicants                                                                     There was no objection.
                                                                                                           tional security.
                                                   to provide proof they are in the country legally.                                                                           f
                                                                                                               The REAL ID Act will require the completion
                                                   Currently, eleven states do not have such a             of this important security fence.                              REAL ID ACT OF 2005
                                                   requirement, meaning a majority of states
                                                                                                                    STRENGTHENING DEPORTATION LAWS
                                                   have already recognized the need for tighter                                                                    The SPEAKER pro tempore. Pursu-
                                                   standards, but unnecessary and dangerous                   Under current immigration laws, prohibitions       ant to House Resolution 71 and rule
                                                   gaps in the system still exist.                         on some terrorist-related activities only apply       XVIII, the Chair declares the House in
                                                      The REAL ID Act would require identity doc-          to aliens who are trying to enter the U.S., but       the Committee of the Whole House on
                                                   uments to expire at the same time as the expi-          not to those who already reside within our bor-       the State of the Union for the consider-
                                                   ration of lawful entry status, preventing those         ders. Therefore, if an alien seeking a visa has       ation of the bill, H.R. 418.
                                                   who have illegally entered or are unlawfully            been found to participate in certain terrorist-re-
                                                                                                           lated activity, he/she is prohibited from enter-                          b 1359
                                                   present in the U.S. from having valid identi-
                                                   fication documents.                                     ing the U.S. But if an alien is found to have               IN THE COMMITTEE OF THE WHOLE
                                                      States would still issue driver’s licenses and       participated in the same terrorist activity in the      Accordingly, the House resolved
                                                   identification cards and would control their            U.S., he/she may not be deportable.                   itself into the Committee of the Whole
                                                   own driver database.                                       The REAL ID Act would finally make the             House on the State of the Union for the
                                                               CLOSING ASYLUM LOOPHOLES                    laws consistent by providing that all terrorist-      consideration of the bill (H.R. 418) to
                                                      The 9–11 Commission’s staff report on ‘‘9–           related offenses and making aliens inadmis-           establish and rapidly implement regu-
                                                   11 and Terrorist Travel’’ found that ‘‘a number         sible which would also be grounds for their de-       lations for State driver’s license and
                                                   of terrorists . . . abused the asylum system’’.         portation.                                            identification    document      security
                                                      Examples of Terrorists Abusing Our Asylum               The REAL ID Act provides that any alien            standards, to prevent terrorists from
                                                   Laws:                                                   contributing funds to a terrorist organization        abusing the asylum laws of the United
                                                      The ‘‘Blind Sheik’’, Sheik Omar Abdel                would be deportable.                                  States, to unify terrorism-related
                                                   Rahman, led a plot to bomb New York City                   Mr. SESSIONS. Mr. Speaker, I yield                 grounds for inadmissibility and re-
                                                   landmarks. Rahman used an asylum applica-               back the balance of my time, and I                    moval, and to ensure expeditious con-
                                                   tion to avoid deportation to Egypt after all            move the previous question on the res-                struction of the San Diego border
                                                   other means of remaining in the U.S. failed.            olution.                                              fence, with Mr. CULBERSON in the chair.
                                                      The 9/11 Commission staff report noted                  The previous question was ordered.                   The Clerk read the title of the bill.
                                                   than an immigration judge held a hearing on                The resolution was agreed to.                        The CHAIRMAN. Pursuant to the
                                                   Rahman’s asylum claim weeks before his fol-                A motion to reconsider was laid on                 rule, the bill is considered as having
                                                   lowers bombed the WorId Trade Center.                   the table.                                            been read the first time.
                                                      During the Republican Convention last Au-                              f                                     General debate shall not exceed 1
                                                   gust, an illegal alien from Pakistan was picked                                                               hour and 40 minutes, with 40 minutes
                                                                                                            MESSAGE FROM THE PRESIDENT                           equally divided and controlled by the
                                                   up and arrested for attempting to bomb the
                                                   Herald Square subway station and plotting to              A message in writing from the Presi-                chairman and ranking minority mem-
                                                   bomb the Verrazano Narrows bridge. He was               dent of the United States was commu-                  ber of the Committee on the Judiciary;
                                                   quoted as saying that ‘‘I want at least 1,000 to        nicated to the House by Ms. Wanda                     40 minutes equally divided and con-
                                                   2,000 to die in one day.’’ The alien had ap-            Evans, one of his secretaries.                        trolled by the chairman and ranking
                                                   plied for asylum.                                                         f                                   minority member of the Committee on
                                                      A number of courts, specifically the 9th Cir-                                                              Government Reform; and 20 minutes
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                                                   cuit Court has severely undermined current              PLAN FOR SECURING THE NU-                             equally divided and controlled by the
                                                   authorities by limiting the factors that judges           CLEAR    WEAPONS,      MATERIAL,                    chairman and ranking minority mem-
                                                   can consider when assessing the credibility of            AND EXPERTISE OF THE STATES                         ber of the Committee on Homeland Se-
                                                   an alien seeking asylum. This impairment en-              OF     THE    FORMER       SOVIET                   curity.
                                                   courages asylum fraud.                                    UNION—MESSAGE         FROM    THE                     The gentleman from Wisconsin (Mr.
                                                      The REAL ID Act would strengthen judges’               PRESIDENT     OF    THE    UNITED                   SENSENBRENNER) and the gentleman
                                                   ability to determine whether the asylum seeker            STATES                                              from Michigan (Mr. CONYERS) each will
                                                   is truthful. This provision codifies the factors          The SPEAKER pro tempore laid be-                    control 20 minutes of debate from the
                                                   immigration judges use to assess credibility            fore the House the following message                  Committee on the Judiciary.



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                                                   H454                           CONGRESSIONAL RECORD — HOUSE                 February 9, 2005
                                                     The Chair recognizes the gentleman                    ists and criminals who falsely claim                  Congressional Record during consideration
                                                   from Wisconsin (Mr. SENSENBRENNER).                     persecution.                                          of H.R. 418 on the House floor.
                                                     Mr. SENSENBRENNER. Mr. Chair-                            Liberal activist judges in the Ninth                     Sincerely,
                                                                                                           Circuit have been overturning clearly                           F. JAMES SENSENBRENNER, Jr.,
                                                   man, I yield myself such time as I may
                                                                                                                                                                                                 Chairman.
                                                   consume.                                                established precedent and are pre-
                                                                                                           venting immigration judges from deny-
                                                                     b 1400                                                                                              HOUSE OF REPRESENTATIVES,
                                                                                                           ing bogus asylum applications by                        COMMITTEE ON ENERGY AND COMMERCE,
                                                     Mr. Chairman, in December, the                        aliens who are clearly lying. If crimi-                           Washington, DC, February 8, 2005.
                                                   President signed into law legislation                   nal juries can sentence a defendant to                Hon. F. JAMES SENSENBRENNER, Jr.,
                                                   intended to respond to the rec-                         life imprisonment or execution based                  Chairman, Committee on the Judiciary, Wash-
                                                   ommendations of the 9/11 Commission.                    on adverse credibility determinations,                    ington, DC.
                                                   Unfortunately, the legislation that was                 certainly an immigration judge can                      DEAR CHAIRMAN SENSENBRENNER: I under-
                                                   enacted failed to include several key                   deny an alien asylum on this basis. It                stand that you will shortly bring H.R. 418,
                                                   provisions    critical   to     addressing              is one of the foundations of our system               the REAL ID Act of 2005, to the House floor.
                                                   vulnerabilities found in both the 9/11                  of jurisprudence that juries and trial                This legislation contains provisions that fall
                                                   Commission Report and of the 9/11 staff                 judges should be able to decide cases on              within the jurisdiction of the Committee on
                                                                                                                                                                 Energy and Commerce.
                                                   report on terrorist travel. To that end,                the basis of credibility or lack of credi-
                                                                                                                                                                   Section 102 of the bill provides the Sec-
                                                   on January 26th of this year, I intro-                  bility of witnesses. This bill will again             retary of Homeland Security with the au-
                                                   duced H.R. 418, the REAL ID Act. The                    allow immigration judges to deny asy-                 thority to waive applicable environmental
                                                   bill, which now has 139 cosponsors, en-                 lum claims based on the lack of credi-                law, such as the Resource Conservation and
                                                   compasses four of the most important                    bility.                                               Recovery Act (RCRA) and the Comprehen-
                                                   border and document security provi-                        The bill also overturns an even more               sive Environmental Response, Compensa-
                                                   sions that the House overwhelmingly                     disturbing Ninth Circuit precedent                    tion, and Liability Act CERCLA, for the pur-
                                                   approved as a part of H.R. 10 last year.                that has made it easier for terrorists to             pose of building roads and barriers. As you
                                                     The goal of the REAL ID Act is                        receive asylum. The circuit has actu-                 know, Rule X of the Rules of the House of
                                                   straightforward. It seeks to prevent an-                ally held that an alien can receive asy-              Representatives gives the Committee on En-
                                                                                                                                                                 ergy and Commerce jurisdiction over these
                                                   other 9/11-type terrorist attack by dis-                lum on the basis that his or her gov-
                                                                                                                                                                 statutes.
                                                   rupting terrorist travel. The 9/11 Com-                 ernment believes that the alien is a
                                                                                                                                                                   I recognize your desire to bring this legis-
                                                   mission terrorist travel report stated                  terrorist.                                            lation before the House in an expeditious
                                                   that ‘‘Abuse of the immigration system                     Third, the REAL ID Act will waive                  manner. Accordingly, I will not exercise my
                                                   and the lack of interior enforcement                    Federal laws to the extent necessary to               Committee’s right to a referral. By agreeing
                                                   were unwittingly working together to                    complete gaps in the San Diego border                 to waive its consideration of the bill, how-
                                                   support terrorist activities.’’                         security fence which is still stymied 8               ever, the Energy and Commerce Committee
                                                     The report further states that ‘‘Mem-                 years after congressional authoriza-                  does not waive its jurisdiction over H.R. 418.
                                                   bers of al Qaeda clearly valued freedom                 tion. Neither the public safety nor the               In addition, the Energy and Commerce Com-
                                                                                                           environment are benefiting from the                   mittee reserves its right to seek conferees on
                                                   of movement as critical to their ability                                                                      any provisions of the bill that are within its
                                                   to plan and carry out the attacks prior                 current stalemate.
                                                                                                              Finally, the REAL ID Act contains a                jurisdiction during any House-Senate con-
                                                   to September 11th.’’                                                                                          ference that may be convened on this or
                                                     Finally, the report observed, ‘‘If ter-               common-sense provision that helps
                                                                                                                                                                 similar legislation. I ask for your commit-
                                                   rorist travel options are reduced, they                 protect Americans from terrorists who                 ment to support any request by the Energy
                                                   may be forced to rely on means of                       have infiltrated the United States. Cur-              and Commerce Committee for conferees on
                                                   interaction which can be more easily                    rently,     certain     terrorism-related             H.R. 418 or similar legislation.
                                                   monitored and to resort to travel docu-                 grounds of inadmissibility to our coun-                 I request that you include this letter in the
                                                   ments that are more easily detect-                      try are not also grounds for deporta-                 Congressional Record during consideration
                                                   able.’’                                                 tion of aliens already here. The REAL                 of H.R. 418. Thank you for your attention to
                                                                                                           ID Act makes aliens deportable from                   these matters.
                                                     The REAL ID Act contains four pro-                                                                                Sincerely,
                                                   visions aimed at disrupting terrorist                   the United States for terrorism-related
                                                                                                           offenses to the same extent they would                                             JOE BARTON,
                                                   travel. First, the legislation does not,                                                                                                         Chairman.
                                                   does not, try to set States’ policy for                 be inadmissible to the United States to
                                                                                                           begin with. The act provides that any                   Mr. Chairman, I reserve the balance
                                                   those who may or may not drive a car,
                                                                                                           alien who knowingly provides funds or                 of my time.
                                                   but it does address the use of a driver’s
                                                                                                           other material support to a terrorist                   Mr. CONYERS. Mr. Chairman, I yield
                                                   license as a form of identification to a
                                                                                                           organization will be subject to immi-                 myself such time as I may consume.
                                                   Federal official such as an airport
                                                                                                           gration consequences.                                   Mr. Chairman, I rise, regrettably in
                                                   screener at a domestic airport.
                                                                                                              The REAL ID Act will make America                  opposition to this anti-immigrant leg-
                                                     American citizens have the right to
                                                                                                           a safer place. It is even endorsed by the             islation.
                                                   know who is in their country, that the
                                                                                                           9/11 Families for a Secure America, an                  Mr. Chairman, if we truly believe in
                                                   people are who they say they are, and
                                                                                                           association of family members of 9/11                 all we have heard about the importance
                                                   that the name on the driver’s license is
                                                                                                           victims.                                              of freedom and liberty from our Presi-
                                                   the real holder’s name, not some alias.                    I urge my colleagues to support this
                                                     Second, this legislation will tighten                                                                       dent and others, then we have no other
                                                                                                           bill.                                                 choice but to vote down this bill which
                                                   our asylum system, which has been                               HOUSE OF REPRESENTATIVES,
                                                   abused by terrorists. The 9/11 Commis-                             COMMITTEE ON THE JUDICIARY,                denies so much freedom and liberty to
                                                   sion staff report on terrorist travel                               Washington, DC, February 9, 2005.         the immigrants in our own country.
                                                   states that ‘‘Once the terrorists had en-               Hon. JOE BARTON,                                        H.R. 418 includes provision after pro-
                                                   tered the United States, their next                     Chairman, House Committee on Energy and               vision limiting the rights of refugees,
                                                   challenge was to find a way to remain                       Commerce, Washington, DC.                         imposing onerous new driver’s license
                                                                                                             DEAR CHAIRMAN BARTON: Thank you for                 requirements on the States, unfunded
                                                   here.’’ Their primary method was im-                    your letter, dated February 8, 2005, regarding
                                                   migration fraud.                                        H.R. 418, the ‘‘REAL ID Act.’’ As you noted,
                                                                                                                                                                 mandates, making it easier to deport
                                                     Irresponsible judges have made asy-                                                                         legal immigrants, waiving all Federal
CCOLEMAN on PROD1PC71 with CONG-REC-ONLINE




                                                                                                           some of the provisions of the bill contained
                                                   lum laws vulnerable to fraud and                        in section 102 fall within the Rule X jurisdic-       laws concerning construction of bar-
                                                   abuse. We will end judge-imposed pre-                   tion of the Committee on Energy and Com-              riers and fences anywhere within the
                                                   sumptions that benefit suspected ter-                   merce. I appreciate your willingness to forgo         United States and denying immigrants
                                                   rorists in order to stop providing a safe               consideration of the bill, and I acknowledge          long-standing habeas corpus rights.
                                                   haven to some of the worst people on                    that by agreeing to waive its consideration           This is a work of art that has to be ex-
                                                                                                           of the bill, the Committee on Energy and              amined very, very carefully and very
                                                   Earth. The REAL ID Act will reduce                      Commerce does not waive its jurisdiction
                                                   the opportunity for immigration fraud                   over these provisions.
                                                                                                                                                                 critically.
                                                   so that we can protect honest asylum                      Pursuant to your request, I will include a            If this measure becomes law, this will
                                                   seekers and stop rewarding the terror-                  copy of your letter and this response in the          close America’s doors to Cubans fleeing



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                                                   February 9, 2005               CONGRESSIONAL RECORD — HOUSE                           H455
                                                   from their country, religious minori-                      Finally, Mr. Chairman, this legisla-                 Supporters of H.R. 418 are afraid that
                                                   ties attempting to escape religious per-                tion strengthens our ability to deport                terrorists are using our asylum laws as
                                                   secution, women fleeing from sex traf-                  terrorists. Current law makes terror-                 a means of entering and remaining in
                                                   ficking, rape or forced abortions.                      ists inadmissible for certain offenses                the United States. This fear has to be
                                                     Unfortunately, in our history, there                  but not deportable for those same of-                 put into perspective. Terrorists are
                                                   have been a number of examples of this                  fenses.                                               statutorily barred from asylum eligi-
                                                   overreaction in the past. For example,                     Congress can improve homeland secu-                bility, and it is not apparent why they
                                                   during the Civil War, General Ulysses                   rity by passing this legislation. But if              should choose such a complicated,
                                                   Grant, no less, sought to expel the                     the administration wants to continue                  time-consuming method for entering
                                                   Jews from the South. The aftermath of                   to protect the lives of Americans, it                 and remaining in the United States, in
                                                   World War I brought the notorious Red                   can also take immediate steps to                      any event. In addition, large numbers
                                                   scare, and the very long remembered                     change policies that have encouraged                  of advocates, religious organizations
                                                   anti-immigrant Palmer raids from the                    illegal immigration. It should start by               and others who understand asylum
                                                   attorney general of that era. Of course,                requesting funding for all of the border              laws and realize that there are still re-
                                                   World War II gave us the searing mem-                   enforcement positions that Congress                   ligious and political persecution today,
                                                   ory of the unconscionable internment                    authorized last year. The President’s                 realize that this bill is misdirected.
                                                   of Japanese Americans.                                  budget only requests enough funds for                   As we stand here on the floor, the
                                                     In the wake of the 9/11 tragedy, and                  210 new border patrol agents, even                    Committee on Rules is determining
                                                   even after the PATRIOT Act, which did                   though Congress authorized 2,000 new                  whether the Nadler amendment will be
                                                   its share of violating the rights of                    agents.                                               admitted that responds to the crisis we
                                                   those who were in this country, this                       Further, the administration must                   face in the asylum laws if this bill is to
                                                   legislation would even further target                   start fining employers for hiring illegal             be passed in its present form.
                                                   immigrants for crimes they have not                     immigrants. Last year it did not fine a                 We know that the 9/11 hijackers en-
                                                   committed and for which they are not                    single employer. The administration                   tered and remained in the United
                                                   responsible.                                            also should change its policy of recog-               States as nonimmigrant visitors. Vis-
                                                     At some point we have to treat ter-                   nizing consular identification cards                  itor visas only require a 2-minute
                                                   rorism as a problem that requires in-                   issued by other countries. These cards                interview with an American Consulate
                                                   telligent response, as opposed to an ex-                are simply not secure or reliable. They               office. The applicant just has to estab-
                                                   cuse to scapegoat immigrants.                           give terrorists and illegal aliens an-                lish that he will return to his country
                                                     For all these reasons, there are so                   other way to remain undetected in the                 at the end of the authorized period of
                                                   many groups lined up behind the Amer-                   United States.                                        stay. This is much easier than the
                                                   ican Civil Liberties Union to oppose                       Mr. Chairman, the REAL ID Act                      steps required for obtaining asylum.
                                                   the bill: immigration rights groups,                    marks the beginning of an effort to                     I too want to have a kind of orga-
                                                   civil rights groups, civil liberty organi-              make America safer. I hope the admin-                 nized system that bars terrorists, but
                                                   zations, private rights groups, labor or-               istration will fully support us in this               putting into effect a national ID card is
                                                   ganizations, environmental groups, Na-                  effort.                                               not what the 9/11 Commission said. In
                                                   tive American rights, States’ rights                       Ms. JACKSON-LEE of Texas. Mr.                      fact, they made it very clear. This leg-
                                                   and international human rights groups.                  Chairman, I yield myself such time as                 islation will force the United States in
                                                     So, I urge us in good conscience and                  I may consume.                                        its national database and in its re-
                                                   serious concern over the direct and the                    Mr. Chairman, I believe that what we               quirement standardizing ID driver’s li-
                                                   subtle import of this legislation,                      do today is a matter that could have                  censes and birth certificates which
                                                   please, we cannot and should not close                  been approached in a bipartisan man-                  puts us on that road without hearings,
                                                   ourselves off to the most vulnerable                    ner. As I look at the Members on the                  without oversight, and without ques-
                                                   members of our society.                                 floor of the House, each and every one                tion of America’s civil liberties.
                                                     Mr. Chairman, I ask unanimous con-                    is sincere in their commitment to the                   I know that the polls and all the
                                                   sent that the gentlewoman from Texas                    war on terrorism. And let me applaud                  phone calls in Members’ offices have
                                                   (Ms. JACKSON-LEE) be permitted to                       them for that. I applaud the chairman                 said we do not want illegal aliens driv-
                                                   manage the bill on this side of the                     of the full Committee on the Judiciary.               ing cars. Well, do you want individuals
                                                   floor.                                                  Let me applaud the ranking member. A                  on our highways and byways that are
                                                     The CHAIRMAN. Is there objection                      number of Members who are here on                     not licensed? Are you taking away the
                                                   to the request of the gentleman from                    the floor are Committee on the Judici-                10th amendment of the United States
                                                   Michigan?                                               ary members. I want to applaud them                   to allow them to be able to standardize
                                                     There was no objection.                               for the work that has been done on this               those documents? I do believe that we
                                                     Mr. SENSENBRENNER. Mr. Chair-                         issue.                                                can standardize them by a biometric
                                                   man, I yield 21⁄2 minutes to the distin-                   That is why I believe that the REAL                system, but we have intruded on the
                                                   guished gentleman from Texas (Mr.                       ID Act could have been addressed in                   rights of States when they too can
                                                   SMITH).                                                 regular order, the regular order of com-              work with the Federal Government
                                                     Mr. SMITH of Texas. Mr. Chairman, I                   mittee hearings, the regular order of                 making the system work.
                                                   thank the gentleman from Wisconsin                      taking testimony from governors and                     I think there are valuable aspects of
                                                   (Chairman SENSENBRENNER) for yield-                     legislators and local government offi-                this bill; not using certain ID for cer-
                                                   ing me time.                                            cials. But now the REAL ID Act is an                  tain Federal purposes, which may in
                                                     Mr. Chairman, this bill is the first                  attempt to breathe life into immigra-                 fact include travel. But the overbroad-
                                                   step back on the long road to real                      tion provisions that were stripped from               ness of this particular legislation, bar-
                                                   homeland security. First, this bill pre-                the Terrorism Reform and Prevention                   ring any laws to be utilized in the
                                                   vents terrorists and others from get-                   Act. These provisions were viewed as                  building of a fence, eliminating envi-
                                                   ting driver’s licenses by requiring ap-                 controversial then and they are no less               ronmental laws, work laws, criminal
                                                   plicants to prove that they are in the                  controversial now.                                    laws is overbroad.
                                                   country legally. Driver’s licenses can                     Opposition to this legislation at this               Lastly, I would say, we are the land
                                                   be used to board an aircraft, open a                                                                          of the free and the brave. We have al-
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                                                                                                           time is by no means a reflection on
                                                   bank account and get a job. To pre-                     anyone’s commitment to the war on                     ways welcomed those fleeing from per-
                                                   serve our security, we must deny ter-                   terrorism, but the REAL ID Act should                 secution. This legislation bars that op-
                                                   rorists the ability to obtain this form                 have been subjected to hearings and                   portunity, and I would ask my col-
                                                   of identification.                                      markups before being brought to this                  leagues to oppose it and for us to go
                                                     In addition, this legislation makes it                floor.                                                back to the drawing board and work for
                                                   harder for terrorists to exploit our asy-                                                                     freedom and the war against terrorism
                                                   lum system. It also requires the com-                                     b 1415                              in a bipartisan way.
                                                   pletion of the 14-mile San Diego border                   First of all, it is an unfunded man-                  Mr. Chairman, I reserve the balance
                                                   fence, which Congress approved in 1996.                 date of almost $500 million.                          of my time.



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                                                     Mr. SENSENBRENNER. Mr. Chair-                         job in 2006 as promised in landmark in-               terrorist-related offenses as those that
                                                   man, I yield 1 minute to the gentleman                  telligence reforms passed last year and               would prevent them from being admit-
                                                   from Ohio (Mr. CHABOT), the chairman                    endorsed by the 9/11 Commission. In-                  ted to the United States in the first
                                                   of the Subcommittee on the Constitu-                    stead, the President’s budget provides                place.
                                                   tion.                                                   funding for a mere 210 agents, a 90 per-                Another deficiency in current law is
                                                     Mr. CHABOT. Mr. Chairman, I rise in                   cent cut over the 9/11 Commission rec-                based on a flawed understanding of how
                                                   strong support of the REAL ID Act,                      ommendations.                                         terrorist organizations operate.
                                                   and I want to thank the distinguished                     The truth of the matter is that Re-                   The Immigration and Nationality
                                                   chairman of the Committee on the Ju-                    publicans are using national security                 Act now reads that if an alien provides
                                                   diciary, the gentleman from Wisconsin                   as a facade to alienate law-abiding,                  funding or other material support to a
                                                   (Mr. SENSENBRENNER), for his efforts in                 hard-working, and tax-paying immi-                    terrorist organization, the alien can es-
                                                   this matter. It is very important.                      grants. There are 8 million undocu-                   cape deportation if they can show that
                                                     This bill is about common sense. It is                mented immigrants in this country                     he did not know that the funds or sup-
                                                   about protecting our borders and mak-                   who are cleaning our offices, caring for              port would further the organization’s
                                                   ing our country safer. The 9/11 Commis-                 our children and elderly, and picking                 terrorist activity; i.e., his donation did
                                                   sion    report   revealed   many      dis-              the fruits and vegetables that we con-                not immediately go to buying explo-
                                                   concerting facts, none more unnerving                   sume. Most of these jobs most Ameri-                  sives.
                                                   than the fact that all but one of the 9/                cans do not want. Without these immi-                   As Kenneth McKune, former asso-
                                                   11 hijackers who were here temporarily                  grants, our economy would falter.                     ciate coordinator for Counterterrorism
                                                   obtained valid driver’s licenses, ena-                    What we should be doing is allowing                 at the State Department, explained,
                                                   bling them to travel freely about the                   immigrants a path to citizenship and                  ‘‘Given the purposes, organizational
                                                   country. That is absurd, and the Amer-                  access to driver’s licenses so they be-               structure, and clandestine nature of
                                                   ican people know it. This bill finally                  come a part of our American system.                   foreign terrorist organizations, it is
                                                   does something about that absurdity.                    This will make our country safer, and                 highly likely that any material sup-
                                                   We cannot continue to let our laws be                   it will strengthen our national secu-                 port to these organizations will ulti-
                                                   exploited and circumvented by future                    rity.                                                 mately inure to the benefit of their
                                                   terrorists to further their plans of vio-                 We need comprehensive reform that                   criminal, terrorist functions, regard-
                                                   lence, destruction, and murder. With                    supports our economy and values our                   less of whether such support was osten-
                                                   the REAL ID Act in place, we can bet-                   immigrants. If the REAL ID Act is                     sibly intended to support nonviolent,
                                                   ter prevent future tragic events from                   passed today, it will deny driver’s li-               nonterrorist activities.’’
                                                   occurring.                                              censes to those immigrants and slam                     Money given to terrorist organiza-
                                                     Mr. Chairman, I urge my colleagues                    the door shut on refugees seeking asy-                tions is fungible. Senator DIANE FEIN-
                                                   to pass this critical piece of legisla-                 lum from blood-thirsty regimes.                       STEIN has rightly stated that ‘‘I simply
                                                   tion.                                                     America is a country built by immi-
                                                                                                                                                                 do not accept that so-called humani-
                                                     Ms. JACKSON-LEE of Texas. Mr.                         grants, and we should remain a coun-
                                                                                                                                                                 tarian works by terrorist groups can be
                                                   Chairman, I am very pleased to yield 3                  try that is opening and welcoming to
                                                                                                                                                                 kept separate from their other oper-
                                                   minutes to the gentlewoman from Cali-                   those who seek freedom. It is a sad day
                                                                                                                                                                 ations. I think the money will ulti-
                                                   fornia (Ms. LINDA T. SÁNCHEZ), a distin-               when Republicans use the pretext of
                                                                                                                                                                 mately go to bombs and bullets rather
                                                   guished member of the House Com-                        national security to attack immigrants
                                                                                                                                                                 than babies, or, because money is fun-
                                                   mittee on the Judiciary.                                who pose no real threat to our security.
                                                                                                                                                                 gible, it will free up other funds to be
                                                     (Ms. LINDA T. SÁNCHEZ of Cali-                       Americans deserve better, and I urge
                                                                                                                                                                 used on terrorist activities.’’
                                                   fornia asked and was given permission                   my colleagues to vote ‘‘no’’ on H.R. 418.
                                                   to revise and extend her remarks.)                        Mr. SENSENBRENNER. Mr. Chair-                         The REAL ID Act is written so that
                                                     Ms. LINDA T. SÁNCHEZ of Cali-                        man, I yield 2 minutes to the gen-                    an alien who provides funds or other
                                                   fornia. Mr. Chairman, I am a proud                      tleman       from       Indiana      (Mr.             material support to a terrorist organi-
                                                   daughter of immigrants who is honored                   HOSTETTLER), the distinguished chair-                 zation would be deportable unless he
                                                   to serve my country. I consider it a                    man of the Subcommittee on Immigra-                   did not know and should not reason-
                                                   privilege to be able to give something                  tion.                                                 ably have known that the organization
                                                   back to this country that has given so                    Mr. HOSTETTLER. Mr. Chairman, I                     was a terrorist organization.
                                                   much opportunity to generations of                      rise in support of H.R. 418, the Real ID                Mr. Chairman, I urge the support and
                                                   immigrants over the years.                              Act.                                                  passage of H.R. 418.
                                                     Like millions of immigrants here                        The REAL ID Act incorporates four                     Ms. JACKSON-LEE of Texas. Mr.
                                                   today, my family came to this country                   of the 9/11 Commission recommenda-                    Chairman, it is my pleasure to yield 3
                                                   in search of the American Dream: a                      tions that are necessary to effectively               minutes to the distinguished gen-
                                                   better life for their children so that                  protect our constituents from terror-                 tleman from New York (Mr. NADLER), a
                                                   their children could receive a quality                  ists seeking to exploit loopholes in our              strong advocate for preserving the Con-
                                                   education, some day own a home, and                     immigration system. This bill will                    stitution.
                                                   earn a fair wage.                                       close several of those dangerous loop-                  Mr. NADLER. Mr. Chairman, the sup-
                                                     I stand before my colleagues today                    holes.                                                porters of this legislation are com-
                                                   angered and outraged that under the                       In addition to providing important                  pletely correct that obviously real ter-
                                                   guise of national security, the Repub-                  Federal security guidelines for driver’s              rorist threats exist and we must act
                                                   lican Party is trying to punish those                   licenses, the REAL ID Act also in-                    forcefully to safeguard our national se-
                                                   seeking the same dreams that my par-                    cludes other important homeland secu-                 curity. But this bill is really three or
                                                   ents sought. If the Republicans and                     rity measures, including the deport-                  four or five separate bills entirely,
                                                   this administration really want to                      ability of terrorists, preventing terror-             some of them unexceptional, some of
                                                   strengthen national security, they                      ists from gaming the asylum system,                   them very questionable.
                                                   should start, I would think, by pro-                    and implementing border security                        Under the excuse of national secu-
                                                   viding full funding for the Department                  measures in San Diego.                                rity, for example, the asylum provi-
                                                   of Homeland Security. Instead, the ad-                    Currently, the terrorists and their                 sions in this bill completely gut the
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                                                   ministration’s budget slashes funding                   supporters can be kept out of the                     possibility of many legitimate victims
                                                   for the COPS program by $480 million                    United States; but as soon as they set                of persecution to be granted asylum.
                                                   and guts funding for local firefighters                 foot into the U.S. on tourist visas, we               Asylum law is supposed to be about
                                                   by $215 million. This leaves our first re-              cannot deport them for many of the                    protecting      individuals,     including
                                                   sponders without the critical resources                 very same offenses. This hinders our                  women and children, from serious
                                                   they need.                                              ability to protect Americans from                     human rights abuses; it is not supposed
                                                     The administration’s budget also                      those alien terrorists who have infil-                to be about seizing on any possible
                                                   breaks the promise of putting an addi-                  trated the United States. H.R. 418                    basis to deny a claim or return people
                                                   tional 2,000 border patrol agents on the                makes aliens deportable for the same                  to persecution.



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                                                     Proponents of this bill have been                     ing about border security. Sixteen                    ranking minority member of the Sub-
                                                   making dramatic claims about terror-                    years ago, when I left this Chamber, we               committee on the Constitution of the
                                                   ists abusing the asylum system to get                   were speaking about border security;                  Committee on the Judiciary.
                                                   into this country to perform acts of                    and here we are again.                                   Mr. Chairman, how much time re-
                                                   terrorism. But since 9/11, in fact, since                  A fundamental aspect of national                   mains?
                                                   the 1996 act, most asylum-seekers are                   sovereignty is that a nation is able to                  The Acting CHAIRMAN (Mr. SIMP-
                                                   in jail while resolution of their cases                 control its own borders. The nature of                SON). The gentlewoman from Texas
                                                   are pending so they cannot pose a                       this requirement is of particular im-                 (Ms. JACKSON-LEE) has 51⁄2 minutes re-
                                                   threat. What this bill does is to change                portance in the post-9/11 environment                 maining. The gentleman from Wis-
                                                   the standards by which the judgment is                  in which we must all live. In years                   consin (Mr. SENSENBRENNER) has 8 min-
                                                   made as to whether they should get                      past, when those of us on the Sub-                    utes remaining.
                                                   asylum; but while it is being judged,                   committee on Immigration confronted                      Ms. JACKSON-LEE of Texas. Mr.
                                                   they are in jail. So this has nothing to                this challenge, there were traffickers                Chairman, I yield 11⁄2 minutes to the
                                                   do with alleviating a threat to this                    and human cargo and narcotics and the                 distinguished new member from the
                                                   country.                                                increasing problem of criminal gangs                  great State of Florida (Ms. WASSERMAN
                                                     For example, one provision would                      who profit from such enterprises.                     SCHULTZ).
                                                   change current law to require that the                                                                           Ms. WASSERMAN SCHULTZ. Mr.
                                                                                                           Today, however, we must deal with the
                                                   applicant prove that his or her race, re-                                                                     Chairman, the most troubling aspect of
                                                                                                           additional worry that these channels of
                                                   ligion, et cetera is a central reason in-                                                                     this bill is that related to asylum.
                                                                                                           illicit commerce may also include                        Today’s laws for seeking asylum are
                                                   stead of merely a major reason for the                  those who enter our country to kill in-
                                                   legitimate fear of persecution in order                                                                       the result of lessons learned after
                                                                                                           nocent Americans and the related con-                 World War II. After the war, America
                                                   to get asylum. This would force asylum                  cerns of weapons of mass destruction.
                                                   applicants to prove the state of mind of                                                                      reflected with shame on how this shin-
                                                                                                              The Real ID Act, introduced by the                 ing beacon of democracy and freedom
                                                   their persecutors. What is the central                  gentleman from Wisconsin (Chairman
                                                   reason of several different reasons? It                                                                       turned its back on 1,000 Jews who fled
                                                                                                           SENSENBRENNER), is an important step                  for their lives on the ship called the St.
                                                   makes it almost impossible to grant                     in meeting this challenge. In conjunc-
                                                   asylum.                                                                                                       Louis. We turned the St. Louis away,
                                                                                                           tion with the additional border patrol                not even allowing it to dock in Amer-
                                                     Now, this was not, and some of the                    positions authorized by this body at
                                                   points in the manager’s amendment                                                                             ica. It is estimated that over half of
                                                                                                           the close of the last Congress, H.R. 418              those refugees eventually died.
                                                   were not in the bill before us last year.               will remove the impediments to com-
                                                   No one has ever seen some of these pro-                                                                          Today, in Haiti, Cuba and other
                                                                                                           pleting the fence along the San Diego                 countries, thousands face death, reli-
                                                   visions until yesterday. This provision,
                                                                                                           corridor of our southern border.                      gious persecution, torture and property
                                                   at least, and I am gratified that the
                                                   Committee on Rules made the amend-                                       b 1430                               confiscation. This bill virtually closes
                                                   ment to be in order by me and the gen-                    I want to commend my predecessor                    the door to those who might seek asy-
                                                   tleman from Florida (Mr. MEEK) and                      in the Third Congressional District in                lum in America.
                                                   the gentlewoman from Texas (Ms.                                                                                  Let us not forget the lessons of his-
                                                                                                           California, Mr. Doug Ose, who worked
                                                   JACKSON-LEE) to strike this section of                                                                        tory. I urge my colleagues to keep the
                                                                                                           hard to remove the regulatory obsta-
                                                   the bill, and in order for it to be passed                                                                    doors open to those seeking justifiable
                                                                                                           cles to completion of the fence.
                                                   tomorrow so that the Committee on                         In today’s post-9/11 environment, it is             refuge.
                                                   the Judiciary can properly vet this bill                                                                         Regarding driver’s licenses, the 9/11
                                                                                                           one component in an integrated U.S.
                                                   or the asylum provisions can be prop-                                                                         tragedy has been referred to here on
                                                                                                           border security system. There is sim-
                                                   erly looked at and we can deal with it                                                                        this floor referencing the terrorists
                                                                                                           ply no excuse for the failure to com-
                                                   adequately.                                                                                                   who obtained driver’s licenses. Let me
                                                                                                           plete the remaining 31⁄2 miles of the se-
                                                     This section, in my judgment, would                                                                         remind my colleagues that this bill
                                                                                                           curity fence. The language offered by
                                                   subject hundreds, maybe thousands, of                                                                         would not affect that situation at all,
                                                                                                           our colleague from Wisconsin would
                                                   people to being tortured or abused or                                                                         as all of the terrorists were in this
                                                                                                           allow us to do so.
                                                   shot because of their race, color, reli-                                                                      country legally and could have ob-
                                                                                                             In our system of governance, the
                                                   gion, creed, or opposition to a dictato-                                                                      tained driver’s licenses regardless of
                                                                                                           United States Government and specifi-
                                                   rial regime back home, because it                                                                             this law.
                                                                                                           cally the Congress have given us what                    We should heed what Florida Gov-
                                                   would make it impossible for them to                    is tantamount to plenary jurisdiction
                                                   get asylum. I think when this House                                                                           ernor Jeb Bush said last year when he
                                                                                                           over immigration law. As a former at-                 was talking about driver’s licenses for
                                                   examines this carefully, and when the                   torney general in my State, I can make
                                                   committee examines this carefully, it                                                                         illegal immigrants. He said, ‘‘We
                                                                                                           the observation that in most areas of                 shouldn’t allow them to come into the
                                                   will come to that conclusion. Maybe we                  the law enforcement, the States and
                                                   out to change the asylum provisions,                                                                          country to begin with, but once they’re
                                                                                                           local governments have primary juris-                 here, what do you do? Do you basically
                                                   but we ought to do it after careful con-
                                                                                                           diction. That is not the case with im-                say that they are lepers to society,
                                                   sideration.
                                                     So I hope that this bill will not be                  migration enforcement. As a former                    that they do not exist?’’
                                                   passed in its current form, and that my                 President of the other party put it in a                 He concluded by saying, ‘‘A policy
                                                   amendment will be passed so that we                     different context, ‘‘The buck stops                   that ignores them is a policy of de-
                                                   can give proper consideration to some                   here.’’                                               nial.’’ I agree and I urge my colleagues
                                                   of these provisions that do not really                    Although I am a committed believer                  to vote against this bill.
                                                   aid the national security, but do gut                   in federalism, the nature of the task                    Mr. SENSENBRENNER. Mr. Chair-
                                                   protection for people who need those                    and the language of Article I, section 8,             man, I yield 1 minute to the gentleman
                                                   protections.                                            are clear. While this bill in no way pre-             from Indiana (Mr. PENCE).
                                                     Mr. SENSENBRENNER. Mr. Chair-                         empts State law with respect to the                      (Mr. PENCE asked and was given per-
                                                   man, I yield 2 minutes to the gen-                      issuance of driver’s licenses, it does en-            mission to revise and extend his re-
                                                   tleman from California (Mr. DANIEL E.                   tail a modest notion that the immigra-                marks.)
                                                                                                           tion laws enacted by this body ought to                  Mr. PENCE. Mr. Chairman, I rise in
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                                                   LUNGREN), our recently returned prodi-
                                                   gal son.                                                mean something.                                       strong support of the REAL ID Act and
                                                     (Mr. DANIEL E. LUNGREN of Cali-                         Ms. JACKSON-LEE of Texas. Mr.                       with a particular sense of gratitude to-
                                                   fornia asked and was given permission                   Chairman, I yield myself such time as                 ward the gentleman from Wisconsin
                                                   to revise and extend his remarks.)                      I may consume.                                        (Mr. SENSENBRENNER), who has dog-
                                                     Mr. DANIEL E. LUNGREN of Cali-                          Mr. Chairman, I am delighted that                   gedly brought this legislation to the
                                                   fornia. Mr. Chairman, I rise in support                 the gentleman from New York (Mr.                      Hill for one reason and one reason
                                                   of H.R. 418.                                            NADLER) has indicated that the amend-                 only.
                                                     Twenty-six years ago, when I first                    ment has been made in order, and I do                    9/11 is not theoretical for me. I was
                                                   came to this Chamber, we were speak-                    want to acknowledge that he is the                    here. I was on the Capitol grounds, and



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                                                   my family during the school year lives                    This multitiered fence, road building,              to our colleagues that this legislation
                                                   in the Washington D.C., area, and like                  cut and fill, shaving down of mountains               is legislation that relates and responds
                                                   millions of other families in New York                  will destroy, as I said, an environ-                  to the crisis in the war on terror. We
                                                   and Washington, D.C., was imperiled.                    mentally sensitive area, violate several              all are united in that war, but this is
                                                     As the 9/11 Commission Report stat-                   sections of the Coastal Act and destroy               an immigration bill, and I do believe
                                                   ed, ‘‘For terrorists, travel documents                  acres of sensitive habitat and wetlands               we should do immigration in a bipar-
                                                   are as important as weapons.’’ On page                  and coastline.                                        tisan manner.
                                                   390 of the report they point out that                     This sensitive habitat plays a vital                   Let me make it very clear, the 9/11
                                                   ‘‘All but one of the 9/11 hijackers ac-                 role in the sustainability of the bina-               terrorists would not have been thwart-
                                                   quired some form of U.S. identification                 tional ecosystem. Vote down this bill.                ed by this legislation. In fact, all 19 of
                                                   by fraud and that acquisition of these                    Mr. SENSENBRENNER. Mr. Chair-                       the 9/11 hijackers had documents to
                                                   forms of identification assisted them in                man, I yield 2 minutes to the gen-                    enter the country legally. And under
                                                   boarding commercial flights.’’                          tleman from Virginia (Mr. FORBES).                    this particular legislation, the terror-
                                                     By bringing this legislation today,                     Mr. FORBES. Mr. Chairman, I rise                    ists would not have been prevented
                                                   the gentleman from Wisconsin (Mr.                       today in support of the REAL ID Act,                  from using these documents to obtain
                                                   SENSENBRENNER) is making my family                      and I thank the chairman for his cour-                driver’s licenses.
                                                   safer in this post-9/11 America, and also               age and hard work on this vital meas-                    I think the real crux is as was quoted
                                                   closing asylum loopholes, strength-                     ure.                                                  in the words of Governor Jeb Bush,
                                                   ening our deportation laws. It is time                    Over a decade ago, the ability of                   ‘‘What do you do with them?’’ illegal
                                                   for Congress to get real and pass the                   Ramzi Yousef, the mastermind behind                   aliens who are working in our hotels
                                                   REAL ID Act and make our families                       the 1993 World Trade Center bombing                   and factories, who are working every
                                                   and our Nation safer.                                   to be granted asylum and to move free-
                                                     Ms. JACKSON-LEE of Texas. Mr.                                                                               day in our States and our cities and
                                                                                                           ly in the country should have signaled                our counties?
                                                   Chairman, I yield 2 minutes to the dis-                 that something was terribly wrong
                                                   tinguished gentleman from California                                                                             The last thing, Mr. Chairman: Do we
                                                                                                           with our system. It did not, and 8 years              remember Bosnia and Kosovo? These
                                                   (Mr. FILNER), who has been able to de-                  later, 19 terrorists collectively car-
                                                   termine the difference between immi-                                                                          were people seeking asylum. I think we
                                                                                                           rying a total of 63 valid U.S. driver’s li-           have to judge ourselves by reason and
                                                   gration laws and laws to fight ter-                     censes, boarded planes to finish
                                                   rorism; and also his district contains                                                                        reasonable policy. I join my colleagues
                                                                                                           Yousef’s work.                                        in working together to secure the
                                                   the discussed fence.                                      It is now over 3 years since that trag-
                                                     Mr. FILNER. Mr. Chairman, I thank                                                                           homeland, but in this instance, this
                                                                                                           ic September 11th. Today, we are con-
                                                   the gentleman from Wisconsin (Mr.                                                                             does not follow the 9/11 recommenda-
                                                                                                           sidering a vital piece of legislation to
                                                   SENSENBRENNER) and all of those on the                                                                        tions. This commission did, in fact, say
                                                                                                           address three key failures of current
                                                   Republican side who are so concerned                                                                          that they wanted secure documents,
                                                                                                           security policy. First, the REAL ID
                                                   about my district. I represent the Cali-                                                                      and identification should begin in the
                                                                                                           Act mandates standards to obtain driv-
                                                   fornia border between Mexico and the                                                                          United States. It did not document or
                                                                                                           er’s licenses; second, it tightens our
                                                   United States.                                                                                                indicate in which manner we should be
                                                     This so-called fence that you want to                 Nation’s asylum laws, which easily
                                                                                                                                                                 able to do that.
                                                   put in my district is really a giant pub-               allow suspected terrorists into our Na-
                                                                                                                                                                    I would have hoped that H.R. 620, the
                                                   lic works project that does enormous                    tion; and finally, it addresses the need
                                                                                                                                                                 Security Measures Feasibility Act,
                                                   harm. I wish you were equally con-                      to secure our borders.
                                                                                                             These concepts are not rocket                       which would ask the hard questions of
                                                   cerned about the 50 million gallons of                                                                        how and what is the best vehicle in
                                                   sewage that flows into my district that                 science. The need for these reforms has
                                                                                                           been reiterated over and over, and in                 order to be able to establish these se-
                                                   we should be treating. I wish you were                                                                        cure documents, would have been the
                                                   concerned about the legal border cross-                 expert testimony, in anecdotal evi-
                                                                                                           dence from security professionals, in                 better approach. Now we undermine
                                                   ings, that take four or five hours some                                                                       the States’ ability for safety and secu-
                                                   days. I wish you would be concerned                     scholarly research and in evidence pre-
                                                                                                           sented from our Nation’s justice and                  rity in their own States, and we under-
                                                   about my local health facilities who                                                                          mine the very principles of this Nation,
                                                   treat the undocumented and refund                       military personnel. But the fact of the
                                                                                                           matter is, the most compelling reason                 which are to open the doors for those
                                                   those dollars.                                                                                                fleeing persecution both in terms of re-
                                                     But, no, you want to put a public                     to pass this bill is just plain old com-
                                                                                                           mon sense.                                            ligious and political persecution.
                                                   works project in that waives all exist-                                                                          What about the Cubans? What about
                                                   ing environmental laws necessary to                       We can not repeat enough what the
                                                                                                           9/11 Commission said: ‘‘For terrorists,               the Haitians, the Liberians, the Suda-
                                                   ensure the construction of roads, bar-                                                                        nese, the Bosnians? What about those
                                                   riers, cut and fills, taking down moun-                 travel documents are as important as
                                                                                                           weapons.’’ They are right. They also                  fleeing, as my colleague has indicated,
                                                   tains. This would result in an enor-                                                                          our Jewish individuals who were flee-
                                                   mous waste of millions of Federal and                   said, ‘‘It is elemental to border secu-
                                                                                                           rity to know who is coming into the                   ing persecution? I simply say that we
                                                   State dollars that have already been
                                                                                                           country.’’                                            have a better way of doing this. I wish
                                                   contributed to restore and protect this
                                                                                                             Today, more than 9 million people                   we could do it together.
                                                   area in San Diego, its historical, its
                                                                                                           have entered the United States outside                   I hope my colleagues will oppose this
                                                   cultural, its environmental resources.
                                                     Ironically,    the    United   Nations                the legal immigration system. The se-                 bill so we might do this effort in a bi-
                                                   Ramsar Convention recently bestowed                     curity chain protecting America is                    partisan manner.
                                                   the prestigious label of ‘‘Wetlands of                  only as good as its weakest link. It                     Mr. Chairman, I rise in opposition to H.R.
                                                   International Importance’’ on this                      does not take a congressman or a na-                  418, the REAL ID Act. The REAL ID Act is an
                                                   2,500-acre national wildlife refuge and                 tional security expert to tell you this.              attempt to breathe life into immigration provi-
                                                   state park that you are going to de-                    Most Americans know that despite the                  sions that were stripped from the Intelligence
                                                   stroy.                                                  rhetoric we hear against this bill, as                Reform and Terrorism Prevention Act. These
                                                     Now, we know we have to have border                   long as we ignore the need for border                 provisions were viewed as controversial then,
                                                   security. We live right there. You                      security, we place them and their fami-               and they are no less controversial now. The
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                                                   think we want to be overrun with ter-                   lies at risk.                                         REAL ID Act should have been subjected to
                                                   rorists? We know what it takes. We                        I strongly urge my colleagues to vote               hearings and markups before being brought to
                                                   know what a smart border is. And what                   in favor of the REAL ID Act.                          the floor.
                                                   you are suggesting is not a smart bor-                    Ms. JACKSON-LEE of Texas. Mr.                          The supporters of the H.R. 418 are afraid
                                                   der. For a minimal security benefit and                 Chairman, I yield myself the balance of               that terrorists are using our asylum laws as a
                                                   maximum dollars spent, you will do ir-                  my time.                                              means of entering and remaining in the United
                                                   reparable damage to areas along the                       Mr. Chairman, we are on the floor                   States. This fear has to be put into perspec-
                                                   western portion of the U.S.-Mexico bor-                 today because the representation has                  tive. Terrorists are statutorily barred from asy-
                                                   der.                                                    been made to the American people and                  lum eligibility, and it is not apparent why they



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                                                   would choose such a complicated, time con-              deported as a terrorist. The broad net this           study of the consequences that would result
                                                   suming method for entering and remaining in             would create would ensnare innocent people            from forcing millions of undocumented aliens
                                                   the United States in any event.                         who have made donations or been involved in           to drive without drivers’ licenses.
                                                      The 9/11 hijackers entered and remained in           some other way with organizations they did               Sheriff Timothy Bukowski of Kankakee, Illi-
                                                   the United States as nonimmigrant visitors.             not know were terrorist organizations. The de-        nois, has made an important observation on
                                                   Visitors’ visas only require a two-minute inter-        fense to removal on that basis would be to            this matter. According to Sheriff Bukowski, the
                                                   view with an American Consulate Officer. The            demonstrate by clear and convincing evidence          issuance of drivers’ licenses is a safety issue,
                                                   applicant just has to establish that he will re-        that you did not know, and should not reason-         not an immigration issue. I agree with Sheriff
                                                   turn to his country at the end of the authorized        ably have known, that the organization was a          Bukowski, a driver’s license is more than just
                                                   period of stay. This is much easier than the            terrorist organization. This can be an impos-         a privilege to the driver, it also is a device that
                                                   steps required for obtaining asylum, which,             sible burden to meet. For instance, how would         the States use to make our highways safer.
                                                   among other things, require the applicant to            you prove by clear and convincing evidence               Austin Assistant Chief of Police Rudy
                                                   establish a well-founded fear of persecution on         that you did not notice a person who entered          Landerso explains it this way. ‘‘[W]e strongly
                                                   account of race, religion, nationality, member-         this room 5 minutes ago?                              believe it would be in the public interest to
                                                   ship in a particular social group, or political            The REAL ID Act also includes sections on          make available to these communities the abil-
                                                   opinion.                                                security measures for drivers’ licenses and           ity to obtain a driver’s license. In allowing this
                                                      The Intelligence Reform and Terrorism Pre-           identification cards. We have already enacted         community the opportunity to obtain driver’s li-
                                                   vention Act established a study to find out the         legislation to improve security measures for          censes, they will have to study our laws and
                                                   extent to which terrorists are attempting to use        drivers’ licenses and identification cards. The       pass a driver’s test that will make them not
                                                   our asylum laws to enter and remain in the              Intelligence Reform and Terrorism Prevention          only informed drivers but safe drivers.’’ I would
                                                   United States and what weaknesses they are              Act we just enacted requires the Secretary of         just add that it also requires them to have in-
                                                   exploiting. We need to wait for that information        Transportation, in consultation with the Sec-         surance.
                                                   before we consider any bills on revising our            retary of Homeland Security, to promulgate               The REAL ID Act contains a provision that
                                                   asylum laws. Changes should be designed to              regulations establishing minimum standards            would provide the Secretary of Homeland Se-
                                                   deal specifically with weaknesses that we               for driver’s licenses or personal identification      curity with authority to waive all laws he
                                                   know are being exploited.                               cards issued by a State for use by Federal            deems necessary for the expeditious construc-
                                                      The approach in the REAL ID Act is to raise          agencies for identification purposes. Before          tion of the barriers authorized to be con-
                                                   the bar on the burden of proof, which would             being published as proposed regulations, the          structed by section 102 of the Illegal Immigra-
                                                   result in a denial of relief to bona fide asylum        standards would be subjected to a negotiated          tion Reform and Immigration Responsibility
                                                   seekers without any assurance that the                  rule making committee that would include the          Act of 1996, IIRIRA. To my knowledge, a
                                                   changes would discourage terrorists from                affected stakeholders such as State elected           waiver this broad is unprecedented. It would
                                                   seeking asylum. For instance, in addition to            officials and State motor vehicle departments.        waive all laws, including laws protecting civil
                                                   showing that the alleged persecution would be           The recommendations of this committee are             rights; laws protecting the health and safety of
                                                   ‘‘on account of’’ one of the enumerated                 required to include an assessment of the ben-         workers; laws, such as the Davis-Bacon Act,
                                                   grounds, the applicant would have to establish          efits and the costs of the measures in the pro-       which are intended to ensure that construction
                                                   that the persecution was or will be ‘‘a central         posed regulations.                                    workers on federally-funded projects are paid
                                                   reason for persecuting the applicant.’’ In ef-             In contrast, the REAL ID Act would impose          the prevailing wage; environmental laws; and
                                                   fect, the asylum applicant would have to es-            specific requirements on the States now, with-        laws respecting sacred burial grounds. It so
                                                   tablish what was in the mind of the persecutor.         out giving the States and the other stake-            broad that it would not just apply to the San
                                                   It is not apparent how this would discourage            holders an opportunity to provide input on            Diego border fence that is the underlying rea-
                                                   terrorists from fabricating asylum claims. The          what these requirements should be, and with-          son for this provision. It would apply any other
                                                   only certainty is that it would make it more dif-       out an assessment of the benefits and costs           barrier or fence that may come about in the
                                                   ficult for bona fide asylum seekers to meet             of the measures. If the security measures             future. At the very least, we should have a
                                                   their burden of proof. The unfairness of this           were to prove to be impossible or too costly to       hearing to consider the consequences of such
                                                   approach is illustrated by a comment that the           implement, it would require an act of Congress        a drastic waiver.
                                                   Honorable Sandra Day O’Connor made re-                  to change them.                                          I am concerned also by the piecemeal ap-
                                                   cently about the asylum laws of our country.               Before we can address the merits of the se-        proach that the REAL ID Act is taking to immi-
                                                   She said:                                               curity measures that would be required by the         gration reform. We need comprehensive immi-
                                                     The United States offers protection in the            REAL ID Act, we need answers to the fol-              gration reform, not fixes for a few specific
                                                   form of asylum to individuals fleeing perse-            lowing questions. (1) Are the States capable          problems. This view is shared by our col-
                                                   cution in other nations. In most cases, how-            of establishing and implementing the security         leagues on the Senate side. Senator JOHN
                                                   ever, asylum seekers find themselves alone,             measures Mr. SENSENBRENNER is proposing?
                                                   destitute and facing deportation. Asylum
                                                                                                                                                                 MCCAIN has expressed the need to have com-
                                                   law is governed by a labyrinth of statutes,
                                                                                                           For instance, his bill calls for two categories of    prehensive immigration reform. I have heard
                                                   regulations, and case law, but, unlike crimi-           drivers’ licenses, one for citizens and perma-        that he will be working on comprehensive im-
                                                   nal defendants, only those asylum seekers               nent residents and another for aliens who             migration legislation with Senator EDWARD
                                                   who can afford to hire an attorney or who               have nonimmigrant status. The licenses for            KENNEDY. We can do the same thing in the
                                                   are fortunate enough to secure pro bono                 nonimmigrants would be tied to periods of law-        House of Representatives. I invite my col-
                                                   counsel are represented.                                ful status and extensions of the status. Can          leagues who are supporting the REAL ID Act
                                                      The REAL ID Act would codify the stand-              the State motor vehicle departments handle            to work with me on comprehensive immigra-
                                                   ards that adjudicators use in making credibility        this increased work load? Will the States be          tion reform. In the meantime, however, pas-
                                                   findings in asylum proceedings. The codifica-           able to provide the training needed to evaluate       sage of this piece-meal, ill-advised bill would
                                                   tion would encourage adverse credibility find-          the many immigration documents that reflect           be a step backwards. I urge you to vote
                                                   ings against asylum applicants who cannot               lawful nonimmigrant status? (2) How much              against it.
                                                   produce corroborating evidence of their ac-             would it cost to establish, implement, and               The Acting CHAIRMAN. The time of
                                                   count, or whose demeanor is inconsistent with           maintain these security measures? We do not           the gentlewoman from Texas (Ms.
                                                   an immigration judge’s preconceived expecta-            have unlimited resources. We cannot evaluate          JACKSON-LEE) has expired.
                                                   tions. This can be very unfair. People fleeing          whether these safety measures are worth                  Mr. SENSENBRENNER. Mr. Chair-
                                                   persecution often lack the opportunity and the          what they would cost unless we know what              man, I yield 2 minutes to the gen-
                                                   ability to secure the legal evidence needed to          they would cost. (3) How long would it take to        tleman from Iowa (Mr. KING).
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                                                   corroborate their claims, and demeanor is a             establish and implement these security meas-             Mr. KING of Iowa. Mr. Chairman, I
                                                   function in some cases of cultural background           ures? I have introduced a bill that would es-         thank the chairman for yielding me
                                                   rather than credibility. For instance, it is con-       tablish a study to find the answers to these          time. I thank the chairman for leading
                                                   sidered rude in some cultures to stare into an-         questions, ‘‘The Security Measures Feasibility        on this most important issue.
                                                   other person’s eyes during a conversation, but          Act.’’                                                   On September 11, our Nation suffered
                                                   the failure to look someone in the eyes indi-              The REAL ID Act also would restrict the            the most horrible attack ever on Amer-
                                                   cates deception in this country.                        privilege of obtaining a driver’s license to          ican soil at the hands of those with a
                                                      The REAL ID Act also would expand the                aliens who have lawful status. My Security            deep-seated, enduring hatred for free-
                                                   categories of people who can be excluded or             Measures Feasibility Act would establish a            dom. Since that day, we have made



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                                                   great strides in improving our Nation’s                 porary visa will have their driver’s li-                 The Acting CHAIRMAN. All time for
                                                   security, but several gaps leave our Na-                cense expire as to the date of their                  debate by this committee has expired.
                                                   tion vulnerable to attacks, just like                   visa.                                                 For what purpose does the gentle-
                                                   those we suffered that day.                               Now, Mohammed Atta, who is the                      woman from Texas rise?
                                                     The REAL ID bill would close loop-                    ring leader of 9/11 murderers, entered                   Ms. JACKSON-LEE of Texas. Mr.
                                                   holes and make Americans more se-                       the United States on a 6-month visa.                  Chairman, do I have time for a unani-
                                                   cure. The situation in California where                 That visa expired on July 9, 2001. He                 mous consent request?
                                                   a State environmental commission is                     got a driver’s license from the State of                 The Acting CHAIRMAN. The gentle-
                                                   blocking a national security barrier                    Florida on May 5, 2001. That was a 6-                 woman may make a unanimous con-
                                                   from being finished must be remedied.                   year driver’s license. Had this bill been             sent request.
                                                   A 3-mile gap remains in a fence which                   in effect at the time, that driver’s li-                 Ms. JACKSON-LEE of Texas. Mr.
                                                   would prevent people from crossing                      cense would have expired on July 9,                   Chairman, I yield to the gentlewoman
                                                   over our southern border in an area                     and he would not have been able to use                from California (Ms. SOLIS) for a unani-
                                                   that is home to a military base. Half a                 that driver’s license to get on a plane               mous consent request.
                                                   million people are caught there each                    because it was an expired ID. Read the                   (Ms. SOLIS asked and was given per-
                                                   year trying to get across, and that does                bill.                                                 mission to revise and extend her re-
                                                   not include those who get on through.                     Secondly, relative to the asylum                    marks.)
                                                   They are their own environmental                        issue, what this bill does is two things.                Ms. SOLIS. Mr. Chairman, I would
                                                   problem as well.                                        First of all, it says the burden of proof             simply like to submit my statement
                                                     The REAL ID bill would give the Sec-                  is on the applicant for asylum to prove               for the RECORD on this particular issue
                                                   retary of Homeland Security the au-                     that they qualify. What is wrong with                 in opposition to the REAL ID Act.
                                                   thority he needs to ensure that our na-                 that? The burden of proof is on any-                     Mr. Chairman, I rise today in strong opposi-
                                                   tional security is not compromised for                  body who is the plaintiff or an appli-                tion of the REAL ID Act. H.R. 418 is mean-
                                                   dubious environmental concerns.                         cant in any type of proceeding. They                  spirited legislation that threatens our national
                                                     Our asylum system presently wel-                      have got to prove that they are enti-                 security by depriving law enforcement officials
                                                   comes fraud by those who seek to do                     tled to the relief that they are request-             of critical information on many adults who are
                                                   our Nation harm. The REAL ID bill                       ing, and I will just read from page 3 of              physically present in the United States. The
                                                   would allow our immigration judges to                   the bill.                                             driver’s license REAL ID Act will also impose
                                                   use common sense to protect Ameri-                        In General. The burden of proof is on               additional requirements on states, without pro-
                                                   cans while still providing a safe harbor                the applicant to establish that the ap-               viding funding, and interfere with what is inher-
                                                   for those who truly need refuge in our                  plicant is a refugee, within the mean-                ently a state responsibility. The REAL ID Act
                                                   country.                                                ing of the law. To establish that the                 will also raise insurmountable hurdles for refu-
                                                     It is outrageous that we can keep                     applicant is a refugee, the applicant                 gees seeking asylum.
                                                   people out of this country based upon                   must establish that race, religion, na-                  This bill will negatively affect women refu-
                                                   terrorist links, but the minute they are                tionality or membership in a particular               gees seeking asylum from honor killings, rape
                                                   in this country, we cannot deport                       social group or political opinion was or              and sex trafficking, since most women cannot
                                                   them. The REAL ID bill would fix this                   will be the central reason for perse-                 provide direct proof of torture. I do not under-
                                                   problem, which poses a great danger to                  cuting the applicant.                                 stand how supporters of this bill can turn their
                                                   our citizens.                                             So nobody, nobody who falls under                   backs on victims of sex trafficking in the name
                                                     Perhaps most importantly, our Na-                     that definition will be denied asylum                 of protecting homeland security.
                                                   tion’s security will remain at risk so                  under this bill.                                         Finally, I am particularly disappointed that
                                                   long as we give validity to those who                     Secondly, it says that in sustaining                the authors of this bill have ignored real secu-
                                                   are in our Nation illegally in the form                 the burden, it allows the trier of fact,              rity threats. Like the need to upgrade the safe-
                                                   of State driver’s licenses and other                    the immigration judge in this case, to                ty of our chemical and nuclear plants. Instead
                                                   ID’s. Driver’s licenses in our country                  determine the credibility of the wit-                 they have introduced a sweeping new law that
                                                   are de facto ID cards. They allow peo-                  nesses. Now, the trier of the fact,                   allows the Department of Homeland Security
                                                   ple to blend in, move freely, rent apart-               whether it is a judge or a jury in any                to unilaterally strip away civil rights, labor,
                                                   ments, go to work, board airplanes. If                  other legal proceeding, bases deter-                  health and environmental laws to build a bor-
                                                   States do not require some valid form                   minations on the credibility of the wit-              der fence. This will be done without any re-
                                                   of U.S. Government-issued ID to get a                   nesses as to what verdict is reached.                 course for the average American citizen im-
                                                   driver’s license, any person could walk                 Without this bill, a person can come                  pacted by the construction. This doesn’t make
                                                   in off the street and claim to be a legal               before an immigration judge, be deter-                our country safer, it just takes away the lib-
                                                   alien in search of a license, and be                    mined by that judge that they are                     erties that make America a model for the
                                                   granted one.                                            lying through their teeth, and still get              world.
                                                     To say that this is not an issue of na-               asylum. That is just flat out wrong,                     I strongly urge all Members to vote ‘‘no’’ on
                                                   tional security is beyond the limits of                 and it is a distortion of the type of ju-             H.R. 418.
                                                   reasonability. The REAL ID bill would                   risprudence that we have had where                       The Acting CHAIRMAN. The gen-
                                                   ensure those to whom we issue govern-                   court proceedings are supposed to de-                 tleman from Virginia (Mr. TOM DAVIS)
                                                   ment IDs and driver’s licenses are in                   termine exactly what the truth is.                    and the gentlewoman from the District
                                                   the U.S. legally and make it more like-                   There is no one who is lying through                of Columbia (Ms. NORTON) each will
                                                   ly that those to whom we issue ID’s do                  their teeth that should be able to get                control 20 minutes of debate from the
                                                   not intend to harm Americans. We                        relief from the courts, and I would just              Committee on Government Reform.
                                                   must close these loopholes.                             point out that this bill would give im-                  The Chair recognizes the gentleman
                                                     I thank the chairman and I ask the                    migration judges the tool to get at the               from Virginia (Mr. TOM DAVIS).
                                                   Congress to act.                                        Blind Sheik who wanted to blow up                        Mr. TOM DAVIS of Virginia. Mr.
                                                                                                           landmarks in New York, the man who                    Chairman, I yield myself such time as
                                                                    b 1445                                 plotted and executed the bombing of                   I may consume.
                                                     Mr. SENSENBRENNER. Mr. Chair-                         the World Trade Center in New York,                      I rise today in support of H.R. 418. I
                                                   man, I yield myself the balance of the                  the man who shot up the entrance to                   want to thank my colleague from Wis-
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                                                   time.                                                   the CIA headquarters in northern Vir-                 consin for his leadership and tireless
                                                     Mr. Chairman, several speakers on                     ginia, and the man who shot up the El                 efforts to secure our Nation’s borders.
                                                   the other side said that if this bill was               Al counter at Los Angeles Inter-                         Last year, the Congress passed the
                                                   law at the time of 9/11, it would not                   national Airport. Every one of these                  Intelligence Reform and Terrorism
                                                   have made any difference on what ID                     non-9/11 terrorists who tried to kill or              Prevention Act, enacting into law
                                                   the terrorists used to get on the planes.               did kill honest, law-abiding Americans                many of the recommendations made by
                                                   That is flat out wrong.                                 was an asylum applicant. We ought to                  the 9/11 Commission.
                                                     What the bill say is that anyone who                  give our judges the opportunity to tell                  Unfortunately, not all of the rec-
                                                   is admitted to this country on a tem-                   these people no and to pass the bill.                 ommendations were included in the



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                                                   first round of legislation, which is why                standards for Federal acceptance of                   of H.R. 418. Simply stated, the bill im-
                                                   we are here today. The gentleman from                   driver’s licenses and state-issued per-               poses costly new requirements on
                                                   Wisconsin (Chairman SENSENBRENNER)                      sonal identification cards. The legisla-              States that simply cannot be achieved
                                                   and I committed to working together                     tion would provide 3 years for States to              in 3 years allotted by the bill; and
                                                   to make sure that one of the first or-                  come into compliance with these                       while States may attempt to comply,
                                                   ders of business considered by the                      standards if their driver’s licenses are              the bill’s unreasonable deadlines and
                                                   House in the 109th Congress would be                    to be recognized for Federal Govern-                  inadequate funding will create confu-
                                                   to address some of the recommenda-                      ment purposes and their documents as                  sion and frustrate the public.
                                                   tions in our jurisdictions that the Con-                proof of an individual’s identity.                      Congress previously recognized that
                                                   gress failed to address last year.                        As the 9/11 Commission concluded,                   States should play an integral role in
                                                     I want to use my time today to dis-                   fraud in identity documents is no                     implementing new driver’s license
                                                   cuss the provisions contained in H.R.                   longer just a problem of theft. As we                 standards. That is why the 9/11 legisla-
                                                   418 that fall within the jurisdiction of                continue to strengthen our intelligence               tion that we passed just 2 months ago
                                                   the Committee on Government Reform                      function to better identify and track                 directed the Department of Homeland
                                                   which I chair: security measures for                    terrorists, those individuals will be                 Security to consult with the States
                                                   Federal acceptance of state-issued                      forced to find ways to conceal their                  first and then issue appropriate regula-
                                                   driver’s licenses and personal identi-                  identity in order to avoid detection.                 tions. H.R. 418 repeals this sound regu-
                                                   fication cards, commonly referred to as                   We know that the 9/11 hijackers used                latory approach and leaves the States
                                                   identity security.                                      the United States as their staging area               without a voice.
                                                     Last year’s 9/11 Commission report                    for training and preparation in the                     One of the biggest problem areas is
                                                   identified a number of gaps and weak-                   year prior to the attacks, traveling                  that the bill requires State depart-
                                                   nesses in our Nation’s intelligence and                 into and out of and around the country                ments of motor vehicles to verify the
                                                   homeland security systems, providing                    with little fear of capture. In fact, sev-            issuance, validity, and completeness of
                                                   recommendations for Congress to con-                    eral of the hijackers lived less than 15              birth certificates with issuing agen-
                                                   sider in fixing these problems. One of                  miles away from this building while                   cies. Currently, birth certificates are
                                                   the most pressing recommendations                       making final preparations for their at-               not issued or maintained in a uniform
                                                   proposed by the commission and one                      tack. We are dedicated to making sure                 manner. States, counties, cities and lo-
                                                   that fell within the jurisdiction of the                we do not provide such a hospitable en-               calities all across the country issue
                                                   Committee on Government Reform ap-                      vironment in the future.                              birth certificates. In fact, experts esti-
                                                   pears on page 390 of the 9/11 Commis-                     As chairman of the committee that                   mate that up to 14,000 jurisdictions
                                                   sion report. It is the following:                       oversees federalism issues, I am mind-                within the United States currently
                                                     Secure identification should begin in the             ful of concerns about the Federal Gov-                issue birth certificates. Many of these
                                                   United States. The Federal Government                   ernment imposing burdens on States,                   jurisdictions do not have automated
                                                   should set standards for the issuance of birth          so-called unfunded mandates. My re-                   records but keep paper copies at the
                                                   certificates and sources of identification,             sponse is threefold. One is that this is              local courthouse. Even if they were to
                                                   such as driver’s licenses. Fraud in identity            a national security issue that requires               begin automated records of new births,
                                                   documents is no longer just a problem of
                                                   theft. At many entry points to vulnerable fa-
                                                                                                           a unified national response rather than               they would still need to automate mil-
                                                   cilities, including gates for boarding air-             50 separate responses. Secondly, the                  lions of preexisting birth certificates.
                                                   craft, sources of identification are the last           legislation authorizes grants to States                 H.R. 418 also requires States to verify
                                                   opportunity to ensure that people are who               to conform to the minimum standards                   the issuance, validity and complete-
                                                   they say they are and to check whether they             set forth in the act. Third, I am con-                ness of various other documents with
                                                   are terrorists.                                         fident that these minimum standards                   various Federal agencies that do not
                                                     For terrorists, travel documents are                  will not be a heavy lift for a majority               yet have fully automated systems in
                                                   as important as weapons. The 9/11 hi-                   of the States in our Nation. It is the                place.
                                                   jackers relied on a wide variety of                     handful of States that continue to have                 These requirements will be expensive
                                                   fraudulent documents. We know that                      lax security standards more than 3                    and time-consuming. Ultimately the
                                                   the 19 hijackers held 63 driver’s li-                   years after 9/11 that may have the most               databases will be built that will allow
                                                   censes or ID cards.                                     work to do.                                           States to conduct rapid verification of
                                                     Based upon guidelines proposed by                       It is crucial that we do everything we              these birth certificates and other docu-
                                                   State motor vehicle administrators                      can to enhance the security of the                    ments; but in most States and local-
                                                   and adopted by a number of States                       American people, and this important                   ities, they do not currently exist, and
                                                   throughout the country, our com-                        legislation takes a significant step in               the experts say it will take a whole lot
                                                   mittee worked with other interested                     frustrating terrorists’ attempts to in-               longer than 3 years to create them.
                                                   stakeholders to craft legislation that                  tegrate into our society. I urge my col-                That is why the bill is opposed by the
                                                   would establish minimum standards to                    leagues to support H.R. 418 and                       States. It is opposed by the National
                                                   be accepted of state-issued identifica-                 strengthen identity security.                         Governors Association, the National
                                                   tion that could be used for Federal pur-                  Mr. Chairman, I reserve the balance                 Conference of State Legislatures and
                                                   poses. These important provisions were                  of my time.                                           even the DMV trade association, the
                                                   overwhelmingly passed by the House as                     Ms. NORTON. Mr. Chairman, I will                    American Association of Motor Vehicle
                                                   part of H.R. 10 and heralded by the 9/11                be managing this bill; but before my                  Administrators.
                                                   victims’ families.                                      opening remarks, I yield such time as                   The best timeline estimate from
                                                     Unfortunately, the House-passed pro-                  he may consume to the gentleman                       State DMVs is that will take 10 to 12
                                                   visions critical to strengthening iden-                 from California (Mr. WAXMAN), and we                  years for all of the required automa-
                                                   tity security were dropped from the                     are fortunate that the ranking member                 tion to occur. Yet H.R. 418 requires
                                                   bill in conference. Instead, language                   of the full committee has come on to                  verification within just 3 years.
                                                   was included that would set up a gen-                   the floor.                                              In the meantime, what will happen?
                                                   eral framework for a Federal role in                      Mr. WAXMAN. Mr. Chairman, I                         States will not be able to issue same-
                                                   this area, but the language was filled                  thank my colleague for yielding time                  day driver’s licenses, the public will be
                                                                                                           to me.                                                frustrated, and homeland security will
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                                                   with so many loopholes and opt-out
                                                   clauses for States that it really only                    I rise today to raise serious concerns              not be advanced.
                                                   made matters worse.                                     with some of the provisions in H.R. 418                 In addition to the unworkable nature
                                                     We find ourselves here today to cor-                  that have not been thoroughly consid-                 of the driver’s license provisions in this
                                                   rect these mistakes and to again enact                  ered, in large part because the bill was              bill, I want to raise my deep concern
                                                   meaningful reform. H.R. 418 provides                    not considered by our committee.                      about section 102 of this legislation.
                                                   the Congress with this opportunity.                       No matter what our views are on im-                 This section provides the Secretary of
                                                     Our approach is very straight-                        migration, States’ rights or a national               Homeland Security the authority to
                                                   forward. Our legislation would set                      ID, my colleagues should carefully re-                waive any law for the purposes of
                                                   forth minimum document and issuance                     view the driver’s license requirements                building immigration barriers along



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                                                   the border. I do not understand why we                     This legislation also closes a loop-               thought that the other side of the aisle
                                                   need to provide the administration                      hole which has allowed illegal aliens to              extols federalism all the time; yes,
                                                   with unilateral authority to waive                      get access to our driver’s licenses. Our              even in hard times; and, yes, even when
                                                   labor laws, State and local laws, envi-                 message on this issue is clear: if you                you are dealing with hard issues like
                                                   ronmental laws, tax codes and criminal                  are not in this country legally, then                 terrorism.
                                                   laws.                                                   you will not be given legal sanctions on                So what is happening now? The Se-
                                                                     b 1500                                our roads. If you are in America on a                 lect Committee on Homeland Security,
                                                                                                           visa, you will be issued a driver’s li-               and I am on the committee, is estab-
                                                      This does not apply just in San                      cense; but it will expire on the same                 lishing a committee that includes
                                                   Diego. It applies throughout the Na-                    day as your visa.                                     State officials, representatives of State
                                                   tion.                                                      Muhammed Atta, as has been said,                   driver’s license agencies, and of course
                                                      I am sad to say this bill presents a                 came to America on a 6-month visa,                    officials from the Department of Home-
                                                   dangerous new precedent. The Federal                    but he was issued a 6-year Florida driv-              land Security so that the Federal Gov-
                                                   Government has never before had uni-                    er’s license. I struggled with this issue,            ernment is at the table big foot, big
                                                   lateral authority to waive child labor                  as the chairman had said. In my former                time, not to worry, we are covered, we
                                                   laws, civil rights laws, and environ-                   role as the Secretary of State in Michi-              are final here. So why shut the States
                                                   mental laws. For Republican Members                     gan, where I served as the chief motor                out all together? Why not listen to the
                                                   who want to rein in the unchecked au-                   vehicle administrator, I was forced to                9/11 Commission and say let us try to
                                                   thority of the Federal Government,                      issue drivers’ licenses to illegal aliens.            reconcile as much as this before we fly
                                                   they might want to carefully examine                    Unfortunately, Michigan is one of the                 off the handle?
                                                   this provision, which expands it enor-                  States that continues this practice. It                 The issue is not about what to do.
                                                   mously. I urge my colleagues to oppose                  has become a State of choice for                      Let us concede, Mr. Chairman, straight
                                                   the legislation.                                        illegals to obtain a license. We must                 up that something must be done. That
                                                      Mr. TOM DAVIS of Virginia. Mr.                       stop this practice.                                   is the procedure provided for in the 9/11
                                                   Chairman, I yield 2 minutes to the dis-                    I urge my colleagues to support the                bill passed just 2 months ago. We must
                                                   tinguished gentlewoman from Michi-                      bill.                                                 do something. What to do; how to do it.
                                                   gan (Mrs. MILLER), a former Secretary                      Ms. NORTON. Mr. Chairman, I yield                  The bill lays out how to do it. By Sep-
                                                   of State of the State of Michigan,                      myself such time as I may consume,                    tember 2005, this committee, under the
                                                   which issues driver’s licenses in Michi-                and I sympathize with the gentle-                     aegis of the Department of Homeland
                                                   gan, and someone who has been very                      woman from Michigan that she cannot                   Security, will provide recommenda-
                                                   helpful in crafting this bill.                          get her State to do what she believes is              tions, a detailed assessment of the
                                                      Mrs. MILLER of Michigan. Mr.                         the right thing for her State to do. I
                                                                                                                                                                 costs and the benefits of its proposals.
                                                   Chairman, I thank the gentleman from                    caution those from the States that the                  By June 2006, a proposed regulation
                                                   Virginia for yielding me this time, and                 Federal Government is not the place to                based on the committee’s recommenda-
                                                   I rise today in very, very strong sup-                  get the States to take appropriate ac-                tions, with such changes as should
                                                   port of the identification reforms that                 tion. Watch out when you open up that                 occur by December 2006, the Federal
                                                   are in this legislation. These reforms,                 can of worms.                                         agencies will accept only new licenses
                                                   in my opinion, are extremely necessary                     Mr. Chairman, the ink is not just
                                                                                                                                                                 that conform with these minimum
                                                   to help us better protect our identity                  damp; it is wet on perhaps the most
                                                                                                                                                                 standards.
                                                   documents and to secure our borders.                    important legislation we passed in the
                                                                                                                                                                   What is wrong with that procedure?
                                                      This legislation will help America to                last half century, the bipartisan na-
                                                                                                                                                                 What is wrong with that procedure? It
                                                   better protect our Nation from those                    tional security or 9/11 law; and H.R. 418,
                                                                                                                                                                 is difficult to find fault with that kind
                                                   who wish to do us harm. No longer will                  H.R. 368 come along right after to over-
                                                                                                                                                                 of careful procedure in a Federal repub-
                                                   we allow terrorists free access to state-               turn the law.
                                                                                                              Why is this bill here? To hear some                lic, especially when you consider the
                                                   issued identity documents as a way to                                                                         supremacy clause and that the Con-
                                                                                                           who have preceded me, you would
                                                   use the tools of our freedom against us.                                                                      gress of the United States can overturn
                                                                                                           think the 9/11 Commission just left this
                                                   No longer will we stand idly by and                                                                           regulations. So what are you afraid of,
                                                                                                           out. What were they thinking?
                                                   watch terrorists harm our homeland.                        What they were thinking is that this               since in fact the ball stops when it
                                                      State-issued driver’s licenses and                   is a Federal Republic, and they tried to              comes to a matter of national security
                                                   State identification cards are the most                 deal with the fact that we were dealing               with the Federal Government?
                                                   widely used form of identification in                   with a State function and that the Fed-                 Why are we trying to shut the States
                                                   the Nation. It is the backbone, quite                   eral Government was moving in on a                    out? Why are those who speak up for
                                                   frankly, of our identity. It provides le-               State function that we have had noth-                 the States whenever it suits their
                                                   gitimacy to any person who holds this                   ing to do with before. That is difficult              fancy putting down the States now? I
                                                   form of identification. Driver’s licenses               to do.                                                do not agree with everything that is
                                                   are used in everyday instances, such as                    So what did they say we should do?                 happening in the States; I just do not
                                                   boarding an airplane or enrolling in a                  The 9/11 bill required just the kind of               believe we should pass a piece of regu-
                                                   flight school.                                          thoughtful rulemaking process that                    lation that says you are not in this, ex-
                                                      Does that sound familiar? Well, it                   this issue needs to keep us from step-                cept you better pay for it and you bet-
                                                   should. Because according to the 9/11                   ping all over each other and getting                  ter do what it takes to enforce it with-
                                                   Commission Report, all but one of the                   into needless controversy so that you                 in 3 years, although experts tell us it
                                                   9/11 hijackers acquired some form of                    bring people to the table and get a                   will take a dozen years for them to
                                                   U.S. identification documents, some by                  workable compromise. Under the proc-                  even begin to get through competently
                                                   fraud. All but one of the hijackers used                ess in the bill, the States must be at                what it is we are asking them to do.
                                                   a state-issued driver’s license on that                 the table.                                              What is mandated is a negotiated
                                                   horrific day.                                              Remember, those are the entities                   rulemaking process that incorporates
                                                      Even more frightening is the fact                    that are mandated to carry out these                  the practical issues that nobody in this
                                                   that a regular driver’s license is your                 procedures. This is an unfunded man-                  Congress knows anything about, the
                                                   passport to obtain a commercial driv-                   date, so they must pay for these proce-               issues that the States pass. It is a reck-
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                                                   er’s license, from which then, of course,               dures. So you say, let us bring you in.               less bill. It would literally undo the 9/
                                                   you can then try to obtain a hazardous                  You are in disagreement, some of you                  11 legislation and mandate on this
                                                   materials license, an endorsement on                    are like Michigan, some are like other                issue.
                                                   your commercial driver’s license. It is                 States, but let us sit down and figure it               I am asking that we come to an
                                                   bad enough to think about giving ter-                   out. If you cannot, then we will have to              agreement before we vote down our
                                                   rorists access to our roadways and our                  work out a compromise in the Depart-                  own States on how to proceed, regard-
                                                   aircraft, but it is unthinkable to give                 ment of Homeland Security.                            less of where you stand. Experts are
                                                   them access to 40,000 gallons of liquid                    I thought that is the way we did                   telling us that it will be a dozen years
                                                   propane, as an example.                                 things in this country, Mr. Chairman. I               before the States begin to even come



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                                                   into mild conformance with this bill,                   ceptance of state-issued driver’s licenses and          Al Regenhard, Det. Sgt. (retired) NYPD,
                                                   and yet there will be hearings by the                   birth certificates. As the Conference Com-            Parents of firefighter Christian Regenhard.
                                                   Members who are on this very floor                      mittee on the intelligence reform bills be-             Joan Molinaro, Mother of Firefighter Carl
                                                                                                           gins to consider the identity management se-          Molinaro, age 32.
                                                   criticizing the States and calling them                                                                         Grace Godshalk, Mother of William R.
                                                                                                           curity provisions contained in S. 2845 and
                                                   before them to explain why illegals are                 H.R. 10, we plead with the conferees to re-           Godshalk, age 35, WTC, South Tower, 89th
                                                   still getting licenses in their States.                 member our murdered loved ones and adopt              Floor.
                                                   How dare they do what we knew they                      the language of the House-passed bill.                  Colette Lafuente, Wife of Juan Lafuente,
                                                   could do in the first place.                              These provisions would go a long way to-            WTC visitor.
                                                     So I hope you will keep the States at                 ward closing the loopholes that allowed 19              Wil Sekzer, Detective Sergeant (Retired)
                                                   the negotiating table and join the Na-                  terrorists—all of whom had violated our im-           NYPD, Father of Jason, age 31, WTC, North
                                                                                                           migration laws in one way or another—to ob-           Tower, 105th floor.
                                                   tional Governors Association, the Na-
                                                                                                           tain sixty-three authentic state driver’s li-           Bruce DeCell (NYPD, Retired), Father in
                                                   tional Conference of State Legislatures                 censes, which allowed them to live here un-           law of Mark Petrocelli, age 29, WTC, North
                                                   in rejecting these bills and retaining                  noticed while they honed their plot to mur-           Tower, 105th floor.
                                                   the far more thoughtful rulemaking                      der our loved ones. To us, who have suffered            Lynn Faulkner, Husband of Wendy Faulk-
                                                   process Congress has just passed as                     horrific grief, loss and rage, it is beyond be-       ner, South Tower.
                                                   part of the historic 9/11 Intelligence Re-              lief that even one Member of Congress would             Bill Doyle, Father of Joseph, age 24, WTC,
                                                   form legislation.                                       oppose a law that will stop the next Moham-           North Tower.
                                                     Mr. Chairman, I reserve the balance                   med Atta from obtaining the ‘‘valid ID’’ that           April Gallop, Pentagon Survivor.
                                                                                                           will allow him to board an airplane.                    Diana Stewart, Only wife of Michael Stew-
                                                   of my time.                                               The state-issued driver’s license has be-           art.
                                                     Mr. TOM DAVIS of Virginia. Mr.                        come the preferred identification document
                                                   Chairman, may I inquire of the time on                                                                          Mr. Chairman, I yield 2 minutes to
                                                                                                           in America. It allows the holder to cash a
                                                   each side.                                                                                                    the gentleman from Virginia (Mr. CAN-
                                                                                                           check, rent a car or truck, board an airplane,
                                                     The Acting CHAIRMAN (Mr. SIMP-                        purchase a firearm, enter a federal or state          TOR), the deputy whip, who has been so
                                                   SON). The gentleman from Virginia                       building, register to vote, and obtain other          active on this issue, and introduced the
                                                   (Mr. TOM DAVIS) has 13 minutes re-                      federally-issued documents. Despite the vast          first legislation in this House that
                                                   maining, and the gentlewoman from                       benefits simple possession of a driver’s li-          would have tied visa expiration to a
                                                                                                           cense now confers on its holder, it is one of         driver’s license date.
                                                   the District of Columbia (Ms. NORTON)
                                                                                                           the easiest documents to obtain, whether by             Mr. CANTOR. Mr. Chairman, I con-
                                                   has 81⁄2 minutes remaining.                             citizen or illegal alien, friend or enemy.
                                                     Mr. TOM DAVIS of Virginia. Mr.                                                                              gratulate the chairman and the Com-
                                                                                                             Recognizing this fact, the 9/11 Commission
                                                   Chairman, I yield myself such time as                   recommended that, ‘‘The federal government            mittee on Government Reform for re-
                                                   I may consume.                                          should set standards for the issuance of birth        porting out this bill that is so impor-
                                                     Before I recognize the next chairman,                 certificates and sources of identification,           tant that this Congress take action on
                                                   I wish to respond to the gentlewoman’s                  such as drivers licenses.’’ We commend the            and take action on now.
                                                   question of why are we doing this. We                   House for taking the necessary and appro-               Of course we need to do this. Of
                                                                                                           priate action on this important issue.                course we need to pass the REAL ID
                                                   are doing this because the 9/11 Commis-                   Supporters of the Senate position have ar-
                                                   sion Report asked that we do it. They                                                                         Act. Because as the chairman just said,
                                                                                                           gued that a negotiated rulemaking process is
                                                   made it a priority. We are doing it be-                 the appropriate action to take in order to es-
                                                                                                                                                                 certainly all of us who board planes
                                                   cause our committee, the committee                      tablish minimum standards. We could not               want to know that there is some integ-
                                                   the gentlewoman sits on, the one I                      disagree more strongly, knowing that inevi-           rity to our ID system in this country
                                                   chair, authorized this last year and the                tably the final rules will lack any teeth. The        and that terrorists are not boarding
                                                   House overwhelmingly passed this last                   standards included in H.R. 10 come directly           planes by the use of a state-issued iden-
                                                                                                           from the State Administrators of these pro-           tification card. This is not conjecture.
                                                   year.                                                   grams and from law enforcement, developed
                                                     The 9/11 victims’ families have a let-                                                                      This is what happened on 9/11. This is
                                                                                                           since the terrorist attacks on our nation and         what the 9/11 Commission suggested
                                                   ter that also requests this. And we are                 founded on long-standing principles and best
                                                   doing it because when I get on an air-                  practices.
                                                                                                                                                                 that we take action on, and this is
                                                   plane and somebody shows an ID to get                     We believe it is perfectly appropriate for          what we are here doing today.
                                                   on the airplane, I would like to know                   Congress to establish baseline standards and            As the chairman suggested, I am
                                                   they are who they say they are. I think                 give authority to the Secretary of Homeland           proud to say that in 2003 Virginia,
                                                                                                           Security and the Secretary of Transpor-               under the leadership of former Attor-
                                                   every other American would like to
                                                                                                           tation to work with the States and issue reg-         ney General Jerry Kilgore, acted to
                                                   have that assurance in safety as well.                  ulations on how individual States can come
                                                     And by the way, we do not tell the                                                                          close this dangerous loophole. The Gen-
                                                                                                           into compliance. This is particularly true be-
                                                   States what to do. They can issue a li-                                                                       eral Assembly passed and the Governor
                                                                                                           cause experience in many States has shown
                                                   cense to whoever they want to issue a                   that implementation of these standards in-            signed into law a provision which re-
                                                   license to. But if they want to use that                volve minuscule financial costs. Also, states’        quires the minimum standard, which
                                                   State license for Federal purposes, like                rights issues are in no way infringed since           says that anyone applying for a license
                                                   getting on an airplane, they are going                  H.R. 10 only affects federal non-recognition          in Virginia must have legal status in
                                                                                                           for federal purposes of licenses from noncon-         this country; that they must have a
                                                   to have to be able to show that the peo-
                                                                                                           forming states.                                       visa; and that the license that would be
                                                   ple are who they said they were.                          Congress has promised us repeatedly that
                                                     Also, Mr. Chairman, we worked with                                                                          issued would coterminate with the ter-
                                                                                                           they would honor our loved ones who were
                                                   the American Association of Motor Ve-                   murdered three years ago by enacting re-
                                                                                                                                                                 mination or expiration of that visa.
                                                   hicle Administrators in crafting this                   forms to ensure that Americans will never               This is just common sense. Why do
                                                   legislation, and 3 years is ample time.                 again face the same horror. The House provi-          we want terrorists to have a license
                                                     Mr. Chairman, I submit for the                        sions on identity management security are             issued by a State to go and board our
                                                   RECORD, the letter of the victims’ fami-                vital in this effort, and we urge you to op-          airplanes and commandeer those air-
                                                                                                           pose the Senate language, which will protect          planes into a building? It is time for
                                                   lies, which I just referred to:                         a status quo that aided the murderers who
                                                                    9/11 FAMILIES FOR A
                                                                                                                                                                 Congress to act, to provide and man-
                                                                                                           tore apart our families on September 11, 2001.        date a minimum standard for States
                                                                          SECURE AMERICA,                    In the names of our dead and ourselves we
                                                                 New York, NY, October 19, 2004.           ask you: how much longer will you permit              when they issue State IDs, including
                                                                                                                                                                 driver’s licenses, to require that indi-
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                                                   Hon. TOM DAVIS,                                         terrorists to obtain drivers’ licenses? For
                                                   Chairman, Committee on Government Reform,               what reasons can you possibly oppose such             viduals who have that privilege be here
                                                       House of Representatives, Washington, DC.           an essential law?                                     in this country legally.
                                                     DEAR CHAIRMAN DAVIS: 9/11 Families for a                And to those of you who are opposed: are              Mr. Chairman, I thank the gentleman
                                                   Secure America, comprised of the families of            you prepared to accept the responsibility for         from Virginia (Mr. TOM DAVIS) for his
                                                   hundreds of the victims of the September 11             the next 9/11 terrorists who utilize US-issued
                                                   terrorist attacks, are writing to express the
                                                                                                                                                                 leadership on this, and I urge passage
                                                                                                           drivers licenses?
                                                   support of our members for the provisions in                   Sincerely,
                                                                                                                                                                 of the REAL ID Act.
                                                   H.R. 10, the 9/11 Recommendations Imple-                  Peter Gadiel & Jan Gadiel, Parents of                 Ms. NORTON. Mr. Chairman, I yield
                                                   mentation Act, to establish minimum docu-               James, age 23, WTC, North Tower 103rd                 myself such time as I may consume to
                                                   ment and issuance standards for federal ac-             Floor.                                                make a point of correction. What we



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                                                   are doing today is not mandated by the                    It is ironic, Mr. Chairman, that while              Instead, it would prevent people from
                                                   9/11 Commission, nor is it mandated by                  we have our soldiers in uniform pro-                  fleeing persecution, from obtaining re-
                                                   the law we passed. It is contrary to the                tecting democracy, we are giving it                   lief, making our highways more dan-
                                                   law we passed. It is mandated by the                    away under this bill.                                 gerous and undermine our security.
                                                   fact that we held up the law we passed                    Mr. TOM DAVIS of Virginia. Mr.                        Section 102 of this bill would elimi-
                                                   and it was promised to two chairmen.                    Chairman, I yield myself such time as                 nate Homeland Security and border pa-
                                                     Mr. Chairman, I yield 21⁄2 minutes to                 I may consume.                                        trol’s responsibility to inform and in-
                                                   the gentleman from Massachusetts                          I note on page 390 of the 9/11 Commis-              volve communities in proposed con-
                                                   (Mr. LYNCH).                                            sion Report, it recommends secure                     struction projects along the entire U.S.
                                                     Mr. LYNCH. Mr. Chairman, I thank                      identification should begin in the                    border and the requirement to consider
                                                   the gentlewoman for yielding me this                    United States. The Federal Govern-                    less harmful alternatives to proposed
                                                   time, and I rise in opposition to the so-               ment should set standards for the                     actions.
                                                   called REAL ID Act of 2005.                             issuance of birth certificates and                      This would allow Homeland Security
                                                     Mr. Chairman, while I have enormous                   sources of identification such as driv-               to operate in secrecy in critically im-
                                                   respect for the gentleman from Vir-                     er’s licenses.                                        portant areas such as Cabeza Prieta
                                                   ginia, the chairman of the full com-                      Mr. Chairman, I yield 11⁄2 minutes to               and Buenos Aires National Wildlife
                                                   mittee, I must take exception to the                    the gentlewoman from Tennessee (Mrs.                  Refuge and Organ Pipe National Monu-
                                                   assertions that have been made by a                     BLACKBURN).                                           ment that are all in my district. Many
                                                   lot of speakers here today that some-                     Mrs. BLACKBURN. Mr. Chairman,                       of our most precious wildlife depend
                                                   how this bill will prevent or would                     our committee chairman is exactly                     upon protected public lands along U.S.
                                                   have prevented the 9/11 attacks from                    right; we can go to page 384 in the 9/11              borderlands for migration corridors be-
                                                   occurring. I just want to point out that                Commission Report. And I encourage                    tween countries.
                                                   regardless of the number of licenses                    all of my constituents to do this, look                 In addition, this section would waive
                                                   that the terrorists held on September                   at this: ‘‘For terrorists, travel docu-               laws requiring consultations with Na-
                                                   11, they were all obtained because                      ments are as important as weapons.’’                  tive nations regarding activities on
                                                   those individuals were in the country                   And what is the number one travel doc-                tribal lands, grave sites or archae-
                                                   legally on student visas. And student                   ument? It is a driver’s license. It is a              ological and sacred sites.
                                                   visa holders in the future, even after                  huge gaping hole that we have. That is                  Finally, in a rush to deport anyone,
                                                   this act is passed, will still have the                 why it is imperative that we pass the                 H.R. 418 would deny due process for im-
                                                   opportunity to get licenses. So that ar-                                                                      migrants and asylum seekers. This is
                                                                                                           REAL ID Act today and we set a na-
                                                   gument is indeed bogus.                                                                                       un-American. It is against what we
                                                                                                           tional standard.
                                                     But I want to talk about the most                       Maybe that is just too much common                  stand for, and it is against what we are
                                                   egregious parts of this bill. Under this                                                                      asking the world to replicate in democ-
                                                                                                           sense for some of my friends that do
                                                   bill, it would allow the Secretary of the                                                                     racy across this Earth.
                                                                                                           not want us to do that, but if someone
                                                   Department of Homeland Security to                                                                              Mr. TOM DAVIS of Virginia. Mr.
                                                                                                           is going to use a travel document as a                Chairman, I yield 2 minutes to the gen-
                                                   nullify all of our laws while fulfilling
                                                                                                           driver’s license and use it as a way to               tlewoman from North Carolina (Ms.
                                                   his responsibilities under the scope of
                                                                                                           circumvent our laws and harm our citi-                FOXX).
                                                   this act. And putting aside the schizo-
                                                                                                           zens, then it is imperative that we                     Ms. FOXX. Mr. Chairman, I rise
                                                   phrenic immigration policy we have
                                                                                                           close that loophole. Having standards                 today to voice my strong support for
                                                   heard from the Republican Party, you
                                                                                                           that all the States would follow is a                 the REAL ID Act, particularly its pro-
                                                   have a President that wants to have
                                                                                                           great way to close that loophole.                     visions calling for stronger standards
                                                   open borders and basically amnesty to
                                                                                                             I would encourage my colleagues to                  for obtaining driver’s licenses. Page 47
                                                   allow open borders for low-wage work-
                                                                                                           support the REAL ID Act.                              of the 9/11 Commission Report, ‘‘With-
                                                   ers to come in, and then you have a Re-
                                                                                                             I thank the gentleman from Virginia                 out freedom of movement, terrorists
                                                   publican House that is saying that all
                                                                                                           (Chairman TOM DAVIS) for his good                     cannot plan, conduct surveillance, hold
                                                   those coming in must not have li-
                                                                                                           work on this issue, and I encourage our               meetings, train for their mission or
                                                   censes. They must be pedestrians.
                                                                                                           constituents to read this report and see              execute an attack.’’
                                                                     b 1515                                the importance of the actions that we                   Others have argued that the proposal
                                                     Mr. Chairman, under this act, what                    are taking today.                                     involves an unprecedented preemption
                                                   this means for American citizens is,                      Ms. NORTON. Mr. Chairman, I yield                   of State authority regarding the
                                                   our civil rights laws will be set aside                 myself such time as I may consume.                    issuance and production of driver’s li-
                                                   under this bill. Our nondiscrimination                    I just want to say to the chairman                  censes. This is untrue. Let me be clear:
                                                   laws will be set aside under this bill.                 that I could not agree more that the 9/               We are not preempting State authority
                                                   Our health and safety laws will be set                  11 Commission mandated secure identi-                 in this area. What we are doing is es-
                                                   aside under this bill. Our environ-                     fication standards by the Federal Gov-                tablishing minimum standards for Fed-
                                                   mental laws will not apply under this                   ernment, and that is exactly what the                 eral acceptance of such documents.
                                                   bill. And child labor laws will not apply               9/11 bill provides after rulemaking with              This is consistent with actions taken
                                                   under this bill. Most troubling of all,                 the States at the table. What is being                by individual States. Today, Nevada
                                                   the public bidding laws of this country                 proposed is a unilateral process.                     and New Mexico do not accept as proof
                                                   will not apply under this bill for this                   Mr. Chairman, I yield 11⁄2 minutes to               of identity a State-issued driver’s li-
                                                   project.                                                the gentleman from Arizona (Mr.                       cense or identification card from
                                                     Right now on the committee that I                     GRIJALVA).                                            States that do not meet their stand-
                                                   serve with the esteemed chairman, we                      Mr. GRIJALVA. Mr. Chairman, I rise                  ards.
                                                   are investing no-bid contracts that                     today in strong opposition to H.R. 418.                 The federalism issue is one of ex-
                                                   were given to Halliburton. We have                      I am deeply concerned about several                   treme importance, and that is exactly
                                                   millions of dollars in overcharges to                   aspects of this proposed legislation.                 why the language has been crafted as it
                                                   the United States taxpayer, we have                     This legislation, if passed, would be a               has. Driver’s licenses have become the
                                                   bribery charges, and we are doing all                   terrible setback with regards to three                primary form of identification in the
                                                   kinds of investigation on that no-bid.                  critical areas: defending the people of               United States. They permit people to
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                                                     There is no reason that the civil                     the United States from terrorism, due                 apply for other forms of identification,
                                                   rights laws and the public bidding laws                 process for immigrants, and environ-                  transfer funds to bank accounts, obtain
                                                   should be set aside. If that were not the               mental protection. The bill would undo                access to Federal buildings, purchase
                                                   most extreme example, they have re-                     security provisions that were passed                  firearms and board airplanes.
                                                   moved any opportunity for judicial re-                  just last year under the Intelligence                   The majority of the States have rec-
                                                   view under this act. There will be no                   Reform Act.                                           ognized the privilege that a license
                                                   review of the Secretary’s action in set-                  Families of September 11th victims                  brings and have set high standards for
                                                   ting aside all of those laws, no re-                    stated the impact of this legislation                 obtaining them. However, 10 States, in-
                                                   course.                                                 will not make us safer from terrorism.                cluding my State of North Carolina,



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                                                   issue valid driver’s licenses and identi-               standards and verification procedures on              visa to come in, 6 months; driver’s li-
                                                   fication cards without requiring proof                  States, many of which are beyond the cur-             cense from Florida, 6 years.
                                                   of legal status. That is scary.                         rent capacity of even the Federal govern-               Like many in this Chamber, I was a
                                                                                                           ment. Moreover, the cost of implementing
                                                     According to the 9/11 Commission Re-                  such standards and verification procedures            strong supporter of the intelligence re-
                                                   port, these travel documents are just                   for the 220 million driver’s licenses issued by       form legislation passed last year, but
                                                   as important as weapons are to terror-                  States represents a massive unfunded Fed-             when I voted for it, I believed we need-
                                                   ists.                                                   eral mandate.                                         ed to go further in several areas, in-
                                                     The REAL ID Act would require that                      Our States have made great strides since            cluding strengthening driver’s license
                                                   Federal agencies accept only driver’s                   the September 11, 2001 terrorists attacks to          guidelines.
                                                                                                           enhance the security processes and require-
                                                   licenses and State-issued identification                                                                        In my home State of Connecticut, we
                                                                                                           ments for receiving a valid driver’s license
                                                   cards from States that prove the legal                  and ID card. The framework in the Intel-              take strong steps to ensure the integ-
                                                   status of applicants. The bill would                    ligence Reform Act of 2004 will allow us to           rity of our identification cards, but we
                                                   also require States to review the legal-                work cooperatively with the Federal govern-           are not perfect. To receive a driver’s li-
                                                   ity of existing license holders upon re-                ment to develop and implement achievable              cense in Connecticut, you must prove
                                                   newal or replacement. The bill does not                 standards to prevent document fraud and               you are a legal resident of the State,
                                                   seek to set State policy for who may or                 other illegal activity related to the issuance        and you are not a legal resident of the
                                                                                                           of driver’s licenses and ID cards.
                                                   who may not drive a car. It aims to set                   We urge you to allow the provisions in the          State if you are not legally present in
                                                   rigorous standards for what may be                      Intelligence Reform Act of 2004 to work.              the United States, period.
                                                   used as a form of ID to a Federal offi-                 Governors and motor vehicle administrators              This is common sense to me. Driver’s
                                                   cial.                                                   are committed to this process because it will         licenses are verifiable forms of identi-
                                                     As I have stated before, I am a strong                allow us to develop mutually agreed-upon              fication in the United States. Pro-
                                                   advocate of States’ rights. However, if                 standards that can truly help create a more           viding such identification cards to peo-
                                                   certain States act irresponsibly and                    secure America.
                                                                                                                                                                 ple who are illegally present in our
                                                                                                                 Sincerely,
                                                   place the national security of the rest                                   RAYMOND C. SCHEPPACH,               country presents serious concerns.
                                                   of the country at risk, then Congress                                       Executive      Director,            The problem, however, is that not all
                                                   must get involved. We must do what it                                         National Governors              States maintain this high standard.
                                                   takes to make America safe.                                                   Association.                    That means that someone who is ille-
                                                     Ms. NORTON. Mr. Chairman, I yield                                       LINDA R. LEWIS,                     gally present in the United States and
                                                   myself such time as I may consume.                                          President and CEO,                takes advantage of a weak law in an-
                                                     Mr. Chairman, my good friend al-                                            American     Associa-           other State can obtain a driver’s li-
                                                   luded to the support of the American                                          tion of Motor Vehi-
                                                                                                                                                                 cense and use the document to identify
                                                   Association of Motor Vehicle Adminis-                                         cle Administrators.
                                                                                                                                                                 him or herself in the State of Con-
                                                   trators, and I include for the RECORD                     Ms. NORTON. Mr. Chairman, I yield 1                 necticut. They can also use that docu-
                                                   their letter indicating that they oppose                minute to the gentleman from Virginia                 ment to access Federal buildings, rent
                                                   both bills that are before us.                          (Mr. MORAN).                                          a vehicle or get on a plane.
                                                                                                             Mr. MORAN of Virginia. Mr. Chair-
                                                        NATIONAL GOVERNORS ASSOCIATION,                                                                            Tightening access to State-issued
                                                         AND AMERICAN ASSOCIATION OF
                                                                                                           man, the problem with this bill is that
                                                                                                                                                                 identification cards is an important
                                                         MOTOR VEHICLE ADMINISTRATORS,                     it is an immigration bill posing as an
                                                                                                                                                                 and necessary improvement for our
                                                                                February 8, 2005.          identification bill. Instead of listening
                                                                                                                                                                 homeland security. Many Members
                                                   Hon. J. DENNIS HASTERT,                                 to what the States told us needed to be
                                                                                                                                                                 have raised concerns about the impact
                                                   Speaker, House of Representatives,                      done to make driver’s licenses more se-
                                                   Washington, DC.                                                                                               of driver’s license provisions in H.R. 418
                                                                                                           cure, what we have done is to basically
                                                   Hon. THOMAS DELAY,                                                                                            in our home States. Connecticut Gov-
                                                                                                           make State motor vehicle employees
                                                   Majority Leader, House of Representatives,              unwitting immigration agents. It does                 ernor Jodi Rell stated, ‘‘In my view, if
                                                   Washington, DC.
                                                                                                           little to improve homeland security,                  a noncitizen is lawfully in this coun-
                                                   Hon. NANCY PELOSI,                                                                                            try, he or she should be able to obtain
                                                   Minority Leader, House of Representatives,              and it is certain to prove overwhelming
                                                                                                           and ineffective.                                      a driver’s license for the time frame in
                                                   Washington, DC.                                                                                               which he is lawfully allowed to be here.
                                                     DEAR MR. SPEAKER, REPRESENTATIVE                        Now, I support what the gentleman
                                                   DELAY AND REPRESENTATIVE PELOSI: We                     from Virginia (Chairman TOM DAVIS) is                 Conversely, if someone is in this coun-
                                                   write to express our opposition to Title II of          trying to do to improve the integrity of              try illegally, he or she should not be
                                                   H.R. 418, the ‘‘Improved Security For Driv-             driver’s licenses, but I find it curious              able to obtain a driver’s license in Con-
                                                   er’s Licenses and Personal Identification               that the leadership of the House has                  necticut or any other State.’’
                                                   Cards’’ provision, and H.R. 368, the ‘‘Driver’s         chosen to largely ignore the multiple                   I could not agree more with her.
                                                   License Security and Modernization Act’’.                                                                     Frankly, most of our constituents
                                                                                                           references in the 9/11 Commission Re-
                                                   While Governors and motor vehicle adminis-                                                                    could not agree more with her.
                                                   trators share your concern for increasing the           port to the value of on-card biometric
                                                                                                           technology in improving the integrity                   Let me raise one other point about
                                                   security and integrity of the driver’s license
                                                   and State identification processes, we firmly           of identification cards. The problem is               this legislation and commend the
                                                   believe that the driver’s license and ID card           that these digital images are not suffi-              chairman for including this provision.
                                                   provisions of the Intelligence Reform and               cient. Matching the image with the                    A legally present visitor to the United
                                                   Terrorism Prevention Act of 2004 offer the              face is more prone to error than the                  States can obtain a driver’s license in
                                                   best course for meeting those goals.                    technology that would use biometric                   Connecticut, as he can in other States.
                                                     The ‘‘Driver’s Licenses and Personal Iden-            data. Two fingerprints transformed                    However, in Connecticut we issue li-
                                                   tification Cards’’ provision in the Intel-                                                                    censes for 6 years at a time. In that
                                                   ligence Reform Act of 2004 provides a work-
                                                                                                           into numeric algorithm, that works.
                                                                                                             What we have here does not work. I                  time, visitors can leave and come back,
                                                   able framework for developing meaningful
                                                   standards to increase reliability and security          think we are going to find the States                 whether legally or illegally, an untold
                                                   of driver’s licenses and ID cards. This frame-          letting us know that. Unfortunately, it               number of times. During subsequent
                                                   work calls for input from State elected offi-           will be too late. We will miss an oppor-              visits, this person can continue to use
                                                   cials and motor vehicle administrators in               tunity.                                               the license for whatever purpose he or
                                                   the regulatory process, protects State eligi-             Mr. TOM DAVIS of Virginia. Mr.                      she wants. This is wrong. Frankly, it is
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                                                   bility criteria, and retains the flexibility            Chairman, I look forward to working                   stupid.
                                                   necessary to incorporate best practices from            with the gentleman from Virginia (Mr.                   Requiring a temporary ID for persons
                                                   around the States. We have begun to work                MORAN) on this issue as we move for-                  temporarily in our country is a no-
                                                   with the U.S. Department of Transportation
                                                                                                           ward.                                                 brainer. I do not think Mohammed
                                                   to develop the minimum standards, which
                                                                                                             Mr. Chairman, I yield 3 minutes to                  Atta would like it, but, I do not care
                                                   must be completed in 18 months pursuant to
                                                   the Intelligence Reform Act.                            the gentleman from Connecticut (Mr.                   what he wants.
                                                     We commend Chairman Sensenbrenner and                 SHAYS), the chairman of the Sub-
                                                                                                           committee on National Security.                                      b 1530
                                                   Chairman Davis for their commitment to
                                                   driver’s license integrity; however, both H.R.            Mr. SHAYS. Mr. Chairman, welcome                     Ms. NORTON. Mr. Chairman, I yield
                                                   418 and H.R. 368 would impose technological             to the world of Mohammed Atta: Legal                  myself such time as I may consume. I



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                                                   do want everybody to know what we                       tacked our Nation on September 11                     the provisions of this act, no member
                                                   are voting on here. We oppose this bill.                possessed valid driver’s licenses and                 of Congress, no citizen could do any-
                                                   We favor the 9/11 intelligence bill                     many other state-issued identity cards.               thing about it because you waive all ju-
                                                   passed 2 months ago. That requires                        The REAL ID Act would require ap-                   dicial review.
                                                   that driver’s licenses be issued under                  plicants to prove that they are in this                 Now, bear in mind you are giving this
                                                   Federal standards; that is Federal law.                 country legally. The debate here some-                authority to the head of Homeland Se-
                                                   After the States have had an oppor-                     what surprises me because I bet if you                curity, hardly a paragon of sensitivity
                                                   tunity to have some input, the final                    asked the American people if in order                 and efficiency. Anybody who stands in
                                                   would be a Federal bill. The only dif-                  to get a driver’s license, if you have to             those lines week after week or watches
                                                   ference between us and those on the                     prove that you are in this country le-                the bizarre color-coded warning system
                                                   other side is they want to keep the                     gally, overwhelmingly I believe the                   knows that that is hardly the exem-
                                                   States out of the process all together.                 people in this country would believe                  plar.
                                                      Mr. Chairman, I yield 1 minute to the                that not only is it the right thing to do               Security at the borders is important;
                                                   gentleman from Texas (Mr. GONZALEZ).                    but they would be surprised to find out               and if somebody has a problem with
                                                      Mr. GONZALEZ. Mr. Chairman, I rise                   that it is not already a requirement.                 building a security fence, by all means,
                                                   in opposition to H.R. 418. The first                      The 9/11 commission stated that all                 Congress should deal with it. But as far
                                                   thing is America will not sleep any                     but one of the 9/11 hijackers acquired                as I know, no committee has been
                                                   more securely with the passage of this                  some form of U.S. identification, and                 called upon to do that yet. There are
                                                   piece of legislation, as well intended as               that for terrorists travel documents                  important waiver provisions that are
                                                   it may be, because I am not going to                    are as important as weapons. And their                available. But waiving all laws for con-
                                                   question the motives of my colleagues                   recommendation stated secure identi-                  struction is an inappropriate decision.
                                                   on the other side of the aisle. But why                 fication should begin in the United                   And with all due respect, it is a dan-
                                                   do a useless thing? Why would the                       States.     The   Federal     Government              gerous precedent that anybody on ei-
                                                   State legislatures, why would the                       should set standards for the issuance of              ther side of the aisle should be deeply
                                                   State Governors, why would every                        birth certificates and sources of identi-             offended by.
                                                   Latino advocacy group come against                      fication such as driver’s licenses.                     The Acting CHAIRMAN. The gen-
                                                   this? Why would the National Council                      Last year as we heard the steady                    tleman from Virginia (Mr. TOM DAVIS)
                                                   of Bishops here in the States come out                  beat to implement the 9/11 Commission                 has 11⁄2 minutes remaining.
                                                   against this? It is for various reasons.                recommendations, certainly, their rec-                  Mr. TOM DAVIS of Virginia. Mr.
                                                   But they all acknowledge that there is                  ommendation that the Federal Govern-                  Chairman, I yield 1 minute to the gen-
                                                   not a conspiracy going on here to                       ment have standards for driver’s li-                  tleman from San Diego, California (Mr.
                                                   thwart the efforts at security by these                 censes is something that we ought to                  CUNNINGHAM).
                                                   groups. No one would accuse these indi-                 enact, and I support this bill.                         Mr. CUNNINGHAM. Mr. Chairman, I
                                                   viduals of that, because this does not                    Ms. NORTON. Mr. Chairman, how                       reject the statement made a minute
                                                   do anything. It only burdens the State                  much time do I have remaining?                        ago that this is an anti-immigration
                                                   and does not get us anywhere.                             The Acting CHAIRMAN (Mr. SIMP-                      bill. I support the Sensenbrenner bill. I
                                                      But more importantly, and I really                   SON). The gentlewoman has 2 minutes                   think security is a national issue. But
                                                   believe this, this is an anti-immigrant                 remaining.                                            to suggest that this is an anti-immi-
                                                   bill in the guise of some sort of secu-                   Ms. NORTON. Mr. Chairman, I yield                   grant bill is, in my opinion, wrong. We
                                                   rity consideration, which it does not                   the last 2 minutes to the gentleman                   support legal immigration into this
                                                   further.                                                from Oregon (Mr. BLUMENAUER).                         country. It is what has made this coun-
                                                      And so we ask, who are these immi-                     Mr. BLUMENAUER. Mr. Chairman, I
                                                   grants? I have a simple answer for all                                                                        try so great. But we also need to take
                                                                                                           appreciate the gentlewoman’s courtesy                 care of security.
                                                   of us. Look in the mirror. That is who                  in permitting me to speak on this, and                  If you want to come in on a visa, you
                                                   we are talking about. We all got here
                                                                                                           I agree with her very strongly. Make                  want to come in to be a citizen, sup-
                                                   one way or another, some earlier than
                                                                                                           no mistake, our side of the aisle is sup-             port it. But if you are here illegally, it
                                                   others. We are all immigrants. What
                                                                                                           portive of this legislation. We want to               is wrong.
                                                   this bill is really about is not bad peo-
                                                                                                           work with the State and local authori-                  Each year I have one family, just last
                                                   ple coming into this country to do bad
                                                                                                           ties first to do it right. These are the              year, the father survived. The wife
                                                   things to this country. It is about pre-
                                                                                                           people who feel these concerns every                  died. He lost a child to illegal immi-
                                                   venting good people coming into this
                                                                                                           bit as strongly as Members of Congress.               grants. I wish that was the only case.
                                                   country to do good things.
                                                      Mr. TOM DAVIS of Virginia. Mr.                       In fact, they are on the line every day               Each year we have several of these. Il-
                                                   Chairman, I am happy to yield 2 min-                    providing for the safety and security of              legal immigrants driving and causing
                                                   utes to the gentleman from Ohio (Mr.                    our constituents in a much more im-                   accidents, and people say, well, they
                                                   TURNER), the former mayor of Dayton                     mediate sense than we are. Do not be                  are here; they have got to go to work.
                                                   and chairman of our Subcommittee on                     afraid to work with them.                             Well, they will go to work if we can get
                                                   Technology, Information Policy, Inter-                    But with all due respect to the gen-                them to be legal. But not if they are
                                                   governmental Relations and the Cen-                     tlewoman from the District of Colum-                  here illegally. If they are in this coun-
                                                   sus.                                                    bia, I have one other provision that                  try illegally, they need to go out and
                                                      Mr. TURNER. Mr. Chairman, I thank                    deeply offends me as a former elected                 come back legally with a visa or proper
                                                   the gentleman for his leadership on                     official, as a Member of this body and                method.
                                                   this most important issue affecting our                 somebody who believes in checks and                     And that is why I support the Sen-
                                                   country. I am a cosponsor of the REAL                   balances.                                             senbrenner bill, to make sure we do not
                                                   ID Act that calls for necessary reforms                   I look at section 102. I wish that it               have metricula cards, we do not have
                                                   in our driver’s license processes to                    were buried in the legislation, but it is             driver’s licenses to illegals, and that
                                                   make it harder for terrorists to obtain                 not. It is right here in the beginning. If            the driver’s license has a clip to ensure
                                                   driver’s license to use them for acts of                this provision, the waiver of all laws                that it is proper by the Federal Gov-
                                                   violence in our country.                                necessary for quote improvements of                   ernment.
                                                                                                           barriers at the border was to become                    Mr. TOM DAVIS of Virginia. Mr.
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                                                      Driver’s licenses can be used by ter-
                                                   rorists to enter buildings, obtain other                law, the Secretary of Homeland Secu-                  Chairman, I yield myself such time as
                                                   forms of identification, and board                      rity could give a contract to his polit-              I may consume.
                                                   flights. The loopholes that currently                   ical cronies that had no safety stand-                  Let me just sum up and say this does
                                                   exist in issuing driver’s licenses have                 ards, using 12-year-old illegal immi-                 not require anything from the States
                                                   to be closed to stop those who would                    grants to do the labor, run it through                as far as driver’s licenses go. States do
                                                   use driver’s licenses as a tool in com-                 the site of a Native American burial                  not have to do anything under this for
                                                   mitting terrorist acts on our own soil.                 ground, kill bald eagles in the process,              their driver’s licenses. They can issue
                                                      In fact, as we have heard, we know                   and pollute the drinking water of                     driver’s licenses to whomever they
                                                   that many of the hijackers who at-                      neighboring communities. And under                    want. But if they intend to use those



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                                                   licenses for Federal purposes, we have                  permit them to board airplanes or ac-                 bureaucratic red tape and lawsuits.
                                                   a right to say what the criteria should                 cess Federal facilities or easily travel              The border patrol has worked to allevi-
                                                   be and under those circumstances, they                  within the United States.                             ate the environmental concerns that
                                                   are going to have to show legal pres-                     The most literal security gap that                  have been raised. In fact, the U.S. De-
                                                   ence. It is not anti-immigrant. In fact,                this bill addresses is the 3-mile hole in             partment of the Interior’s Fish and
                                                   this allows the States to issue two dif-                the San Diego border fence. Recent                    Wildlife Service concluded in July,
                                                   ferent sets: one for illegal immigrants,                press accounts have reported that al                  2003, that construction of the fence ‘‘is
                                                   one for everyone else. It takes the na-                 Qaeda operatives have joined forces                   not likely to jeopardize’’ the continued
                                                   tional security issue away from the ar-                 with human smuggling rings in order                   existence of any relevant endangered
                                                   gument there.                                           to enter the United States. As we now                 species in the area. Furthermore, not
                                                     Finally, the opt-out provisions in the                know, the 9/11 hijackers were inter-                  completing the fence will continue to
                                                   current legislation that was passed just                viewed 25 times by U.S. consular offi-                cause other environmental damage in
                                                   a few months ago are disastrous. We                     cers; they had 43 contacts with Immi-                 the area due to large numbers of per-
                                                   were worse with the 9/11 response that                  gration and Customs authorities. But                  sons crossing illegally through this
                                                   passed this Congress than we were                       because of administration and congres-                area and subsequent pursuit by the
                                                   without it. This rectifies that. It closes              sional initiatives requiring the screen-              border patrol, as well as large amounts
                                                   that loophole.                                          ing of all foreign nationals entering the             of trash and refuse left in the wake of
                                                     Out of respect for the victims, the                   United States, terrorists will be forced              smugglers and illegal crossers.
                                                   families, the work of the 9/11 Commis-                  to resort to crossing our borders ille-                 As chairman of the Committee on
                                                   sion, I urge my colleagues to support                   gally. The border security fence, there-              Homeland Security and a California
                                                   this legislation.                                       fore, which thus far has been mired in                resident, I am extremely concerned by
                                                     Mr. Chairman, I yield back the bal-                   bureaucratic delays, is part of our na-               the roadblocks that different bureau-
                                                   ance of my time.                                        tional security efforts and must be                   cratic groups have used to justify
                                                     The Acting CHAIRMAN. The gen-                         completed now.                                        thwarting this important project. For
                                                   tleman from California (Mr. COX) and                      For decades the border between San                  example, in September of 2003, the San
                                                   the gentleman from Mississippi (Mr.                     Diego and Mexico has been the pre-                    Diego Border Patrol requested entry to
                                                   THOMPSON) each will control 10 min-                     ferred corridor for entry into the                    a section of county-owned land located
                                                   utes of debate from the Committee on                    United States by unknown or undocu-                   in the 31⁄2 mile section in dispute and
                                                   Homeland Security.                                      mented persons. With highly populated                 located about 300 feet from the U.S.-
                                                     The Chair recognizes the gentleman                    cities both north and south of the bor-               Mexican border in order to, first, im-
                                                   from California (Mr. COX).                              der as well as relatively quick access                prove the road for safety of the border
                                                     Mr. COX. Mr. Chairman, I yield my-                    to national transportation hubs such as               patrol agents; and, two, take soil sam-
                                                   self such time as I may consume.                        LAX, it is the perfect place for aliens               ples in order to address environmental
                                                     I am happy to join this debate as the                 to slip across the border and gain quick              concerns pertaining to construction of
                                                   chairman of the Committee on Home-                      access to U.S. communities and trans-                 the fence.
                                                   land Security and welcome the gen-                      portation networks. The important in-
                                                   tleman from Mississippi (Mr. THOMP-                                                                                             b 1545
                                                                                                           frastructure assets in the area, includ-
                                                   SON), my ranking member.                                ing in particular the largest naval base                But the San Diego County Depart-
                                                     We are here because each day thou-                    on the west coast of the United States                ment of Parks and Recreation denied
                                                   sands of people illegally enter the                     and the busiest seaport in the United                 access, saying there was no authority
                                                   United States. They know where to                       States, makes securing this area even                 to enter upon the land.
                                                   cross. They know how to get a driver’s                  more important.                                         After months of negotiation, I have
                                                   license. And if they are caught, they                     From September through November,                    been told that the issue was finally re-
                                                   even know how to rig our legal system                   2004, the border patrol apprehended                   solved, but this clearly demonstrates
                                                   to stay in the country nonetheless.                     over 23,000 individuals with criminal                 that Federal action is necessary to en-
                                                   What has been the result of this broken                 records including 84 wanted for murder                sure that the fence is completed and
                                                   system?                                                 and 151 wanted for sexual assault. In                 that border security remains a pri-
                                                     On January 25, 1993, Mir Aimal Kansi                  2004 border patrol agents arrested al-                ority. The time for delay and bureau-
                                                   stood at the entrance of the Central In-                most 1.2 million illegal aliens with 11.6             cratic obstruction is over. We must
                                                   telligence Agency and gunned down                       percent of those apprehended in the                   complete this fence, and we must pass
                                                   five people. A month later Ramzi                        San Diego sector alone, despite the fact              H.R. 418.
                                                   Yousef masterminded the first bombing                   that the San Diego sector is roughly 1                  Mr. Chairman, I reserve the balance
                                                   of the World Trade Center. Both men                     percent of our border area. Over the                  of my time.
                                                   were in the country because they were                   past 2 years, the three border patrol                   Mr. THOMPSON of Mississippi. Mr.
                                                   awaiting the outcome of their asylum                    stations responsible for patrol of the                Chairman, I yield myself such time as
                                                   applications. This legislation will fix                 existing 14 miles of border fence in the              I may consume.
                                                   that loophole.                                          San Diego sector have apprehended ap-                   Mr. Chairman, the Republican major-
                                                     On September 11, 2001, according to                   proximately 200 special interest aliens               ity claims that this bill is an effort to
                                                   the 9/11 Commission report, the 19 hi-                  annually from countries such as Af-                   prevent terrorists from entering the
                                                   jackers responsible for the 9/11 ter-                   ghanistan, Iran, Iraq, Pakistan, and                  United States, not an effort to play
                                                   rorist attacks carried between them 13                  Turkey.                                               partisan politics over immigration re-
                                                   U.S. driver’s licenses and 21 state-                      Completion of this fence will not                   form. I would like to take them at
                                                   issued ID cards. Several of these hi-                   only reduce the number of illegal                     their word, but if this bill really were
                                                   jackers had overstayed their visas, and                 crossings in the area but will also                   about keeping terrorists out of the
                                                   they were unlawfully in this country.                   allow the Border Patrol to redeploy                   country, why is the Republican major-
                                                   But their driver’s licenses permitted                   manpower and redirect precious re-                    ity not talking about the real threats
                                                   them to board those airplanes nonethe-                  sources to other important homeland                   of terrorists’ entry? Why is the Repub-
                                                   less. This bill fixes that problem.                     security missions along the border.                   lican majority not concerned about the
                                                     The laws that we are operating under                  And like the other border fence areas,                complete lack of an interagency border
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                                                   today allow terrorists to enter our                     the San Diego sector can expect to see                security plan? And why does the Presi-
                                                   country and to plan and carry out at-                   a reduction in crime, including murder,               dent’s budget not fully fund the man-
                                                   tacks in the United States. The reality                 as well.                                              dates in the 9/11 intelligence bill, which
                                                   is that this homeland security vulner-                    Of the 14 miles authorized by Con-                  we passed and he signed a few short
                                                   ability is being exploited by terrorists                gress several times, 9 miles of the tri-              months ago? Why sign a bill if you
                                                   and criminal aliens every day. H.R. 418                 ple fence have been completed. But                    have no intention of actually funding
                                                   makes necessary changes to ensure                       only in Washington would people con-                  the items in the bill?
                                                   that terrorists do not obtain identifica-               struct a fence with a big hole in it. The               Mr. Chairman, just one example: The
                                                   tion, as did the 9/11 hijackers, that will              final 31⁄2 miles has been held up due to              President’s budget only provides for 210



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                                                   new border patrol agents, even though                     I am serious about the problem of                   for 1 additional minute, to be divided
                                                   the 9/11 intelligence bill authorized up                border security. I represent a district               equally between majority and minor-
                                                   to 2,000. We have caught at least one                   that has more apprehensions of illegal                ity.
                                                   suspected terrorist who illegally waded                 immigrants than any other district on                   The     Acting     CHAIRMAN        (Mr.
                                                   across the Rio Grande. Why is the Re-                   the southern border, in fact, more ap-                LAHOOD). Is there objection to the re-
                                                   publican majority not talking about                     prehensions than all the other districts              quest of the gentleman from Cali-
                                                   the failure of this administration to                   combined.                                             fornia?
                                                   ensure that our frontline officers are                    As someone working hard for a long                    There was no objection.
                                                   able to check suspicious individuals                    time to help secure our border, I can                   Mr. COX. Mr. Chairman, I yield 1
                                                   against a comprehensive terrorist                       confidently say the most effective and                minute to the gentleman from Texas
                                                   watch list?                                             efficient way to deal with this is to                 (Mr. MCCAUL).
                                                     More than 3 years after 9/11, why are                 have comprehensive immigration re-                      Mr. MCCAUL. Mr. Chairman, I rise in
                                                   more of our frontline personnel using                   form. The President of the United                     support today of the REAL ID Act. As
                                                   obsolete name-checking systems, that                    States has recognized this. We need to                the former Chief of Counterterrorism
                                                   have trouble telling the difference be-                 create an avenue for those not crossing               in the U.S. Department of Justice for
                                                   tween ‘‘bin Laden’’ and ‘‘Lyndon?’’ Is                  for malicious reasons to be funneled                  the Western District of Texas, I had ju-
                                                   this real security? Does this make                      through the ports-of-entry along the                  risdiction over the Mexican-Texas bor-
                                                   America safer?                                          border. That will allow us to deal with               der. I dealt, firsthand really, with the
                                                     This bill wholly fails to address these               the real problem.                                     day-to-day threats our Nation faces,
                                                   and other critical gaps in our border                     Mr. Chairman, I urge us to support                  and asked the question, Why are we
                                                   security. The bill focuses on people al-                H.R. 418, and then turn our attention                 not doing more to secure our borders?
                                                   ready in the United States instead of                   to comprehensive immigration reform                     Many of those intent on doing our
                                                   keeping terrorists out.                                 legislation.                                          Nation harm claim political asylum as
                                                     The one aspect of this bill that seems                  Mr. THOMPSON of Mississippi. Mr.                    their Trojan horse to gain access to our
                                                   directed at keeping people out of the                   Chairman, I yield 11⁄2 minutes to the                 borders. Individuals like the 1993 World
                                                   United States is section 102. I under-                  gentlewoman from California (Ms.                      Trade Center bomber, Ramzi Yousef,
                                                   stand this section originated from a de-                Lofgren).                                             claimed political asylum and was or-
                                                   sire to complete approximately 3 miles                    Ms. ZOE LOFGREN of California. Mr.                  dered to appear at a hearing. Yet
                                                   of a 14-mile fence along the border near                Chairman, yesterday, the U.S. Commis-                 Yousef, like a majority of those given
                                                   San Diego. Let me be clear: I am not                    sion on International Religious Free-                 notices, failed to show up at the hear-
                                                   against building a fence, but I do not                  dom, a federally mandated bipartisan                  ings. This bill will make it easier to de-
                                                   think a fence will keep terrorists out of               commission, released a comprehensive                  port suspected terrorists.
                                                   America.                                                report documenting the mistreatment                     Terrorists have taken advantage of
                                                     Homeland security expert Stephen                                                                            other holes in our laws. The 19 hijack-
                                                                                                           of asylees in America. For those seek-
                                                   Flynn, who is a retired commander of                                                                          ers on September 11th had fraudulently
                                                                                                           ing asylum, we strip-search them and
                                                   the U.S. Coast Guard, and Jeane Kirk-                                                                         obtained dozens of American visas,
                                                                                                           then we thrown them in jail with
                                                   patrick, Senior Fellow in National Se-                                                                        passports and driver’s licenses, docu-
                                                                                                           criminals.
                                                   curity Studies at the Council on For-
                                                                                                             As we debate this bill, thousands of                ments used to open bank accounts, es-
                                                   eign Relations, testified before the
                                                                                                           people seeking safety from persecution                tablish residency and, yes, to fly air-
                                                   Senate Foreign Relations Committee
                                                                                                           are in jail with criminals in the United              planes.
                                                   that ‘‘Great powers have been building                                                                          This border security legislation pro-
                                                                                                           States. They are here fleeing from tor-
                                                   great walls throughout history. The
                                                                                                           ture, from rape; some are here seeking                vides the safety measure that to obtain
                                                   Great Wall of China and the Berlin
                                                                                                           freedom because they have been denied                 a driver’s license, the person must sim-
                                                   Wall went up at considerable expense
                                                                                                           the opportunity to practice their reli-               ply prove they have a legal right to re-
                                                   and treasure and ultimately failed to
                                                                                                           gion, say Christianity, in a place where              main in our Nation.
                                                   block or contain the forces they pur-
                                                                                                           religion is not permitted. But when                     For the safety and security of our
                                                   ported to obstruct.’’
                                                     Mr. Flynn says that efforts by the                    they get here, we lock them up. And                   Nation, our families and our freedom, I
                                                   United States to ‘‘protect’’ the south-                 today we are considering a bill that                  urge my colleagues to support this bill.
                                                   west border, including installing a                     will make it harder for those fleeing                 The 9/11 Commission recommended it.
                                                   fence between San Diego and Tijuana,                    oppression, trying to find safe haven in              We owe it to the victims of the na-
                                                   are similarly fated to fail.                            our Nation.                                           tional tragedy to pass this legislation.
                                                     Mr. Chairman, it is clear that this is                  This bill does nothing to make us                     Mr. THOMPSON of Mississippi. Mr.
                                                   not a good bill, and we are completely                  safer. In fact, we have heard references              Chairman, I yield 3 minutes to the gen-
                                                   in opposition to it.                                    to those who came prior to the first                  tleman from New Jersey (Mr. MENEN-
                                                     Mr. Chairman, I reserve the balance                   World Trade Center bombing. We made                   DEZ), the chairman of the Democratic
                                                   of my time.                                             changes in the law subsequent to that.                Caucus,
                                                     Mr. COX. Mr. Chairman, I yield 1                      That fix has already been done. We do                   Mr. MENENDEZ. Mr. Chairman, as
                                                   minute to the gentleman from Arizona                    not need to do what is before us today.               one of the conferees on the intelligence
                                                   (Mr. KOLBE).                                              So it is surprising we are not address-             reform law enacted last December, I
                                                     Mr. KOLBE. Mr. Chairman, I thank                      ing today the shocking findings of the                want to remind Members that it con-
                                                   the gentleman for yielding me time.                     Commission Report.                                    tained 43 sections and 100 pages of im-
                                                     Mr. Chairman, I rise in support of the                  Mr. Chairman, I want to say some-                   migration-related provisions. These
                                                   passage of H.R. 418. Many of these pro-                 thing else. This bill, despite the protes-            tough, but smart new measures en-
                                                   tections that are contained in this leg-                tations, is in fact creating a de facto               acted just 2 months ago include, among
                                                   islation are long overdue. They are                     national ID card. It establishes one                  others, adding thousands of additional
                                                   necessary to protect our homeland.                      type of ID that most Americans will                   border patrol agents, Immigration and
                                                     In particular, I am supportive of the                 carry. All our information will be held               Customs investigators and detention
                                                   provisions that deal with enhancing                     in databases linked together and ready-               beds, criminalizing the smuggling of
                                                   our driver’s licenses by providing for                  made for use by the Federal Govern-                   immigrants and establishing tough
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                                                   some uniformity in the standards used                   ment. How much will they really know                  minimum standards for driver’s li-
                                                   to issue those driver’s licenses and for                about each and every one of you?                      censes, just as the 9/11 Commission rec-
                                                   finishing the border fence in southern                    This is not just about immigrants,                  ommended.
                                                   California. We ought not to let some                    this is about all Americans; and I think                Now we need to implement and fully
                                                   vague problem of the environment                        we need a national conversation about                 fund these tough measures to ensure
                                                   keep us from finishing this important                   whether we want that form of big                      our Nation’s safety. Unfortunately, the
                                                   part of our border security. But that is                brother.                                              President’s budget chose not to fund
                                                   one step in the process of border secu-                   Mr. COX. Mr. Chairman, I ask unani-                 the 2,000 new border patrol agents or
                                                   rity.                                                   mous consent that debate be extended                  8,000 additional detention beds that



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                                                   were called for in the intelligence re-                 der Patrol, so I know firsthand about                 mission never even mentioned the bor-
                                                   form bill. So much for being tough.                     the effort to protect our borders and                 der fence. Why? Because it is not a
                                                     H.R. 418 would further undermine                      how to keep America secure. Since                     problem. We have been building it.
                                                   these tough measures by repealing sev-                  coming to Congress, I have heard a lot                What we have run into is a couple of
                                                   eral of these provisions. The bill would                about how we need to crack down on il-                environmental snags. So what does this
                                                   repeal a GAO study to ascertain any                     legal immigration in this country, but                bill do? It says okay, waive all that.
                                                   vulnerability in the current asylum                     have seen very little action when it                  Waive the law. This is a precedent that
                                                   system and replace it with new burdens                  comes to providing adequate funding                   has never been done before in the
                                                   that would be impossible for many true                  for the kinds of programs that I know                 United States Congress. Waive all laws,
                                                   asylum seekers to meet.                                 work in dealing with the problem of il-               whether those laws pertain to Indian
                                                     Proponents of this legislation have                   legal immigration.                                    burial grounds, whether they are labor
                                                   misled us by suggesting that different                                                                        laws, discrimination laws, small busi-
                                                                                                                             b 1600
                                                   terrorists have received asylum. No                                                                           ness laws, environmental laws. We will
                                                   terrorist has ever been granted asylum                    For instance, just this week, with the              just waive them. And guess what, no
                                                   in the United States.                                   release of the President’s budget, as                 court, as it says, ‘‘no court shall have
                                                     We further ensured that terrorists                    my colleague mentioned, last August                   jurisdiction.’’
                                                   would not be granted asylum with the                    we were tough on the issue of immigra-                  What kind of a measure is this? Do
                                                   administrative changes of 1995 and the                  tion by saying we wanted 10,000 new                   we just run into problems and we come
                                                   expedited removal system done legisla-                  border patrol agents and we wanted to                 to the floor of Congress and say, just
                                                   tively in 1996. Now we detain anyone                    create 40,000 new detention beds. The                 get rid of the law? Here is a country
                                                   seeking asylum that arrives at our bor-                 administration in their budget wants                  that celebrated the tearing down of the
                                                   der without documents.                                  to hire 210 border patrol agents. They                Berlin Wall, a country that celebrated
                                                     But asylum encourages citizens of                     are silent on the issue of detention.                 the elections in Iraq so people will
                                                   other countries to fight for positive                     The administration also has proposed                have the rule of law; and then when we
                                                   change in their own country, without                    zeroing out very important programs                   have the rule of law, we just waive it.
                                                   risking U.S. military lives. If their life              to communities that deal with undocu-                 There was no request from the State of
                                                   is endangered, they should have a                       mented aliens, programs like the State                California for this bill. Mexico, our big-
                                                   chance to seek asylum in the United                     Criminal Alien Assistance program,                    gest trade partner, nothing like this;
                                                   States. Unfortunately, the legislation                  the State Prosecutors program, all ze-                and what we are saying to the world is,
                                                   before us would make that nearly im-                    roed out in this budget.                              do not worry, we are just going to cram
                                                   possible.                                                 Mr. Chairman, the reason I am going                 through everything and forget the law.
                                                     Finally, if a person is a terrorist, I do             to oppose this legislation is because I                 This is wrong, and I am going to have
                                                   not want to deport them so they have                    am sick and tired of coming here and                  an amendment on the floor tomorrow
                                                   another chance at doing harm to the                     talking, talking about the issue. I am                to repeal it. I hope everyone votes for
                                                   United States. I want to detain them,                   sick and tired of hearing arguments on                it.
                                                   prosecute them, imprison them to the                    who is going to do what. Just last Mon-                 Mr. COX. Mr. Chairman, I yield 1
                                                   fullest extent of the law.                              day, I was with some of my former col-                minute to the gentleman from Cali-
                                                     The bill would repeal the tough min-                  leagues at a port of entry in El Paso,                fornia (Mr. CUNNINGHAM).
                                                   imum standards for driver’s licenses                    and they were asking me what kind of                    Mr. CUNNINGHAM. Mr. Chairman, I
                                                   called for by the 9/11 Commission and                   immigration reform would come out of                  would say to my friend, the gentleman
                                                   included in the intelligence reform law                 this effort. Regrettably, Mr. Chairman,               from California (Mr. FARR), during the
                                                   with provisions that federalize all driv-               I told them, look, we said we were                    last debate I invited him to come down
                                                   er’s licenses, take away States’ rights,                going to fund 10,000 agents; we got 210.              and look at the 7-mile area in that
                                                   place huge unfunded mandates on the                     That is why I am going to vote against                fence, because it is a problem. I am
                                                   States, without advancing the para-                     this legislation, and I urge my col-                  looking forward to working with him,
                                                   mount objective of making State-                        leagues to do the same. Let us have a                 because if you are an environmentalist,
                                                   issued identity documents more secure                   real and earnest debate on what needs                 it is hard pan. I mean, it has totally de-
                                                   and verifiable. That is why the Na-                     to be done to protect this country.                   stroyed the plants, the animals, the liz-
                                                   tional Conference of State Legislatures                   Mr. COX. Mr. Chairman, I reserve the                ards, and it is like a venturi tube.
                                                   strongly opposes this legislation.                      balance of my time.                                     The gentleman from California (Mr.
                                                     Mr. Chairman, if you truly want to                      Mr. THOMPSON of California. Mr.                     HUNTER) first came to me in 1990 and
                                                   implement tough yet smart measures                      Chairman, I yield the balance of the                  asked where we could get landing mat,
                                                   to ensure our Nation’s security, vote                   time to the gentleman from California                 and we put that up. Why? Because the
                                                   down this legislation, and let us fully                 (Mr. FARR).                                           number of rapes of Mexicans who were
                                                   fund and implement the tough and                          Mr. FARR. Mr. Chairman, I thank                     coming across, the number of drugs
                                                   smart provisions that were included in                  the gentleman for yielding me this                    that were coming across. There is one
                                                   the intelligence reform bill.                           time.                                                 strand of wire on the ground where you
                                                     Mr. COX. Mr. Chairman, I reserve the                    I have been watching this debate all                could just drive from one field to an-
                                                   balance of my time.                                     morning, and I am really concerned                    other with a loaded truck, and it has
                                                     Mr. THOMPSON of Mississippi. Mr.                      about what is happening here on the                   stopped a lot of that.
                                                   Chairman, I yield 2 minutes to the gen-                 floor of the House of Representatives. I                Does the fence stop illegal immigra-
                                                   tleman from Texas (Mr. REYES), some-                    have never heard so much mis-                         tion? No. But it sure frees up a lot of
                                                   one who has significant knowledge                       statement of fact about a piece of leg-               the border patrol and makes it easier
                                                   about border patrol agents.                             islation that is very important.                      for them, and that 7 miles is like a ven-
                                                     Mr. REYES. Mr. Chairman, I thank                        The problem is, this legislation never              turi tube and it forces our border pa-
                                                   the gentleman from Mississippi for                      had a hearing in committee, never had                 trol into that area.
                                                   yielding me time.                                       public review. We have never looked at                  I agree with the gentleman from
                                                     Mr. Chairman, as the only Member of                   the language; I doubt that any Mem-                   Texas (Mr. REYES), and I am going to
                                                   Congress with a background in immi-                     bers have read the bill in its entirety.              work with anybody over there, espe-
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                                                   gration and experience in actually de-                  That is not what this House is all                    cially him, because he does have the
                                                   fending our Nation’s borders, and after                 about, because this law is a very, very               expertise and he is a good friend. I
                                                   being here for 8 years in the House, I                  serious law, and it is going to affect                agree with him that the President’s
                                                   am profoundly disappointed at how                       people’s lives.                                       budget does not include the funding.
                                                   much we talk about this issue and how                     I have heard statements here on the                 But no Clinton budget ever passed ei-
                                                   little we do when it comes to immigra-                  floor that the recommendations in this                ther, and we are going to add that; and
                                                   tion.                                                   bill are in the 9/11 Commission. Let me               with the help of my friend, we are
                                                     Prior to coming to Congress, I served                 give an example. Section 102, which                   going to add the funding for those new
                                                   for 261⁄2 years in the United States Bor-               deals with the border fence, the com-                 border patrol.



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                                                   H470                           CONGRESSIONAL RECORD — HOUSE                 February 9, 2005
                                                     Mr. COX. Mr. Chairman, I yield the                         ANNOUNCEMENT BY THE ACTING CHAIRMAN              world. We need immigration reform but this
                                                   balance of our time to the distin-                        The     Acting      CHAIRMAN        (Mr.            legislation is not the right answer. I urge my
                                                   guished majority leader, the gentleman                  LAHOOD). When proceeding in the Com-                  colleagues to join me in opposing this legisla-
                                                   from Texas (Mr. DELAY).                                 mittee of the Whole under an order of                 tion.
                                                     Mr. DELAY. Mr. Chairman, I would                      the House that establishes time limits
                                                                                                                                                                    Mr. HOEKSTRA. Mr. Chairman, I rise to ex-
                                                   just say to my good friend from Texas                   on general debate, the Committee of
                                                                                                                                                                 press my strong support of H.R. 418. Chair-
                                                   (Mr. REYES), who is an expert, and we                   the Whole may not alter that order,
                                                                                                                                                                 man SENSENBRENNER has presented for the
                                                   all value his input, we are going to do                 even by unanimous consent. The Chair
                                                                                                                                                                 consideration of the House a commonsense
                                                   immigration reform in this Congress.                    should not have entertained the earlier
                                                                                                                                                                 bill that will disrupt travel of would-be terrorists
                                                   We are looking forward to working                       request of the gentleman from Cali-
                                                                                                                                                                 who would seek to do us harm right here in
                                                   with him on immigration reform. But                     fornia.
                                                                                                             Mr. CANNON. Mr. Chairman, I would like to           America. When enacted, these provisions will
                                                   what we are here today about is border
                                                                                                           submit a statement for the RECORD from the            be yet another set of effective tools to help
                                                   security, border security and closing
                                                                                                           Americans for Tax Reform.                             prevent another September 11-type attack.
                                                   loopholes.
                                                     I just want to thank both sides of the                                            FEBRUARY 9, 2005.            All of these provisions are derived from pro-
                                                   aisle for the thoughtful way that they                     Our nation’s immigration and border con-           visions of the House-passed version of H.R.
                                                   have conducted this debate. I want to                   trol policies cry out for reform. While our           10, the 9–11 Recommendations Implementa-
                                                                                                           best border control officers should be pre-
                                                   thank the gentleman from Wisconsin                                                                            tion Act of 2004. During the conference with
                                                                                                           venting the next terrorist incursion into our
                                                   (Chairman SENSENBRENNER) and the                        country, they are instead hunting down will-          the other body on what became the Intel-
                                                   gentleman from Virginia (Chairman                       ing workers. The attacks of September 11th            ligence Reform and Terrorism Prevention Act
                                                   TOM DAVIS) and the gentleman from                       called for new and updated thinking in all            of 2004, the provisions contained in H.R. 418
                                                   California (Chairman COX) for their                     areas of federal law enforcement, and immi-           were either dropped in their entirety or modi-
                                                   hard work in getting this bill to the                   gration reform has been a glaring omission.           fied so substantially as to virtually defeat the
                                                                                                              America’s immigration system must be re-
                                                   floor so early in the new session.                      formed in a responsible, welcoming, adult
                                                                                                                                                                 fundamental purpose of the provision.
                                                     Of all of the issues being debated be-                manner along the lines laid out by President             A majority of the conferees on the part of
                                                   fore us today, the controversy I find                   Bush. Willing workers should be matched               the House very reluctantly agreed in order to
                                                   most confusing is the section regarding                 with willing employers, citizenship and resi-         get a conference agreement on the funda-
                                                   the standardization of driver’s licenses.               dency applications must be streamlined, and           mental reform of the Nation’s intelligence com-
                                                   After all, Mr. Chairman, the war on                     the focus must shift to protecting the nation
                                                                                                                                                                 munity. We are all original cosponsors of H.R.
                                                   terror is not being fought in a vacuum.                 from terrorists.
                                                                                                              Border security has been increased since 9/        418. As chairman of the conference, I thought
                                                     There was a time, to be sure, when
                                                   identification fraud was a matter of                    11, and should continue to be so. The latest          that these provisions made sense then and
                                                                                                           technology must be used to make sure Amer-            they make sense now and should be enacted.
                                                   concern principally to bouncers and                     ica’s border is free of terrorist incursions. In
                                                   bartenders, but that was before Sep-                    order to let the border guard do their job of            The core provisions of H.R. 418 establish a
                                                   tember 11, 2001. Since that day, Mr.                    defending America, the President supports             set of fundamental standards that state-issued
                                                   Chairman, ID fraud has represented a                    giving foreign laborers guest worker cards,           identification cards, including driver’s license,
                                                   clear and present danger to the na-                     ‘‘to match willing workers with willing em-           must meet to be recognized for Federal identi-
                                                   tional security of the United States,                   ployers.’’                                            fication purposes, such as entering a Federal
                                                                                                              President Bush is opposed to amnesty for
                                                   plain and simple. Without standards                                                                           building. The bill provides the various States
                                                                                                           illegal immigrants. He also does not want to
                                                   for the issuance or content of driver’s                 give foreigners in the guest worker program           with 3 years to make any necessary modifica-
                                                   licenses, the American people are need-                 any advantage over those who are trying to            tions to their identification cards, if they so
                                                   lessly put at risk. As long as America                  become citizens through normal, due process           chose. The bill provides the Secretary of
                                                   boasts the civilized world’s most open                  channels.                                             Homeland Security with discretion to extend
                                                   laws concerning immigration and mo-                        Congress should support President Bush’s           the deadline for good cause upon application
                                                                                                           common-sense plan to reform and strengthen
                                                   bility while remaining its greatest ter-                America’s broken immigration system even
                                                                                                                                                                 by an individual state. The bill does not im-
                                                   rorist target, we must ensure that peo-                 as border security is addressed today in the          pede the authority of individual states to deter-
                                                   ple coming in and out of our country                    House of Representatives.                             mine who may operate a motor vehicle or who
                                                   are not here to do our people harm.                                            GROVER NORQUIST,               may be issued a State personal identification
                                                     When someone enters this country                                                          President.        card for non-Federal purposes.
                                                   and can get a driver’s license, he can                     Ms. WOOLSEY. Mr. Chairman, when we                    Some argue that the Intelligence Reform
                                                   board a plane, open a bank account,                     shut our doors to the world we shut the door          and Terrorism Prevention Act of 2004 already
                                                   and get a job. If he plans to do these                  of democracy. President Bush wants the                addresses this issue adequately. I simply dis-
                                                   things not to make a better life for                    United States to be a leader in promoting free-       agree. The enacted provision requires a nego-
                                                   himself, but with the express intent of                 dom around the world, but we fail at home             tiated rulemaking process, without any abso-
                                                   killing Americans, and that treachery                   when we deny freedoms to those who desire             lute certitude that the negotiations on the pro-
                                                   could be curbed simply by reforming                     the American dream. H.R. 418 fails to reform          posed consensus regulations will be con-
                                                   the way we issue driver’s licenses, how                 our system. Instead, it weakens our democ-            cluded by the date specified in the act. No
                                                   can we not?                                             racy.
                                                     The REAL ID Act requires that ap-                                                                           hard date for implementation of these funda-
                                                                                                              If you vote for this bill you are saying we        mental standards is specified.
                                                   plicants for driver’s licenses prove that               don’t care if you have been persecuted be-
                                                   they are in the United States legally,                  cause of your religion or beaten because of              H.R. 418 also restores the authority of an
                                                   very simple, and that a foreign trav-                   your gender. Stay in your own country. You            immigration judge to make a determination
                                                   eler’s license expires with his visa.                   are not entitled to our freedoms.                     whether to grant or deny an individual applica-
                                                     These are hardly Draconian meas-                         If you vote for this legislation you are saying    tion for asylum. At its core, the provision
                                                   ures, Mr. Chairman, nor are the sec-                    that the United States doesn’t care about fed-        makes explicit the judge’s authority to assess
                                                   tions of the bill that strengthen our de-               eral or state laws as long as it means being          the creditability of the assertions of oppression
                                                   portation and asylum processes. These                   able to close our border. Who cares if building       being made by the applicant, just as judges
                                                   processes are not just loopholes; they                  a wall on our border endangers our environ-           and juries do each day with respect to criminal
                                                   are gaping, yawning chasms in the law                   ment? Out of 2,000 plus miles along our bor-          defendants. As some assert, H.R. 418 does
                                                   waiting to be exploited. They are risks,                der with Mexico, you are saying that finishing        not require the asylum applicant to produce
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                                                   threats even, to the security of our                    3 miles of that fenced area in Southern Cali-         documentary evidence in order to be granted
                                                   homeland and to our success in the war                  fornia is so important that we should throw out       asylum. It grants an immigration judge the au-
                                                   on terror. The reforms in the REAL ID                   the principles of our democracy and let one           thority to request the applicant to provide evi-
                                                   Act are overdue, no less an authority                   man have the power to waive any laws that he          dence to support the applicant’s oral testimony
                                                   than the 9/11 Commission itself says so.                wants without any oversight. Are you sure that        and that of witnesses’ supporting the appli-
                                                     So I just urge all of my colleagues to                this is a democratic country?                         cant. H.R. 418 clearly states that the applicant
                                                   support this legislation to further help                   Mr. Chairman, shutting out people around           is not required to provide documentary evi-
                                                   ensure that such events as three Sep-                   the world from our democracy and throwing             dence if ‘‘the applicant does not have the evi-
                                                   tembers ago never again scar our                        away the ideals of freedom that we hold so            dence or cannot obtain the evidence without
                                                   homeland.                                               dear is no to way to be an example for the            departing the United States.’’



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                                                       H.R. 418 includes a provision specifying that       appropriate role in our Nations’ policies, the        our nation’s security concerns. That means
                                                   offenses which currently provide grounds to             environmental and national security impacts of        not only reforming how we gather and use in-
                                                   deny a would-be terrorist entry into the United         having illegal immigrants trample this portion        telligence, but also how we fight terrorism at
                                                   States are also grounds for the deportation of          of the border is greater than the concerns re-        home. I believe that the final bill that came to
                                                   such persons, if they have somehow managed              garding building and completing the fence.            the floor fell short. That’s why I voted against
                                                   to enter the country illegally. Today, that is not      Lastly, recent press accounts have reported           it.
                                                   the case. This glaring gap in the law must be           that Al Qaeda operatives have joined forces               However, the REAL ID Act implements cru-
                                                   closed.                                                 with alien smuggling rings in order to enter the      cial provisions that were dropped from H.R. 10
                                                       Finally, H.R. 418 provides the Secretary of         United States, particularly through the south-        and fixes several glaring holes in our border
                                                   Homeland Security with authority to waive en-           ern border with Mexico. The time to act on the        security. One of the most important provisions
                                                   vironmental laws, so that the border fence run-         San Diego border fence is now.                        in this legislation asks states to work with the
                                                   ning 14 miles east from the Pacific Ocean at               Drivers’ License: REAL ID Act also bolsters        Department of Homeland Security to establish
                                                   San Diego may finally be completed. Author-             stronger security standards for the issuance of       and use standards for drivers’ licenses.
                                                   ized by Congress in 1996, it has yet to be              drivers’ licenses to aliens. This bill will estab-        Many states already have licenses that are
                                                   completed because of on-going environmental             lish requirements that help prove lawful pres-        difficult to counterfeit. Other states don’t have
                                                   litigation. It is time to complete this much            ence in the United States prior to issuing a li-      stringent safeguards.
                                                   needed barrier to help secure one of the most           cense to individuals. In addition, it is critical         Some have argued that this bill creates a
                                                   used corridors for illegal entry, which is adja-        that all states must comply to eliminate weak         national ID. It doesn’t. I would oppose any bill
                                                   cent to the numerous facilities of the United           links in the domestic identity security. We           that did so. This bill simply requires states to
                                                   States Navy and Marine Corps in San Diego.              have all seen the failures of cards such as the       make it harder for someone like Muhammad
                                                       Mr. Chairman, I commend Chairman SEN-               Matriculate Consular cards and the wide-              Atta to get a driver’s license, and to use that
                                                   SENBRENNER for his leadership and urge my               spread fraud that can take place. This bill re-       license to carry out terror plans.
                                                   colleagues to support H.R. 418.                         quires tough physical security requirements to            As the 9/11 Commission noted: ‘‘All but one
                                                       Mrs. BONO. Mr. Chairman, I would like to            reduce counterfeiting and to ensure state com-        of the 9/11 hijackers acquired some form of
                                                   thank Chairman SENSENBRENNER for his tire-              pliance with such standards. Lastly, drivers’ li-     U.S. identification document, some by fraud.’’
                                                   less efforts and leadership in getting the REAL         censes that are issued in compliance with the         Increased ID security will make it more difficult
                                                   ID Act to the floor and for championing na-             new regulations will expire when an alien’s           for terrorists to obtain documents through
                                                   tional security issues and the crisis we face           visa expires to alleviate any confusion or abil-      fraud and conceal their identity. Deterring ter-
                                                   today with our Nation’s border security. I              ity for terrorists to maintain a false/fake drivers   rorists from receiving state issued IDs will
                                                   would also like to thank my colleagues in the           license while their visa has expired. Con-            make it more likely that they will be detected
                                                   Southern California delegation for their efforts        necting the two forms of identification will en-      by law enforcement.
                                                   and for helping to protect not only their dis-          sure that law enforcement officers and federal            This bill also tightens our asylum system—
                                                   tricts, but also the Nation’s borders as well.          agents will be on notice when a visa expires          a system that has been abused by terrorists
                                                       San Diego Border Fence: For too long our            and will not be fooled by a separate and fake         with deadly consequences—by allowing
                                                   Nation has been playing chicken with our na-            state ID that has not expired.                        judges to determine whether asylum seekers
                                                   tional security by ignoring the need to take a             Asylum Provisions: Finally, the REAL ID Act        are truthful.
                                                   comprehensive approach to border security               will tighten the asylum system that has been              Additionally, the bill will protect the Amer-
                                                   issues, particularly as they pertain to the Mexi-       abused and gamed by terrorists for years.             ican people by ensuring that grounds for keep-
                                                   can border. The Mexican border has long                 This bill allows judges to determine a wit-           ing a terrorist out of the country are also
                                                   been a porous and unguarded route for any-              nesses’ credibility in their asylum cases. With-      grounds for deportation. Incredibly, we have
                                                   one wishing to sneak into the United States to          out this change, judges have no discretion in         legal justification to prevent an individual from
                                                                                                           determining the credibility of witnesses testi-       entering the country if they have known ter-
                                                   inflict harm on our Nation and our citizens, in-
                                                                                                           fying that they are being persecuted. Judge’s         rorist ties, however, under current U.S. law
                                                   cluding terrorists.
                                                       In particular, the San Diego sector covers          hands have been tied over the years and must          once they set foot inside the border we cannot
                                                   an area of more than 7,000 square miles and             just grant asylum in every case where perse-          deport them. This hinders our ability to protect
                                                   66 miles of international border with Mexico.           cution has been raised and have not been
                                                                                                                                                                 Americans from foreign terrorists who have in-
                                                   Beyond that section of the border are the               able to go beyond that point. This has allowed
                                                                                                                                                                 filtrated the United States.
                                                                                                           terrorists who have been persecuted in their              I think all Americans—and those of us on
                                                   Mexican cities of Tijuana and Tecate, which
                                                                                                           home country for being terrorists to seek shel-       both sides of the aisle—can agree that the 9/
                                                   boasts a combined population of more than 2
                                                                                                           ter in the United States. Currently, this argu-
                                                   million people. This area of the border has                                                                   11 Commission identified a number of im-
                                                                                                           ment cannot be used against them and is not
                                                   been a heavily traveled route for illegal immi-                                                               provements that will help upgrade our intel-
                                                                                                           grounds for deportation.
                                                   grants and potential terrorists due to the major           This bill gives the power to refuse terrorists     ligence and enhance America’s security. This
                                                   cities and transportation hubs, such as LAX             entry to the United States and allows terrorists      bill provides common sense provisions to help
                                                   airport in Los Angeles. This area alone ac-             to be deported back to their home country.            prevent another 9/11-type attack by protecting
                                                   counts for nearly 50 percent of national appre-         Terrorists have long been abusing our system          our borders and disrupting terrorist travel in
                                                   hensions of illegal immigrants nationwide.              in order to gain entry. This bill provides a list     the United States. I urge members to vote in
                                                       A significant number of illegal immigrants          of long-accepted commonsense factors that             favor of the REAL ID Act.
                                                   that have been apprehended in this area can             an immigration judge can consider in assess-              The Acting CHAIRMAN. All time for
                                                   be directly attributed to the San Diego fence           ing credibility, such as the demeanor, candor,        general debate has expired. Under the
                                                   that was constructed a few years ago. The               responsiveness and consistency of an asylum           rule, the Committee rises.
                                                   San Diego fence is a project that was started           applicant or other witness. It is essential for           Accordingly, the Committee rose;
                                                   several years ago, but a 3.5-mile section of            judges to be able to determine asylum cases           and the Speaker pro tempore (Mr.
                                                   the fence was not completed due to environ-             based on the credibility or lack of credibility of    MCCAUL) having assumed the chair,
                                                   mental concerns. The portions of the San                witnesses.                                            Mr. LAHOOD, The Acting Chairman of
                                                   Diego fence that have been built have proven               Again, I would to thank Chairman SENSEN-           the Committee of the Whole House on
                                                   to be successful and are credited with signifi-         BRENNER for his efforts in getting this bill to the   the State of the Union, reported that
                                                   cant declines in attempted border crossings in          floor and I strongly urge my colleagues to vote       that Committee, having had under con-
                                                   that area. The existing fence needs improve-            in favor of this bill because these reforms are       sideration the bill (H.R. 418) to estab-
                                                   ments and must be extended 3.5 miles to its                                                                   lish and rapidly implement regulations
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                                                                                                           necessary to our national security.
                                                   originally planned length.                                 Mr. NEUGEBAUER. Mr. Chairman, I rise               for State driver’s license and identi-
                                                       This legislation puts those priorities front        today in support of H.R. 418, the REAL ID Act         fication document security standards,
                                                   and center by granting the Secretary of Home-           of 2005. First, I would like to thank Chairman        to prevent terrorists from abusing the
                                                   land Security the authority to waive all Federal        SENSENBRENNER and the Judiciary Committee             asylum laws of the United States, to
                                                   laws in order to complete the fence. In addi-           for their leadership on this bill, and for their      unify terrorism-related grounds for in-
                                                   tion, this bill will increase the funding to im-        dedication to securing our borders and pro-           admissibility and removal, and to en-
                                                   prove the existing fence with a 3-tiered fence          tecting Americans from terrorists.                    sure expeditious construction of the
                                                   system and complete the original designed                  My objective throughout debate over H.R.           San Diego border fence, had come to no
                                                   length. While environmental issues plays an             10 was to get a bill that fully addressed all of      resolution thereon.



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                                                                          Office of the General Counsel
                                                                          U.S. Department of Homeland Security
                                                                          Washington, DC 20528




                                             April 9, 2019


MEMORANDUM FOR THE SECRETARY

FROM:                          John M. Mitnick
                               General Counsel

SUBJECT:                       Designation of an Order of Succession for the Secretary

Summary: Pursuant to your authority set forth in section 113 of title 6, United States Code, you
have expressed your desire to designate certain officers of the Department of Homeland Security
(DHS) in order of succession to serve as Acting Secretary. Your approval of the attached
document will accomplish such designation.

Discussion:




              The redacted information contains attorney-client communications and attorney work product which
              is privileged and not subject to disclosure.
Action: By approving the attached document, you will designate your desired order of
succession for the Secretary of Homeland Security in accordance with your authority pursuant to
Section 113(g)(2) of title 6, United States Code.


Approve/date_______________________                Disapprove/date_________________________


Modify/date ________________________               Needs discussion/date____________________

Attachment: Annex A

                                                                                                                 6
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        Amending the Order of Succession in the Department of Homeland Security

By the authority vested in me as Secretary of Homeland Security, including the Homeland
Security Act of 2002, 6 U.S.C. § 113(g)(2), I hereby designate the order of succession for the
Secretary of Homeland Security as follows:

Annex A of DHS Orders of Succession and Delegations of Authorities for Named Positions,
Delegation No. 00106, is hereby amended by striking the text of such Annex in its entirety and
inserting the following in lieu thereof:

Annex A. Order for Delegation of Authority by the Secretary of the Department of Homeland
Security.

1. Deputy Secretary of Homeland Security;

2. Under Secretary for Management;

3. Commissioner of U.S. Customs and Border Protection;

4. Administrator of the Federal Emergency Management Agency;

5. Director of the Cybersecurity and Infrastructure Security Agency;

6. Under Secretary for Science and Technology;

7. Under Secretary for Intelligence and Analysis

8. Administrator of the Transportation Security Administration;

9. Director of U.S. Immigration and Customs Enforcement;

10. Director of U.S. Citizenship and Immigration Services;

11. Under Secretary for Strategy, Policy, and Plans;

12. General Counsel;

13. Deputy Under Secretary for Management;

14. Deputy Commissioner of U.S. Customs and Border Protection;

15. Deputy Administrator of the Transportation Security Administration;

16. Deputy Director of U.S. Immigration and Customs Enforcement;

17. Deputy Director of U.S. Citizenship and Immigration Services;

18. Director of the Federal Law Enforcement Training Center.

No individual who is serving in an office herein listed in an acting capacity, by virtue of so
serving, shall act as Secretary pursuant to this designation.
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                              Department of Homeland Security
                               DHS Delegation Number: 00106
                                   Revision Number: 08.5
                                  Issue Date: 12/15/2016
                                 Updated Date: 04/10/2019
             DHS ORDERS OF SUCCESSION AND
             DELEGATIONS OF AUTHORITIES FOR
                    NAMED POSITIONS

I.      Purpose
This is a succession order for named positions and a delegation of authority for the
continuity of essential functions of officials at the Department of Homeland Security
(DHS) in case of absence, the inability of the incumbent to act during disasters or
catastrophic emergencies, or vacancies in offices.

II.     Succession Order/Delegation
        A.     In case of the Secretary’s death, resignation, or inability to perform the
        functions of the Office, the orderly succession of officials is governed by
        Executive Order 13753, amended on December 9, 2016.

        B.      I hereby delegate to the officials occupying the identified positions in the
        order listed (Annex A), my authority to exercise the powers and perform the
        functions and duties of my office, to the extent not otherwise prohibited by law, in
        the event I am unavailable to act during a disaster or catastrophic emergency.

        C.    The order of succession for the named positions, other than the Office of
        the Secretary, are provided in Annexes B through AC.

        D.     I hereby delegate authority to the officials occupying the identified
        positions in the orders listed in Annexes B through AC to exercise the powers
        and perform the functions and duties of the named positions in case of death,
        resignation, inability to perform, absence, or inability to act during a disaster or
        catastrophic emergency until that condition ceases.




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                                                                          Delegation # 00106
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   E.      In terms of named positions in which appointment is required to be made
   by the President, by and with the advice and consent of the Senate (PAS), if
   positions are vacant as that term is used in the Federal Vacancies Reform Act of
   1998, the First Assistant shall act as the incumbent until a successor is
   appointed, unless otherwise designated by the President. The individual serving
   in the position identified as the first to succeed is designated the “First Assistant”
   for the purposes of the Federal Vacancies Reform Act of 1998. If the First
   Assistant position is vacant, the next designated official in the order of
   succession may exercise all the powers, duties, authorities, rights, and functions
   authorized by law to be exercised by the incumbent, but may not perform any
   function or duty required by law to be performed exclusively by the office holder.

   F.     For all other positions that are not subject to the Federal Vacancies
   Reform Act of 1998, any official in the order provided for in the succession order
   may exercise all the powers, duties, authorities, rights, and functions authorized
   to be performed by the incumbent, to the extent not otherwise limited by law.

   G.     Only officials specifically designated in the order of succession for each of
   the named positions in Annexes B through AC are eligible, subject to
   modification in accordance with Section II.I. Unless formally appointed by the
   Secretary, persons appointed on an acting basis, or on some other temporary
   basis, are ineligible to serve as a successor; therefore, the order of succession
   would fall to the next designated official in the approved order of succession.

   H.      The prohibition on any re-delegation of powers, authorities, functions, and
   duties contained in Departmental Delegations, Directives, Management
   Directives, Instructions, Manuals, or similar internal documents is not applicable
   to restrict the authority of any individual who is exercising the authority of a
   vacant position under this Delegation. Such an individual shall, however, be
   bound by such Departmental Delegations, Directives, Management Directives,
   Instructions, Manuals, or similar internal documents, and shall not further re-
   delegate powers to any individual.

   I.     Each Annex may be updated separately. A Component Head seeks
   modification of his/her order of succession by forwarding a proposed updated
   Annex to the Office of Operations Coordination (OPS), Continuity Division and
   the Office of the Under Secretary for Management (MGMT), Program Manager,
   Delegations and Directives; Annexes are processed by MGMT, in consultation
   with the Office of the General Counsel (OGC), for approval of the Secretary. At a
   minimum, the Annex is coordinated with OGC and the White House Liaison.
   Where possible, Component orders of succession should be at least three
   positions deep and geographically dispersed.

   J.     The Office of the Executive Secretary, MGMT, and OPS are responsible
   for maintaining a current list of incumbents holding all positions identified in
   Annexes B through AC.
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      K.     Nothing in this delegation is intended to limit my discretion as Secretary to
      depart from this delegation.

III. Authorities
      A.    Title 5, United States Code (U.S.C.) §§ 3345-49 (Federal Vacancies
      Reform Act of 1998, as amended)

      B.      Title 6, U.S.C., § 112 (Secretary; functions)

IV. Office of Primary Interest
OPS and MGMT is the office of primary interest for maintaining and updating the
Annexes to this Delegation.




    Legend
           Career                                                                      C
           Limited Term Appointment                                                    L
           Military Officer                                                            M
           Non-Career in the Senior Executive Service or Schedule C                    N
           Presidential Appointee                                                      P
           Presidential Appointee with Senate Confirmation                             S
           Scientific Professional                                                     T
           First Assistant pursuant to the Federal Vacancies Reform Act                *




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ATTACHMENT 1


 DHS ORDERS OF SUCCESSION AND ORDERS FOR DELEGATIONS
                    OF AUTHORITIES

  Annex                             Title                          Issue Date
Annex A    Order For Delegation of Authority by the        Revision 08.5, 04/10/2019
           Secretary of the Department of Homeland
           Security
Annex B    Deputy Secretary, Office of the                 Revision 08.5, 04/10/2019
Annex C    Citizenship and Immigration Service Ombudsman   Revision 06, 09/14/2016
Annex D    Citizenship and Immigration Services, United    Revision 06, 09/14/2016
           States
Annex E    Civil Rights and Civil Liberties, Office for    Revision 06, 09/14/2016
Annex F    Coast Guard, United States                      Revision 06, 09/14/2016
Annex G    Countering Weapons of Mass Destruction Office   Revision 08.2, 05/21/2018
Annex H    Customs and Border Protection, United States    Revision 06, 09/14/2016
Annex I    Executive Secretariat                           Revision 06, 09/14/2016
Annex J    Federal Emergency Management Agency             Revision 06, 09/14/2016
Annex K    Federal Law Enforcement Training Center         Revision 06, 09/14/2016
Annex L    General Counsel, Office of the                  Revision 06, 09/14/2016
Annex M    Immigration and Customs Enforcement, United     Revision 06, 09/14/2016
           States
Annex N    Inspector General, Office of                    Revision 06, 09/14/2016
Annex O    Intelligence and Analysis, Office of            Revision 06, 09/14/2016
Annex P    Legislative Affairs, Office of                  Revision 06, 09/14/2016
Annex Q    Management Directorate                          Revision 06, 09/14/2016
Annex R    National Protection and Programs Directorate    Revision 08, 07/11/2017
Annex S    Operations Coordination, Office of              Revision 06, 09/14/2016
Annex T    Partnership and Engagement, Office of           Revision 06, 09/14/2016
Annex U    Strategy, Policy, and Plans, Office of          Revision 08.4, 02/15/2019
Annex V    Privacy Office, Chief                           Revision 06, 09/14/2016
Annex W    Public Affairs, Office of                       Revision 06, 09/14/2016
Annex X    Science and Technology                          Revision 07, 01/19/2017
Annex Y    Secret Service, United States                   Revision 06, 09/14/2016
Annex Z    Transportation Security Administration          Revision 08.3, 10/23/2018
Annex AA   Chief Financial Officer (DHS)                   Revision 06, 09/14/2016
Annex AB   Deputy Administrator, Federal Emergency         Revision 06, 09/14/2016
           Management Agency (FEMA)
Annex AC   Protection and National Preparedness (FEMA)     Revision 06, 09/14/2016




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ANNEX A


      ORDER FOR DELEGATION OF AUTHORITY BY THE
      SECRETARY OF THE DEPARTMENT OF HOMELAND
                      SECURITY
                   Pursuant to Title 6, United States Code, Section 113(g)(2)

1.    Deputy Secretary of Homeland Security
2.    Under Secretary for Management
3.    Commissioner of U.S. Customs and Border Protection
4.    Administrator of the Federal Emergency Management Agency
5.    Director of the Cybersecurity and Infrastructure Security Agency
6.    Under Secretary for Science and Technology
7.    Under Secretary for Intelligence and Analysis
8.    Administrator of the Transportation Security Administration
9.    Director of U.S. Immigration and Customs Enforcement
10.   Director of U.S. Citizenship and Immigration Services
11.   Under Secretary for Strategy, Policy, and Plans
12.   General Counsel
13.   Deputy Under Secretary for Management
14.   Deputy Commissioner of U.S. Customs and Border Protection
15.   Deputy Administrator of the Transportation Security Administration
16.   Deputy Director of U.S. Immigration and Customs Enforcement
17.   Deputy Director of U.S. Citizenship and Immigration Services
18.   Director of the Federal Law Enforcement Training Centers




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ANNEX B
ISSUE DATE: 04/10/2019            APPROVAL: 04/10/2019

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                 Career Status
   Deputy Secretary, Office of the
     1    Deputy Secretary                                                             S
     2    Under Secretary for Management*                                              S
     3    Administrator, Transportation Security Administration                        S
     4    Administrator, Federal Emergency Management Agency                           S
     5    Under Secretary, National Programs and Protection Directorate                S
     6    Under Secretary, Science and Technology                                      S
     7    Under Secretary, Intelligence and Analysis                                   S
     8    Commissioner, U.S. Customs and Border Protection                             S
     9    Director, U.S. Immigration and Customs Enforcement                           S
     10   Director, U.S. Citizenship and Immigration Services                          S
     11   Under Secretary, Office of Strategy, Policy, and Plans                       S
     12   General Counsel                                                              S
     13   Deputy Under Secretary for Management                                        C
     14   Deputy Commissioner, U.S. Customs and Border Protection                      C
     15   Deputy Administrator, Transportation Security Administration                 C
     16   Deputy Director, U.S. Immigration and Customs Enforcement                    C
     17   Deputy Director, U.S. Citizenship and Immigration Services                   C
     18   Director, Federal Law Enforcement Training Centers                           C




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                                                                              Revision # 08.5
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ANNEX C
ISSUE DATE: 9/14/2016             APPROVAL: 9/14/2016

                DHS ORDERS OF SUCCESSION AND
            ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                  Career Status
   Citizenship and Immigration Services Ombudsman
     1   Ombudsman                                                      N
     2   Deputy Director                                                C
     3   Senior Advisor                                                 L
     4   Chief of Staff                                                 C
     5   Director of Operations                                         C
     6   Chief of Casework                                              C




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ANNEX D
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                    Career Status

  Citizenship and Immigration Services, United States
    1    Director                                                                        S
    2    Deputy Director*                                                                C
    3    Associate Director, Management Directorate                                      C
    4    Associate Director, Refugee Asylum and International Operations Directorate     C
    5    Associate Director, Service Center Operations Directorate                       C
    6    Associate Director, Field Operations Directorate                                C
    7    Director, National Benefits Center                                              C




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ANNEX E
ISSUE DATE: 9/14/2016               APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                        Career Status
   Civil Rights and Civil Liberties, Office for
     1   Civil Rights and Civil Liberties Officer                            P
     2   Deputy Officer, Programs and Compliance                             C
     3   Deputy Officer, Equal Employment Opportunity Programs               C
     4   Executive Officer                                                   C




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ANNEX F
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                Career Status

  Coast Guard, United States
   1     Commandant                                                                  M
   2     Vice Commandant                                                             M
         Deputy Commandant for Mission Support or Deputy Commandant for Operations
   3-4   in precedence of their grade                                                M
   5-6   Other Vice Admirals in precedence of their grade                            M




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ANNEX G
ISSUE DATE: 05/21/2018            APPROVAL: 05/21/2018

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                     Career Status

   Countering Weapons of Mass Destruction Office
     1   Assistant Secretary                                               P
     2   Deputy Assistant Secretary                                        C
     3   Chief of Staff                                                    C
     4   Deputy Director, Domestic Nuclear Detection Office                C
     5   Deputy Director, Office of Health Affairs                         C




                                               G-1
                                                              Delegation # 00106
                                                                  Revision # 08.2
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ANNEX H
ISSUE DATE: 9/14/2016                APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                               Career Status

   Customs and Border Protection, United States
     1   Commissioner                                                               S
     2   Deputy Commissioner*                                                       C
     3   Executive Assistant Commissioner, Office of Field Operations               C
     4   Chief, U.S. Border Patrol                                                  C
     5   Executive Assistant Commissioner, Air and Marine Operations                C
     6   Executive Assistant Commissioner, Trade                                    C
     7   Executive Assistant Commissioner, Operations Support                       C
     8   Executive Assistant Commissioner, Enterprise Services                      C




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ANNEX I
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                       Career Status

   Executive Secretariat
     1   Executive Secretary                                                                N
     2   Deputy Executive Secretary                                                         C
     3   Assistant Executive Secretary, Briefing Books/Interagency Coordination             C




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                                                                                 Revision # 06
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ANNEX J
ISSUE DATE: 9/14/2016             APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                             Career Status

  Federal Emergency Management Agency
    1    Administrator                                                            S
    2    Deputy Administrator*                                                    S
    3    Deputy Administrator, Protection and National Preparedness               S
    4    Associate Administrator, Response and Recovery                           N
    5    FEMA Region IX Administrator                                             C
    6    FEMA Region VI Administrator                                             C




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ANNEX K
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                           Career Status

   Federal Law Enforcement Training Centers
     1    Director                                                              C
     2    Deputy Director for Training                                          C
     3    Deputy Director for Management                                        C
     4    Assistant Director, Mission and Readiness Support                     C
     5    Assistant Director, Regional and International Training               C
     6    Assistant Director, Chief Financial Officer                           C
     7    Assistant Director, Glynco Training                                   C
     8    Assistant Director, Centralized Training Management                   C
     8    Assistant Director, Washington Operations                             C
     9    Assistant Director, Chief Information Officer                         C
     10   Chief of Staff                                                        C




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ANNEX L
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                     DHS ORDERS OF SUCCESSION AND
                 ORDERS FOR DELEGATIONS OF AUTHORITIES

     Position                                                                            Career Status
     General Counsel, Office of the
        1   General Counsel                                                                          S
        2   Principal Deputy General Counsel*                                                        C
        3   Deputy General Counsel          [Senior ranking by time in position and in   DHS] 1      N
        4   Deputy General Counsel          [Senior ranking by time in position and in DHS]          N
        5   Deputy General Counsel          [Senior ranking by time in position and in DHS]          N
        6   Chief of Staff                                                                           C
        7   Associate General Counsel, Operations and Enforcement                                    C
        8   Associate General Counsel, General Law                                                   C
        9   Chief Counsel, Transportation Security Administration                                    C
       10   Chief Counsel, Federal Law Enforcement Training Center                                   C




1 For the Deputy General Counsel positions identified in lines 3-5, seniority is determined by length of
time in the position. In the event more than one Deputy General Counsel has the same appointment
date, time in service in the Department is the second determining factor for seniority.

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ANNEX M
ISSUE DATE: 9/14/2016              APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                   Career Status

   Immigration and Customs Enforcement, United States
     1   Assistant Secretary                                                            S
     2   Deputy Director*                                                               C
     3   Executive Associate Director, Homeland Security Investigations                 C
     4   Executive Associate Director, Enforcement and Removal Operations               C
     5   Executive Associate Director, Management and Administration                    C
     6   Principal Legal Advisor                                                        N
     7   Special Agent in Charge – Denver                                               C
     8   Field Officer Director – San Antonio                                           C




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ANNEX N
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                              Career Status

   Inspector General, Office of
     1   Inspector General                                                         S
     2   Deputy Inspector General*                                                 C
     3   Counsel to the Inspector General                                          C
     4   Assistant Inspector General, Audits                                       C
     5   Assistant Inspector General, Inspections                                  C
     6   Assistant Inspector General, Emergency Management Oversight               C




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ANNEX O
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                     Career Status

   Intelligence and Analysis, Office of
     1   Under Secretary for Intelligence and Analysis/DHS Chief Intelligence Officer         S
     2   Principal Deputy Under Secretary for Intelligence and Analysis*                      C
     3   Deputy Under Secretary for Intelligence Operations                                   C
     4   Deputy Under Secretary for Mission Support                                           C
     5   Associate Deputy Director, El Paso Intelligence Center/ Strategic Analysis Section   C




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ANNEX P
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                  Career Status
   Legislative Affairs, Office of
     1   Assistant Secretary for Legislative Affairs                   P
     2   Deputy Assistant Secretary (Senate)                           N
     3   Deputy Assistant Secretary (House)                            N
     4   Chief of Staff                                                C
     5   Director, Management Team                                     C
     6   Director, FEMA Team                                           C
     7   Director, Borders and Immigration                             C




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ANNEX Q
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                            Career Status
   Management Directorate
     1    Under Secretary for Management                                         S
     2    Deputy Under Secretary for Management*                                 C
     3    Chief Financial Officer                                                S
     4    Chief Information Officer                                              P
     5    Chief Human Capital Officer                                            C
     6    Chief Procurement Officer                                              C
     7    Chief Readiness Support Officer                                        C
     8    Chief Security Officer                                                 C
     9    Chief of Staff                                                         C
     10   Deputy Director, Federal Law Enforcement Training Center               C




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ANNEX R
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                      Career Status
  National Protection and Programs Directorate
    1    Under Secretary                                                                   S
    2    Deputy Under Secretary for NPPD*                                                  N
    3    Assistant Secretary, Office of Infrastructure Protection                          P
    4    Assistant Secretary, Office of Cybersecurity and Communications                   N
    5    Deputy Assistant Secretary, Office of Infrastructure Protection                   C
    6    Deputy Assistant Secretary, Office of Cybersecurity and Communications            C
    7    Director, Management                                                              C
    8    Office of Infrastructure Protection, Regional Director for Region 8               C




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ANNEX S
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                  Career Status

  Operations Coordination, Office of
    1    Director                                                      C
    2    Deputy Director                                               C
    3    Director, Current Operations Division                         C
    4    Director, National Operations Center                          C
    5    Chief of Staff                                                C




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ANNEX T
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                          Career Status

  Partnership and Engagement, Office of
    1    Assistant Secretary                                                   N
    2    Assistant Secretary for State and Local Law Enforcement               N
    3    Deputy Assistant Secretary, Intergovernmental Affairs                 C
    4    Deputy Assistant Secretary, Private Sector Office                     N
    5    Director of Local Affairs                                             C




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ANNEX U
ISSUE DATE: 2/15/2019               APPROVAL: 2/15/2019

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                Career Status

  Strategy, Policy, & Plans, Office of
    1    Under Secretary                                                             S
    2    Assistant Secretary for Strategy, Plans, Analysis, and Risk*                N
    3    Deputy Under Secretary                                                      C
    4    Assistant Secretary for International Affairs                               N
    5    Assistant Secretary for Threat Prevention and Security Policy               N
    6    Assistant Secretary for Border, Immigration, and Trade                      N
    7    Assistant Secretary for Cyber, Infrastructure, and Resilience               N
    8    Deputy Assistant Secretary for Screening Coordination Office                C
    9    Deputy Assistant Secretary for International Affairs                        C




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ANNEX V
ISSUE DATE: 9/14/2016             APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                  Career Status

   Privacy Officer, Chief
     1   Chief Privacy Officer                                         N
     2   Deputy Chief Privacy Officer                                  C
     3   Deputy Chief FOIA Officer                                     C
     4   Senior Director, Privacy Compliance                           C
     5   Chief of Staff                                                C




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ANNEX W
ISSUE DATE: 9/14/2016             APPROVAL: 9/14/2016

                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                  Career Status
   Public Affairs, Office of
     1   Assistant Secretary                                                           P
     2   Principal Deputy Assistant Secretary                                          C
     3   Deputy Assistant Secretary for Media Operations/Press Secretary               N
     4   Deputy Assistant Secretary for Strategic Communications                       N
     5   Director of Communications                                                    N
     6   Chief of Staff                                                                C
     7   Director, Incident Communications                                             C




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ANNEX X
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                      Career Status

   Science and Technology
     1   Under Secretary                                                                   S
     2   Deputy Under Secretary*                                                           C
     3   Chief of Staff                                                                    C
     4   Director, Homeland Security Advanced Research Projects Agency                     C
         Director, Office of Support to the Homeland Security Enterprise and First
     5   Responders Division                                                               C
     6   Director, Capability Development Support Division                                 C
     7   Director, Research and Development Partnerships                                   C
     8   Director, Finance and Budget Division                                             C
     9   Director, Administrative Support Division                                         C




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ANNEX Y
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                  DHS ORDERS OF SUCCESSION AND
              ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                   Career Status

   Secret Service, United States
     1    Director                                                                      P
     2    Deputy Director                                                               C
     3    Chief Operating Officer                                                       C
     4    Assistant Director - Protective Operations                                    C
     5    Assistant Director - Investigations                                           C
     6    Assistant Director - Government and Public Affairs                            C
     7    Assistant Director - Human Resources                                          C
     8    Assistant Director - Professional Responsibility                              C
     9    Assistant Director - Strategic Intelligence and Information                   C
     10   Assistant Director - Training                                                 C
     11   Chief - Uniformed Division                                                    C
     12   Chief Counsel                                                                 C
     13   Chief Technology Officer                                                      C
     14   Chief Financial Officer                                                       C
     15   Chief - Strategic Planning and Policy                                         C
     16   Deputy Assistant Director(s) - Protective Operations                          C
     17   Deputy Assistant Director(s) - Investigations                                 C
     18   Deputy Assistant Director(s) - Government and Public Affairs                  C
     19   Deputy Assistant Director(s) - Human Resources                                C
     20   Deputy Assistant Director(s) - Professional Responsibility                    C
     21   Deputy Assistant Director(s) - Strategic Intelligence and Information         C
     22   Deputy Assistant Director(s) - Training                                       C
     23   Deputy Assistant Director(s) - Technical Development and Mission Support      C
     24   Deputy Assistant Director(s) - Strategic Planning and Policy                  C
     25   Special Agent in Charge - Washington                                          C
     26   Special Agent in Charge - New York                                            C
     27   Special Agent in Charge - Miami                                               C
     28   Special Agent in Charge - Los Angeles                                         C




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ANNEX Z
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                DHS ORDERS OF SUCCESSION AND
            ORDERS FOR DELEGATIONS OF AUTHORITIES

   Position                                                                   Career Status
   Transportation Security Administration
     1   Administrator                                                                    S
     2   Deputy Administrator                                                             P
     3   Chief of Staff                                                                   N
     4   Executive Assistant Administrator, Security Operations                           C
     5   Executive Assistant Administrator, Operations Support                            C
     6   Executive Assistant Administrator, Law Enforcement/Federal Air Marshal Service   C
     7   Executive Assistant Administrator, Enterprise Support                            C
     8   Regional Director, Atlanta, Security Operations                                  C
     9   Regional Director, Dallas, Security Operations                                   C




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ANNEX AA
ISSUE DATE: 9/14/2016              APPROVAL: 9/14/2016
    DESIGNATION OF FIRST ASSISTANTS FOR NON-COMPONENT HEAD PRESIDENTIAL
               APPOINTEES WITH SENATE CONFIRMATION POSITIONS

   Position                                                  Career Status
   Chief Financial Officer (DHS)
     1   Chief Financial Officer                                          S
     2   Deputy Chief Financial Officer*                                  C




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                                                           Delegation # 00106
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ANNEX AB
ISSUE DATE: 9/14/2016              APPROVAL: 9/14/2016


    DESIGNATION OF FIRST ASSISTANTS FOR NON-COMPONENT HEAD PRESIDENTIAL
               APPOINTEES WITH SENATE CONFIRMATION POSITIONS

   Position                                                                      Career Status
   Deputy Administrator, Federal Emergency Management Agency
   (FEMA)
     1   Deputy Administrator, FEMA                                                        S
     2   Deputy Administrator, Protection and National Preparedness*                       S
     3   Associate Administrator, Mission Support                                          C
     4   Deputy Associate Administrator, Office of Policy and Program Analysis             C
     5   Region IX Administrator                                                           C
     6   Region VI Administrator                                                           C




                                            AB-1
                                                                            Delegation # 00106
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ANNEX AC
ISSUE DATE: 09/14/2016           APPROVAL: 09/14/2016
    DESIGNATION OF FIRST ASSISTANTS FOR NON-COMPONENT HEAD PRESIDENTIAL
               APPOINTEES WITH SENATE CONFIRMATION POSITIONS

   Position                                                              Career Status
   Protection and National Preparedness (FEMA)
     1   Deputy Administrator, Protection and National Preparedness                S
     2   Assistant Administrator, National Preparedness Directorate*               C
     3   Assistant Administrator, Grant Programs                                   P
     4   Assistant Administrator, National Continuity Programs                     N




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                                                 United States
                                                  of America                                     PROCEEDINGS AND DEBATES OF THE


                                               Vol. 165                                                  WASHINGTON, WEDNESDAY, NOVEMBER 13, 2019                                                                   No. 181


                                                                                                                                       Senate
                                                 The Senate met at 10 a.m. and was                                          crease of 4,000 from the previous year.                at George Mason University’s Antonin
                                               called to order by the President pro                                         However, the number of children wait-                  Scalia Law School.
                                               tempore (Mr. GRASSLEY).                                                      ing for adoption also increased. That                    Even the American Bar Association’s
                                                                                        f                                   number rose to 125,000. Unfortunately,                 Standing Committee on the Federal
                                                                                                                            teenagers, sibling groups, and those                   Judiciary, which has lately—lately
                                                               PRAYER                                                       with medical challenges often wait                     made headlines for treating President
                                                 The Chaplain, Dr. Barry C. Black, of-                                      much longer to be adopted. Every child                 Trump’s nominees in a less-than-even-
                                               fered the following prayer:                                                  deserves a safe, permanent, loving                     handed way, has rated this nominee
                                                 Let us pray.                                                               home, so I want to commend all those                   ‘‘well-qualified.’’
                                                 Eternal God, hear us when we cry to                                        who have chosen to adopt children in                     Obviously, a majority of our col-
                                               You. You have been our help in ages                                          foster care.                                           leagues on the Judiciary Committee
                                               past and our hope for the years to                                             If you wonder where I get the opinion                concurred, and now the entire Senate
                                               come.                                                                        that it is unfortunate that people want                will have the opportunity to confirm
                                                 You don’t keep a record of our trans-                                      a permanent, safe, and loving home, all                yet another outstanding jurist to the
                                               gressions but shower us daily with                                           you have to do is listen to the kids in                Federal bench.
                                               mercy and forgiveness. Great is Your                                         the foster care system, and you always                   I urge each of my colleagues to join
                                               faithfulness.                                                                get this response: What I would like to                me in supporting Steven Menashi’s
                                                 As our Senators wait for the unfold-                                       have is a mom and dad, and I would                     nomination this week.
                                               ing of Your powerful providence, give                                        like to have a home. In other words,                                     f
                                               them Your peace. Lord, may they cling                                        they get tired of being shuffled around
                                               to Your promises knowing that You                                            from one foster home to another foster                           TURKEY AND SYRIA
                                               will lead them to a desired destination.                                     home, to another foster home. That is                    Mr. MCCONNELL. Mr. President, now
                                               Give them the wisdom to trust Your                                           where I come from in recognizing No-                   on another matter, today President
                                               unconditional love and Your willing-                                         vember as National Adoption Month.                     Trump will host the leader of Turkey
                                               ness to save those who call on Your                                            I yield the floor.                                   at the White House. Although I have
                                               Name.                                                                                          f                                    expressed concerns about granting
                                                 We pray in Your mighty Name.                                                                                                      President Erdogan such an honor in
                                               Amen.                                                                         RECOGNITION OF THE MAJORITY                           light of his recent actions, I hope the
                                                                                                                                             LEADER                                meeting produces better behavior from
                                                                                        f
                                                                                                                              The PRESIDING OFFICER. The ma-                       this important NATO ally.
                                                    PLEDGE OF ALLEGIANCE                                                    jority leader is recognized.                             We recognize Turkey’s legitimate na-
                                                 The President pro tempore led the                                                            f                                    tional security concerns about the de-
                                               Pledge of Allegiance, as follows:                                                                                                   stabilizing conflict in Syria. Indeed, no
                                                                                                                                NOMINATION OF STEVEN J.                            NATO ally has suffered more terrorist
                                                 I pledge allegiance to the Flag of the
                                               United States of America, and to the Repub-                                                 MENASHI                                 attacks or hosts more refugees than
                                               lic for which it stands, one nation under God,                                 Mr. MCCONNELL. Mr. President,                        Turkey. Nevertheless, we have legiti-
                                               indivisible, with liberty and justice for all.                               after we confirm Chad Wolf to serve in                 mate national security concerns of our
                                                 The PRESIDING OFFICER (Mr.                                                 a senior position at the Department of                 own, and I know the vast majority of
                                               CRAMER). The Senator from Iowa.                                              Homeland Security, the Senate will                     my colleagues share my concerns about
                                                 Mr. GRASSLEY. Mr. President, I ask                                         turn to President Trump’s nominee to                   Turkey’s recent behavior.
                                               unanimous consent to speak for 1                                             serve on the Second Circuit Court of                     It is important for the region and the
                                               minute as in morning business.                                               Appeals.                                               fight against ISIS that Turkey’s incur-
                                                 The PRESIDING OFFICER. Without                                               Steven Menashi’s nomination con-                     sion into Syria not further jeopardize
                                               objection, it is so ordered.                                                 tinues an already distinguished career                 the anti-terrorism campaign of the
                                                                                        f                                   studying, teaching, and practicing law.                Syrian Democratic Forces. It is impor-
                                                                                                                            After earning degrees from Dartmouth                   tant for Turkey’s 80 million people
                                                   NATIONAL ADOPTION MONTH                                                  and Stanford, he clerked for Judge                     that Turkey’s Government moves to
                                                 Mr. GRASSLEY. Mr. President, No-                                           Douglas Ginsburg on the DC Court of                    restore its democratic traditions—free-
                                               vember is National Adoption Month.                                           Appeals and Justice Alito on the Su-                   dom of the press, religious freedom, re-
                                               This year, we have very good news.                                           preme Court. Mr. Menashi has held a                    spect for secularism and ethnic minori-
                                                 In 2018, over 63,000 young people were                                     research fellowship at the New York                    ties, and a robust space for civil soci-
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                                               adopted from foster care. That is an in-                                     University School of Law and taught                    ety. Despite the optimism from the


                                                                       ∑ This ‘‘bullet’’ symbol identifies statements or insertions which are not spoken by a Member of the Senate on the floor.

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                                         VerDate Sep 11 2014                        00:08 Nov 14, 2019   Jkt 099060   PO 00000   Frm 00001   Fmt 0624   Sfmt 0634   E:\CR\FM\A13NO6.000   S13NOPT1
                                                          Case 5:20-cv-00106 Document 11-1 Filed on 09/14/20 in TXSD Page 119 of 120
                                               November 13, 2019             CONGRESSIONAL RECORD — SENATE                           S6519
                                               Federal court ruled that using stu-                     exploited the slaying of Matthew                       action, DHS Secretary Nielsen sent a
                                               dents’ private Social Security data vio-                Shepard for both financial and political               letter lambasting the negotiations and
                                               lated the Federal Privacy Act. The                      benefit.’’ Mr. Menashi wrote that                      accused them of undermining U.S. se-
                                               court ordered the Department to stop                    ‘‘charges of racism are typically over-                curity.
                                               using the students’ private information                 blown,’’ and he compared affirmative                     The    Trump      administration    has
                                               and to stop collecting on their student                 action in college admissions to Nazi                   weaponized and poorly managed DHS,
                                               loans.                                                  Germany’s Nuremberg laws.                              and I cannot support this nominee.
                                                 Even after this Federal court ruling,                    I want to close with a quote from a                   Mr. DURBIN. I suggest the absence of
                                               the Department failed to comply. The                    letter of opposition submitted by the                  a quorum.
                                               Department continued to illegally col-                  Congressional Black Caucus. The CBC                      The PRESIDING OFFICER. The
                                               lect on the student loans of at least                   rarely takes a position on judicial                    clerk will call the roll.
                                               16,000 defrauded students. The Depart-                  nominees, but in this instance, felt                     The senior assistant legislative clerk
                                               ment garnished wages, seized tax re-                    compelled to do so. The CBC writes:                    proceeded to call the roll.
                                               funds, and wiped out some students’                     ‘‘Menashi’s writings show a willingness                  Mr. CRAMER. Mr. President, I ask
                                               credit ratings.                                         to discriminate against minorities,                    unanimous consent that the order for
                                                 Less than 3 weeks ago, a Federal                      women and the LGBTQ community.                         the quorum call be rescinded.
                                               court held Secretary Betsy DeVos in                     Menashi, who has consistently spoken                     The PRESIDING OFFICER (Mr.
                                               contempt of court and fined the De-                     against diversity and inclusiveness,                   SASSE). Without objection, it is so or-
                                               partment $100,000. The Federal mag-                     does not deserve a lifetime position on                dered.
                                               istrate judge who issued the contempt                   one of the most important appellate                      The PRESIDING OFFICER. Under
                                               order said, ‘‘[T]here have to be some                   courts in this country.’’                              the previous order, all postcloture time
                                               consequences for the violation of my                       In light of Mr. Menashi’s record, it is             is expired.
                                               order 16,000 times.’’                                   hardly surprising that there is bipar-                   The question is, Will the Senate ad-
                                                 Mr. Menashi should not be rewarded                    tisan opposition to his nomination.                    vise and consent to the Wolf nomina-
                                               for providing such bad legal advice                        I will vote no on Mr. Menashi’s nomi-               tion?
                                               with a lifetime appointment to the                      nation, and I urge my colleagues on                      Mr. CRAMER. Mr. President, I ask
                                               Federal bench.                                          both sides of the aisle to do the same.                for the yeas and nays.
                                                 While at the Department, Mr.                                            f                                      The PRESIDING OFFICER. Is there a
                                               Menashi also helped push new rules on                                                                          sufficient second?
                                               campus sexual assault that the admin-                      NOMINATION OF CHAD F. WOLF
                                                                                                                                                                There is a sufficient second.
                                               istration’s own analysis concluded                         Mr. VAN HOLLEN. Mr. President, I                      The clerk will call the roll.
                                               would dramatically reduce the number                    rise to object to the nomination of                      The legislative clerk called the roll.
                                               of sexual assault investigations. Under                 Chad Wolf to serve as DHS Undersecre-                    Mr. THUNE. The following Senator is
                                               these new rules, a student who is the                   tary of the Office of Strategy, Policy,                necessarily absent: the Senator from
                                               survivor of sexual assault would be                     and Plans.                                             South Dakota (Mr. ROUNDS).
                                               subject to cross-examination by their                      This nomination is yet another ex-                    Mr. DURBIN. I announce that the
                                               attacker’s representative at a live                     ample of the Trump administration’s                    Senator from New Jersey (Mr. BOOKER),
                                               hearing.                                                chaotic and inhumane approach to im-                   the Senator from California (Ms. HAR-
                                                 In 2018, Mr. Menashi joined the White                 migration issues. DHS is the third larg-               RIS), the Senator from Vermont (Mr.
                                               House Counsel’s Office, where he has                    est Federal agency, and under the                      SANDERS), and the Senator from Massa-
                                               been a member of Stephen Miller’s                       Trump administration, it has had four                  chusetts (Ms. WARREN) are necessarily
                                               White House Immigration Strategic                       directors in less than 3 years. It has                 absent.
                                               Working Group. This working group                       been widely reported that Republicans                    The result was announced—yeas 54,
                                               has helped push a number of extreme                     are rushing to confirm Mr. Wolf so that                nays 41, as follows:
                                               anti-immigrant policies, including the                  President Trump can then appoint him                               [Rollcall Vote No. 354 Ex.]
                                               White House’s policy of separating                      Acting DHS Secretary. He will be the
                                                                                                                                                                                  YEAS—54
                                               children from their families, a problem                 fifth DHS Secretary and the third Act-
                                                                                                                                                              Alexander         Fischer         Paul
                                               that still has not been fully remedied,                 ing. Rather than go through the nor-                   Barrasso          Gardner         Perdue
                                               despite a court order to do so.                         mal channels of selecting a nominee                    Blackburn         Graham          Portman
                                                 At his hearing, Mr. Menashi refused                   and allowing Senators to properly vet                  Blunt             Grassley        Risch
                                               to answer numerous basic questions                      and question the nominee, Republicans                  Boozman           Hawley          Roberts
                                                                                                                                                              Braun             Hoeven          Romney
                                               about his work, including about his                     are going along with Trump’s plan to                   Burr              Hyde-Smith      Rubio
                                               role in the administration’s family sep-                circumvent Federal law.                                Capito            Inhofe          Sasse
                                               aration policy. He also refused to an-                     When asked directly by my col-                      Cassidy           Isakson         Scott (FL)
                                                                                                                                                              Collins           Johnson         Scott (SC)
                                               swer written questions about whether                    league, Senator ROSEN, about his role                  Cornyn            Kennedy         Shelby
                                               he has worked or advised on matters                     in formulating the family separation                   Cotton            Lankford        Sinema
                                               relating to the whistleblower com-                      policy, Mr. Wolf denied any direct                     Cramer            Lee             Sullivan
                                               plaint and President Trump’s call with                  knowledge of that policy. Leaked                       Crapo             Manchin         Thune
                                                                                                                                                              Cruz              McConnell       Tillis
                                               Ukraine’s President. Importantly, none                  emails later revealed that, as Sec-                    Daines            McSally         Toomey
                                               of these questions asked Mr. Menashi                    retary Nielsen’s chief of staff, he pre-               Enzi              Moran           Wicker
                                               about the substance of his advice.                      sented her with a memo with options                    Ernst             Murkowski       Young
                                               These questions simply sought to un-                    to deter migrants coming to the bor-                                       NAYS—41
                                               derstand what matters he has worked                     der. Separating parents from their chil-               Baldwin           Hassan          Reed
                                               on. His refusal to answer makes it dif-                 dren was the second option on that list.               Bennet            Heinrich        Rosen
                                               ficult for us to fulfill our constitu-                  The family separation policy is repug-                 Blumenthal        Hirono          Schatz
                                                                                                                                                              Brown             Jones           Schumer
                                               tional duty to advise and consent.                      nant to our country’s values.                          Cantwell          Kaine           Shaheen
                                                 Mr. Menashi’s earlier career is equal-                   The timing of this nomination is es-                Cardin            King            Smith
                                               ly troubling. He criticized ‘‘Take Back                 pecially concerning in light of the Su-                Carper            Klobuchar       Stabenow
                                               the Night marches,’’ which aim to stop                  preme Court oral arguments this week                   Casey             Leahy           Tester
                                                                                                                                                              Coons             Markey
                                               campus sexual assault. He also wrote                    on DACA. The Trump administration                      Cortez Masto      Menendez
                                                                                                                                                                                                Udall
                                                                                                                                                                                                Van Hollen
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                                               that the Supreme Court’s decision in                    ended DACA and then rejected com-                      Duckworth         Merkley
                                                                                                                                                                                                Warner
                                               Roe v. Wade had codified the ‘‘radical                  promise legislation, written by a bipar-               Durbin            Murphy
                                                                                                                                                                                                Whitehouse
                                               abortion rights advocated by campus                     tisan group of Senators, that would                    Feinstein         Murray
                                                                                                                                                              Gillibrand        Peters          Wyden
                                               feminists.’’ He wrote that gun control                  have given over 700,000 Dreamers who
                                               legislation is ‘‘pointless [and] self-de-               have grown up here stability and, ulti-                                NOT VOTING—5
                                               feating, because guns reduce crime,’’                   mately, a path to citizenship. When                    Booker            Rounds          Warren
                                               and he claimed that a major LGBT-                       those Senators were negotiating an im-                 Harris            Sanders
                                               rights organization had ‘‘incessantly                   migration deal, in an unprecedented                      The nomination was confirmed.



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                                               S6520                           CONGRESSIONAL RECORD — SENATE               November 13, 2019
                                                 The PRESIDING OFFICER. Under                           Hassan            Menendez              Sinema          at night. Many people reached out to
                                                                                                        Heinrich          Merkley               Smith
                                               the previous order, the motion to re-                    Hirono            Murphy                Stabenow
                                                                                                                                                                me in my office about the impossible
                                               consider is considered made and laid                     Jones             Murray                Tester          decisions they are required to make in
                                               upon the table, and the President will                   Kaine             Peters                Udall           order to keep pace with rising prescrip-
                                               be immediately notified of the Senate’s                  King              Reed                  Van Hollen      tion drug costs—particularly the out-
                                                                                                        Klobuchar         Rosen                 Warner
                                               action.                                                  Leahy             Schatz                                of-pocket costs—whether they pay
                                                                                                                                                Whitehouse
                                                                 f                                      Manchin           Schumer
                                                                                                                                                Wyden
                                                                                                                                                                some bills and have to defer or not pay
                                                                                                        Markey            Shaheen                               others; whether they cut their pills in
                                                        CLOTURE MOTION                                                   NOT VOTING—5                           half or self-ration the medications,
                                                 The PRESIDING OFFICER. Pursuant                        Booker            Rounds                Warren          which is dangerous to their health, or
                                               to rule XXII, the Chair lays before the                  Harris            Sanders                               don’t fill prescriptions altogether be-
                                               Senate the pending cloture motion,                         The PRESIDING OFFICER. On this                        cause they simply can’t afford the out-
                                               which the clerk will state.                              vote, the yeas are 51, and the nays are                 of-pocket costs. No family should be
                                                 The legislative clerk read as follows:                 44.                                                     required to make those sorts of deci-
                                                             CLOTURE MOTION                               The motion is agreed to.                              sions.
                                                                                                                          f
                                                                                                                                                                  Sadly, I know my constituents in
                                                 We, the undersigned Senators, in accord-
                                               ance with the provisions of rule XXII of the
                                                                                                                                                                Texas are not alone. The Kaiser Family
                                                                                                               EXECUTIVE CALENDAR                               Foundation poll in September found
                                               Standing Rules of the Senate, do hereby
                                               move to bring to a close debate on the nomi-               The PRESIDING OFFICER. The                            that the No. 1 healthcare concern of
                                               nation of Steven J. Menashi, of New York, to             clerk will report the nomination.                       the American people is prescription
                                               be United States Circuit Judge for the Sec-                The bill clerk read the nomination of                 drug prices. This is something the
                                               ond Circuit.                                             Steven J. Menashi, of New York, to be                   President has said he wants to address,
                                                   Mitch McConnell, John Hoeven, Steve                  United States Circuit Judge for the                     the House has said they want to ad-
                                                    Daines, James E. Risch, Roger F.                    Second Circuit.                                         dress, and the Senate has said we want
                                                    Wicker, Pat Roberts, John Thune,
                                                                                                          The PRESIDING OFFICER. The Sen-                       to address, and this legislation we are
                                                    Mike Rounds, Roy Blunt, Mike Crapo,
                                                    John Boozman, John Cornyn, Lindsey                  ator from Connecticut.                                  talking about will help move the ball
                                                    Graham, Thom Tillis, David Perdue,                        UNANIMOUS CONSENT REQUEST—S. 1416                 in the right direction.
                                                    Chuck Grassley, Rick Scott.                           Mr. BLUMENTHAL. Mr. President, I                        A whopping 70 percent of people
                                                 The PRESIDING OFFICER. By unan-                        am proud to be here to advocate on be-                  think growing prescription drug costs
                                               imous consent, the mandatory quorum                      half of a bill that has enjoyed, rightly,               should be the top priority for Congress,
                                               call has been waived.                                    bipartisan support: the Affordable Pre-                 which should make it our No. 1 item on
                                                 The question is, Is it the sense of the                scriptions for Patients Act.                            our to-do list. The good news is, we are
                                               Senate that debate on the nomination                       We all know that the astronomically                   making some progress. Here in the
                                               of Steven J. Menashi, of New York, to                    rising costs of prescription drugs are a                Senate, we have taken a bipartisan ap-
                                               be United States Circuit Judge for the                   burden—in fact a bane for Americans                     proach, which is the only way to actu-
                                               Second Circuit, shall be brought to a                    regardless of where they live, regard-                  ally get things done in Congress. We
                                               close?                                                   less of their party, race, religion, or                 talked to every major player in the
                                                 The yeas and nays are mandatory                        age, but particularly for our seniors.                  supply chain, and we asked questions
                                               under the rule.                                          The choice between paying the mort-                     about whether confusing practices that
                                                 The clerk will call the roll.                          gage, putting food on the table, and                    are not transparent to outsiders are all
                                                 The bill clerk called the roll.                        buying prescription drugs has become a                  combining to drive up costs.
                                                                                                        daily challenge for people across the                     What I find seriously concerning are
                                                 Mr. THUNE. The following Senator is
                                                                                                        country.                                                the anti-competitive behaviors of some
                                               necessarily absent: the Senator from
                                                                                                          This bill offers a positive, solid step               of the drug manufacturers, the games-
                                               South Dakota (Mr. ROUNDS).
                                                                                                        toward ending abuses in the use of pat-                 manship, particularly when it comes to
                                                 Mr. DURBIN. I announce that the
                                                                                                        ents—abuses that are called patent                      our patent system. We know companies
                                               Senator from New Jersey (Mr. BOOKER),
                                                                                                        thicketing and product hopping—that                     pour a lot of time and money into the
                                               the Senator from California (Ms. HAR-
                                                                                                        all too commonly raise the cost of pre-                 research and development of new medi-
                                               RIS), the Senator from Vermont (Mr.
                                                                                                        scription drugs and preclude access for                 cations, and we don’t want to do any-
                                               SANDERS), and the Senator from Massa-
                                                                                                        the people who need those drugs the                     thing to stop that. We want to
                                               chusetts (Ms. WARREN) are necessarily
                                                                                                        most.                                                   incentivize that so that they are able
                                               absent.
                                                                                                          This effort has been a bipartisan one                 to recover their costs and perhaps
                                                 The PRESIDING OFFICER (Mr.
                                                                                                        involving many of us in this Chamber.                   make a profit when the drug turns out
                                               LANKFORD). Are there any other Sen-
                                                                                                        It passed from the Judiciary Com-                       to be successful. But we don’t want
                                               ators in the Chamber desiring to vote?
                                                                                                        mittee unanimously. It is a testament                   them playing games with the patent
                                                 The yeas and nays resulted—yeas 51,
                                                                                                        to the still-possible bipartisan coopera-               system in a way that prevents others
                                               nays 44, as follows:
                                                                                                        tion on an issue of paramount concern                   at some point, after that period of ex-
                                                            [Rollcall Vote No. 355 Ex.]
                                                                                                        to the people of America that we have                   clusivity, from being able to compete
                                                                    YEAS—51                             reached this point of bringing it to the                with a generic alternative.
                                               Alexander          Fischer            Paul               floor of the Senate.                                      Ninety percent of the drugs we take
                                               Barrasso           Gardner            Perdue                                                                     are generic, and that is why they are so
                                               Blackburn          Graham             Portman
                                                                                                          I am proud to have worked on this
                                               Blunt              Grassley           Risch              measure with my colleague from Texas                    affordable and so inexpensive, but for
                                               Boozman            Hawley             Roberts            who has really helped to lead this ef-                  the top 10 percent of branded drugs
                                               Braun              Hoeven             Romney             fort, Senator CORNYN, who is here on                    that people take, many of them simply
                                               Burr               Hyde-Smith         Rubio
                                               Capito             Inhofe             Sasse              the floor with me, and I am happy to                    are unaffordable. These patents I refer
                                               Cassidy            Isakson            Scott (FL)         yield to him now.                                       to do protect the intellectual property
                                               Cornyn             Johnson            Scott (SC)           The PRESIDING OFFICER. The Sen-                       for these key drugs and are an impor-
                                               Cotton             Kennedy            Shelby                                                                     tant part of the incredible innovation
                                               Cramer             Lankford           Sullivan
                                                                                                        ator from Texas.
                                               Crapo              Lee                Thune                Mr. CORNYN. Mr. President, I thank                    that occurs here in the United States,
                                               Cruz               McConnell          Tillis             the Senator from Connecticut for his                    but increasingly we are seeing compa-
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                                               Daines             McSally            Toomey             leadership.                                             nies using the patent system as a
                                               Enzi               Moran              Wicker
                                               Ernst              Murkowski          Young
                                                                                                          At a time when people see bipartisan-                 shield for competition beyond the life
                                                                                                        ship in short supply in Washington,                     of the patent.
                                                                    NAYS—44                             DC, this is one area where we can actu-                   It is time to put a stop to that. We
                                               Baldwin            Cardin             Cortez Masto       ally make some real progress for the                    can do that today. We can begin that
                                               Bennet             Carper             Duckworth                                                                  process today. That is exactly why I in-
                                               Blumenthal         Casey              Durbin
                                                                                                        people we represent.
                                               Brown              Collins            Feinstein            We     all    know     that    climbing               troduced the Affordable Prescriptions
                                               Cantwell           Coons              Gillibrand         healthcare costs are keeping people up                  for Patients Act with the Senator from



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